Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 1 of 100




                       EXHIBIT A-2
                 Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 2 of 100




                                                        Section 3 - Scope of Work
                                                   Appendix 5 - Description of the WORK
                                                         A. Cementing Services


                                      (d) Mud condition

                                      (e) Occurrence of losses during drilling

                                      (f)   Deviation from expected formations encountered


                              6.1.2   The final slurry details shall be issued to COMPANY's Well team a minimum of (24)
                                      twenty four hours prior to starting to run casing and shall be countersigned by a
                                      competent CONTRACTOR engineer.                COMPANY's minimum slurry testing
                                      requirements are detailed in Appendix 6 - Functional and Technical Specifications,
                                      2. The Minimum Testing for Cementing Operations. When final slurry testing is
                                      complete the data should be submitted as directed by COMPANY's well team with
                                      the details covered in 5.3.1. If requested actual copies of the laboratory chars shall
                                      be made available. The data required in the final slurry proposal shall be agreed with
                                      COMPANY

                              6.1.3   CONTRACTOR shall be required to provide a pressurized mud balance to confirm
                                      the actual slurry denSity. This mud balance shall be calibrated at regular intervals,
                                      and should be calibrated with a calibration fluid of more than 1.56 SG (13 ppg)
                                      according to CONTRACTOR's procedures.


                        6.2   Job Evaluation

                              6.2.1   A report on job execution shall be completed by the offshore cementer within 2
                                      working days using COMPANY preferred reporting system (DIMS) and
                                      CONTRACTOR preferred execution report (format to be agreed with COMPANy). In
                                      addition, for each offshore job. a Service Quality Assessment shall be provided. The
                                      contents ofthis assessment shall be agreed to by COMPANY.

                              6.2.2   At the end of each well CONTRACTOR shall provide COMPANY with an end of well
                                      report. This report is to be presented within 28 days of the suspension of each well.

                              6.2.3   For each well drilled, CONTRACTOR shall complete COMPANY's Drilling and
                                      Completions SPM score card for cementing services. The completed card shall be
                                      submitted to COMPANY's representative within 28 days of the completion of
                                      operations on the well or batch program by CONTRACTOR. The forma and format
                                      of the score card shall be agreed to by COMPANY and CONTRACTOR.

                              6.2.4   Any incident investigation requested by COMPANY shall require a fully agreed scope
                                      of work prior to the commencement of the investigation.

                              6.2.5   All cementing NPT incidents in DIMS shall be investigated by CONTRACTOR and
                                      recommendations made to COMPANY to prevent reoccurrence.


                        6.3   Performance

                              6.3.1   The intent of the CONTRACT is for CONTRACTOR to deliver upper quartile
                                      performance and continuous improvement throughout the CONTRACT term.

                              6.3.2   On a quarterly basis CONTRACTOR shall present QPR data mutually agreed upon,
                                      detailing overall performance using Drilling and Completions SPM metrics.




                 Halliburton Energy Services, Inc.             Page 50 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                      B P-HZN-MB 100022258
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 3 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                        A. Cementing Services


                              6.3.3   CONTRACTOR and COMPANY shall agree on annual performance assessment.
                                      Key performance criteria are listed in Attachment E - Global Cement KPI.



                 7.0    MANAGEMENT OF SERVICE

                        7.1   Technical Support

                              7.1.1   CONTRACTOR shall provide to COMPANY well-qualified                  personnel,   best
                                      technology, processes, and equipment on a global basis.

                              7.1.2   CONTRACTOR shall have a system in place for prioritizing technical service work,
                                      internal costing of that work and resource allocation. When a piece of work is
                                      required by COMPANY, the scope shall be agreed between COMPANY and
                                      CONTRACTOR in writing.


                        7.2   Management Systems

                              7.2.1   CONTRACTOR shall have in place and demonstrate compliance with all of the
                                      systems specified as follows: HSSE Management System; Preventive Maintenance
                                      Systems; Personnel Development and Deployment System for COMPANY; and
                                      Quality Assurance and Quality Control plan for tools, bulks, equipment, and
                                      laboratory.

                              7.2.2   CONTRACTOR shall as required by COMPANY, perform a capability audit of the
                                      services provided to ensure strict adherence to the CONTRACT specifications,
                                      CONTRACTOR's policies and operating procedures performed in a manner so as to
                                      provide a professional and cost effective service.

                              7.2.3   Prior to the introduction of a new chemical to the WORK, MSDS sheets shall be
                                      reviewed by CONTRACTOR who shall ensure that the potential human health risk is
                                      assessed and provided to COMPANY. The chemical shall not be used or shipped to
                                      the WORKSITE until this processes in completed satisfactorily.


                        7.3   Third Party Services

                              7.3.1   CONTRACTOR may be required to subcontract and manage non-core services such
                                      as casing consumables, bulk cement, and mobile equipment. This requirement shall
                                      be at COMPANY's discretion and at that point when COMPANY assesses that
                                      CONTRACTOR is able to effectively manage such services in COMPANY's best
                                      interests.    In such case CONTRACTOR shall demonstrate to COMPANY's
                                      satisfaction that CONTRACTOR

                                      (a) Has procured a cost effective service,

                                      (b) Employed competent people by the SUBCONTRACTOR,

                                      (c) Has HSSE management plans in place,

                                      (d) Has managed the training of its personnel in a cost effective manner, and

                                      (e) Has demonstrated good audit practices and control of the service.



                 Halliburton Energy Services, Inc.             Page 51 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                     B P-HZN-MB 100022259
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 4 of 100




                                                        Section 3 - Scope of Work
                                                   Appendix 5 - Description of the WORK
                                                         A. Cementing Services



                              7.3.2    COMPANY shall produce a scope of work for any service which it wishes
                                       CONTRACTOR to perform or to subcontract.

                              7.3.3    Detailed scopes of work for the provision of third party services referred to above
                                       shall be mutually agreed between COMPANY and CONTRACTOR.


                 8.0    CONTRACTOR'S RESPONSIBILITIES I ACCOUNTABILITIES

                        8.1   Pump CONTRACTOR's Accountability (Unit Owner)

                              Pump CONTRACTOR shall be accountable for performance from completion of a successful
                              FIT until commencement of the next casing or cementing operation. All relevant sections of
                              Scope of Work shall apply.

                              Pump CONTRACTOR's responsibilities include:

                              8.1.1    Perform pumping and Pressure Testing as required.

                              8.1.2    Mix all cement slurries to the required density as specified by CONTRACTOR.

                              8.1.3    Provide and operate all permanently retained Pump CONTRACTOR's tools.

                              8.1.4    Assist in the preparation of all chemicals and spacers.

                              8.1.5    Collect all offshore samples (additives and cement) according to written instructions
                                       from CONTRACTOR.

                              8.1.6    Provide Weekly inventory check of all Pump CONTRACTOR's and CONTRACTOR's
                                       materials held onboard.

                              8.1.7    Check cement calculations (although not accountable for accuracy thereof).

                              8.1.8    Participate in all risk assessments.

                              8.1.9    Provide a second man for extended work period (e.g., pressure testing).

                              8.1.10 Provide all paperwork where Pump CONTRACTOR is accountable for the service.

                              8.1.11   Provide competent personnel to operate CONTRACTOR's equipment, as defined in
                                       Scope of Work.

                              8.1.12 Provide a deSignated point of contact for coordination of the WORK with
                                     CONTRACTOR.

                              8.1.13 Provide data, as required to complete the Drilling and Completions SPM Score Card,
                                     to CONTRACTOR e.g., total service cost, man-hours worked etc.


                        8.2   CONTRACTOR's Accountability

                              CONTRACTOR shall be accountable for performance during all flat spots associated with
                              cementing and plug and abandonment operations.




                 Halliburton Energy Services, Inc.               Page 52 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                        B P-HZN-MB 100022260
Business Confidential
                 Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 5 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                        A. Cementing Services



                        8.3   CONTRACTOR's Responsibilities (Cementing Service Suppler)

                              CONTRACTOR shall be responsible for the following which shall include but not be limited
                              to:

                              8.3.1    Cementing calculations.

                              8.3.2    Providing all load out lists for cementing and casing operations.

                              8.3.3    Ensuring adequate stocks are held on the rig.

                              8.3.4    Providing a competent operator/engineer to go out and supervise cementing
                                       operations. This engineer is assigned to rig and is on call out.

                              8.3.5    Provide detailed program and work instructions and ensure all hazards are
                                       adequately debated prior to commencing operations. Participate in all COSHH and
                                       risk assessments associated with the casing and cement operation.

                              8.3.6    Assist Pump CONTRACTOR cement operator during mixing and displacement.

                              8.3.7    Operate all non- Pump CONTRACTOR's supplied cementing tools.

                              8.3.8    Assist Pump CONTRACTOR's operator in clean up of equipment.

                              8.3.9    Complete and submit Drilling and Completions SPM forms.

                              8.3.10 Coordinate casing and cementing operations with COMPANY at the WORKSITE

                              8.3.11   Assist in routine maintenance.

                              8.3.12 Prepare and submit all reports for casing and cementing operations.

                              8.3.13 Provide sampling kit.

                              8.3.14 Where competence has been demonstrated, perform pressure-testing operations to
                                     permit twenty four (24) hour coverage.

                              8.3.15 Check that Pump CONTRACTOR's maintenance program has been performed and
                                     is updated.

                              8.3.16 Witness the Pump CONTRACTOR perform spot checks on their equipment prior to
                                     the job.




                 Halliburton Energy Services, Inc.               Page 53 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                 BP-HZN-MBI00022261
Business Confidential
Business Confidential   (')
                        o                       Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 6 of 100
                        Z
                        ."
                        o
                        m                                                                   Section 3 - Scope of Work
                        z
                        -I                                                        Appendix 5 - Description of the WORK
                        »
                        r
                                                                                             A. Cementing Services



                                                              Attachment A - Competence Assessment for Onshore Engineers

                               Score
                               0- No experience in this area
                               3 - Some experience but not fully meeting requirement
                               6 - Meets expectation
                               10- Exceeds requirements
                                                                                                                   Three (3)
                                                                                                                   Some
                                                                                              Zero (0) No
                                                                                                                   experience      Six (6) Meets   Comments Supporting
                                                                                              experience in
                                                                                                                   but not fully   expectation     Information
                                                                                              this area
                                                                                                                   meeting
                                                                                                                   requirement

                               Visibility / Proactive - Has attended operations meetings,
                               experienced in handling potential operational
                               problems/questions, can lead cementing sessions in pre-
                               Spud and during morning calls, Peer reviews, etc.
                               Deals with operational requests and always provides
                               recommendations which have demonstrably prevented
                               reoccu rrence
                               Has followed a formal management of change process
                               Logistics Aware of COMPANY logistic set up and
                               requirements to get materials and equipment offshore
                               Has constructed a Basis of Design as outlined in the
                               WORK description for a development project
                               Transaction Efficiency invoicing is complete correct and
                               submitted on time
                               Experience at introducing New Technology, can describe a
                               case history of leading the implementation of a New
                               Technology on a well
                               Clear on local legislation
                               Overall Score                                                  (place score here)
                               Are of focus - (Please put comments here)
                        co
                        -0
                         I
                        I
                        N
                        Z
                          I
                        :s;:
                        co
                        o      Halliburton Energy Services, Inc.                                 Page 54 of 352
                        o      BPM-09-00255
                        o
                        N
                        N
                        N
                        m
                        N
Business Confidential   (')
                        o                       Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 7 of 100
                        Z
                        ."
                        o
                        m
                        z                                                 Section 3 - Scope of Work
                        -I                                           Appendix 5 - Description of the WORK
                        »
                        r
                                                                           A. Cementing Services




                                                                                                             Score




                               3
                                                                             I pre job checks particularly
                               4
                        co
                        -0
                         I
                        I
                        N
                        Z
                          I
                        :s;:
                        CO
                        o      Halliburton Energy Services, Inc.                Page 55 of 352
                        o      BPM-09-00255
                        o
                        N
                        N
                        N
                        m
                        0J
Business Confidential   (')
                        o                       Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 8 of 100
                        Z
                        ."
                        o
                        m
                        z                                                              Section 3 - Scope of Work
                        -I                                                        Appendix 5 - Description of the WORK
                        »
                        r
                                                                                        A. Cementing Services



                               Competency category
                               Score
                               0- No experience in this area
                               3 - Some experience but not fully meeting requirement
                               6 - Meets expectation
                               10- Exceeds requirements



                                    Acted as a lab technician for no less than (3) three weeks and can describe API tests
                                    used in design of a cement slurry.
                               2    Can describe spacer compatibility testing procedures.
                               3    Can describe in house sources to support selection of fit for purpose slurry designs.
                                    Can describe proprietary technologies used in dealing with Shallow Water Flows I Gas
                               4    Migration and dealing with mechanical loading during production and appropriate
                                    testing



                                    permanent and retrievable packers and           plugs, cement retainers. If tools are
                                    required to be run on wire line, these must be adequately dressed for such purposes.

                                    Can describe basic squeeze techniques and can make clear recommendations as to
                               2.
                                    appropriate use.




                        co
                        -0
                         I
                        I
                        N
                        Z
                          I
                        :s;:
                        CO
                        o      Halliburton Energy Services, Inc.                                Page 56 of 352
                        o      BPM-09-00255
                        o
                        N
                        N
                        N
                        m
                        ~
                 Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 9 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                       A. Cementing Services



                                        Attachment B - Lightweight Proprietary Blends


                 The lightweight blends must meet the following specification for 24-hour compressive strength at 120
                 degrees Fahrenheit:

                 10.0 -10.5 ppg     > 500 psi

                 10.5-11.0 ppg      > 750 psi

                 11.0 - 11.5 ppg    >1,000 psi

                 11.5-12.0 ppg      >1,250 psi

                 12.0 -12.5 ppg     >1,500 psi

                 12.5 -13.0 ppg     >1,500 psi

                 13.0 -13.5 ppg     >1,500 psi

                 13.5 -14.0 ppg     >1,500 psi



                 It must be possible to formulate slurries, which have the following properties using the blends for the
                 indicated temperature ranges:

                 COMPANY Settlement < 2%
                 API Fluid Loss < 100 ml
                 Pump time controllable between 4-12 hours
                 30 Bc - 1 00 Bc < 1 hr
                 Slurry mixable> 4 bpm using offshore mixing and pumping equipment

                 \MIen necessary it must be possible to modify the blend to have a transition time < 45 min at 60 deg F
                 (measured by SGSA or relevant equivalent using an agreed alternative procedure).


                 Other proprietary blends shall be agreed with COMPANY.




                 Halliburton Energy Services, Inc.             Page 57 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                        B P-HZN-MB 100022265
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 10 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                       A. Cementing Services



                                               Attachment C -Intentionally Blank




                 Halliburton Energy Services, Inc.          Page 58 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                            B P-HZN-MB 100022266
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 11 of 100




                                                              Section 3 - Scope of Work
                                                         Appendix 5 - Description of the WORK
                                                               A. Cementing Services



                                   Attachment D - Global Drilling and Completions Score Card



                 ~ Denotes Com     I

                           Global D&C SCORECARD: Global Cementing Services
                 Region
                 Business Unit
                 Country
                 Service Company
                 Field
                 • W'ellName
                 Uni,que Well Number
                 ~ Start Date of Operation

                 ~ End Date of Op'eration
                 * Is the cementing unit owned by the contractor submitting the scorecard?
                                                                                                                 Yes
                                                                                                                 No




                 , NlJmber of HSE related management !ng visits
                 • Number of dropped objects incidents




                 • Total Mal1i1ollrs
                 "' Days Away From        injuries
                 , Recordable Injuries and IInesses
                 • First Aid Cases
                 • Number of accidental, l.l!lconiainoo oil spills Of discharge




                 Scope of Work Changes (ntlmber of occurences)

                 • Planned Cost of Services                                                      US Dollar

                                                                                                   Sterling

                                                                                            Canadian Dollar


                 * Actual Cost of ServiG8S                                                       US Dollar

                                                                                                   Sterlill>!
                                                                                            Canadian Dollar


                 -alai Standby Costs [Offs/")orel                                                US Dollar

                                                                                                   Stenin>!
                                                                                            Canadian Dollar




                 Halliburton Energy Services, Inc.                         Page 59 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                    B P-HZN-MB 100022267
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 12 of 100




                                                                      Section 3 - Scope of Work
                                                                 Appendix 5 - Description of the WORK
                                                                       A. Cementing Services




                 Total Standby Time (days) [Offshore]

                                 Casing I liner I   h-ogthof                        Total Cost of   Tmal Cost of all                         Total Cost of   Total Cost of   Total Cost of
                                                                 r ctal Yolume of                                      Toul Personnel
                        Job     open hole size or   CementM
                                                                 CII!<m@ol Pumppd
                                                                                     Cement aad     Spacer Material
                                                                                                                            Co~ts::
                                                                                                                                             Cement Rental      Casing         3rdPart!l
                                   Op-e-ration       In:terval                        Additives        Pllmped                                Equipment      Consumabl.e-s     Charges

                 Job 1
                 Job 2
                 Job 3
                 Job 4
                 Job 5




                                                                               3



                 " Total NPT recorded      DIMS incurred during pmduclline operations (days)
                 (supplier calccllated) [Offshore]
                 " Planned time from spud 10 e,ld of completiDn (days) !Offshore)
                 > Actual time from spud to ena of completion (days) [Cffsll0re]

                 , Tolal NPT recorded      DIMS          dUlilng pmduclline operatiolls (days) [Offshore]
                 , Planned Operating Time (days)
                 , ,A,ctual Operating Time (days)
                 , Supplier Related NPT for this Service {days)
                 , Total NPT Incidents acccuntable to thiS senllce
                 * O.erall Rig Cost / Day                                                           US Doliar
                                                                                                                               Sterling
                                                                                                                       Canadian Doliar

                 * Total Drilled Interval                                                                                             'eel
                                                                                                                                metres




                 Halliburton Energy Services, Inc.                                    Page 60 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                                                                                 B P-HZN-MB 100022268
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 13 of 100




                                                                 Section 3 - Scope of Work
                                                            Appendix 5 - Description of the WORK
                                                                  A. Cementing Services




                                                                                                                hnpoltance
                                                                                                                fVeiqluinq'

                 Basis of design comp,letefupdatec with options/risk assessment and              Yes     Ho
                 recommended technical solutiDn                                                  1--10   Yes
                 Cement program addresses all pr~pClsed slumes englneermg                        Yes     No
                 fllocelling, space:- design, ~ompalibility testing, celltrallser                No      Yes
                 deployment and corrmerciat aspects
                 All computer mocelling updated with actual well site conditions                 Yes     1-10
                 alld confirmatlOll testing of proposed slurries using field                     1--10   Yes

                 sll'llples provider:: 10 drilling engineer 24 hours prior to
                 purrping job
                 All cement simries rrixed          +/- 0,25 ppg (003 SG) oftarget               Yes     110
                 density with corree! slurry design                                              1'0     Yes
                 All joh parameters recorded (denslty/pressure/rate) for al                      Yes     1-10

                 operations                                                                      No      Yes
                 No losses initiated after start of mixing cement during primary                 Yes     rio
                 ceffell! jobs                                                                   No      Yes
                 No r~PT during cement mixmg and placement as a reslIll of                       Yes     no
                 failure of contractor supplied eqUipment or person:lel                          r-~o    Yes
                 All cement plugs (I<:icl<: offfsuspensiollfabandonmenl) are                     Yes     1-10
                 sllccessful first ti'lle and do not require 10 be repeated                      No      Yes

                 All posl job reporting submitted as agreed       scope of service               Yes     No
                                                                                                 No      Yes
                 All structural objectives of casing support achieved Ceg                        Yes     1,10

                 conductor suppo,i:iBOP suppci't'support al casing window)                       No      Yes
                 All zonal isolation requirerrenls of casing and liner cement                    Yes     110
                 j::>bs met with no impact em initial production and we'l                        No      Yes
                 operability due 10 reduced perforated mlel\.'at or wellhead
                 pressure
                 Cement contractor NPT 1% 01 total well tiPT                                     Yes     f-Io
                                                                                                 r-~o    Yes
                 No annular pressure or DOS! cementing annlJlar well ccnlrof                     Yes     No
                 incijdents due to sub surface flows                                             No      Yes

                 No remedial cem,mt squeezes needed for zonal isolation at                       Yes     i-Jo
                 casing shoes or permeable fo;-mali:ions                                         No      Yes
                 No stuck pipe as a consequence of cemen,                                        Yes     flo
                                                                                                 No      Yes
                 No unplanned woe durillg well                                                   Yes     1,10

                                                                                                 No      Yes
                 -OC INithin 300ft of target on casing and linef JObs and / or                   Yes     f'lo
                 top ups required                                                                No      Yes




                 Halliburton Energy Services, Inc.                              Page 61 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                                  BP-HZN-MB 100022269
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 14 of 100




                                                                   Section 3 - Scope of Work
                                                              Appendix 5 - Description of the WORK
                                                                    A. Cementing Services




                                      Yes
                                      No

                              2       Yes
                                      No

                              3       Yes
                                      No
                 'No of Corrective A~tions assignej to the CGntractor during the course of the well [Offshore]
                 <   No of Corrective Actions closed out by the Contractor during the CGl!rse of the well [Offshore)




                                  Appropriate v1Ilue olll1c,emelltal Dem,fjt   Delils of Cost Savings or successfully implemented increment.1     be "elit
                                                  delivered                                                       ideas submitted



                              2




                 Halliburton Energy Services, Inc.                                Page 62 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                                                    BP-HZN-MBI00022270
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 15 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                       A. Cementing Services



                                               Attachment E - Global Cement KPI

                 ~mi;81P1~~6
                 ~fUIl6,lIm milDSc-1

                  General Details NUMBER OF SCORE CARDS

                  General Details TOTAL ACTUAL COST OF SE~VICES
                  HSSE                 TRIIF PER 200K MANHRS

                  HSSE                 PROACTIVE SAFETY INPUT PER 200K MANHRS

                  Cost                 ACTUAL COST/ DAY VS PLANNED COST/DAY
                  Cost                 TOTAL CEMENT COST PER 10K FT

                  Cost                 CEMENT AND ADDICTIVE + SPACER COST PER BBl CEMENT PUMPED
                  Efficiency           TOTAL NPT HRS PER WEll
                  Efficiency           NPT HRS PER 1000 BBl PUMPED

                  Quality              TOTAL WEIGHTED OBJECTIVES MET VS SET IN %
                  Incremental
                 Benefit Delivered IBD PER 1000 BBl PUMPED




                 Halliburton Energy Services, Inc.          Page 63 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                            BP-HZN-MBI00022271
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 16 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                       A. Cementing Services




                                                     Attachment F - Cement Units

                 1.0    Free Placement Cementing Unit - Pride Rig #2

                        CONTRACTOR shall provide a double-pump cementing unit equipped with an automatic density
                        controlled, re-circulating mixer, a Liquid Additive System (LAS), and other components to be
                        installed on the PS-2.


                        1.1   Cementing Unit Requirement
                                  Primary and remedial cementing operations

                                 Use of Cement Pump as temporary mud pump, for pumping downhole or boosting the
                                 drilling riser

                                  Unit must be manned with a qualified cement operator available on a 24-hour basis

                                  Unit must include all necessary treating iron and valves, plug containers, etc

                                  Data recording pressure, rate, and flow (real time and a permanent copy).

                                 Real time external data feed to Digital BOP Testing software, comprised of time stamp,
                                 pump pressure, pump flow rate, and cumulative volume updated at least once per
                                 second. Pressure measurement accuracy of ~ 0.05% of full scale and resolution of ~
                                 0.025%.


                        1.2   General Cementing Unit System Specifications:

                              - Certification ASS + CDS

                              - Delivery to Geoje Island, Korea - Samsung Heavy Industries Shipyard, Firm date - August
                              12, 2009 (Pride PS-2)

                              - Sound Cladding - Cladding for high noise items (main motors/drivetrain, fluid end, HPUs)

                              - Equipment for Nitrogen Foamed Cement Jobs - Includes equipment considered for
                              permanent installation which would aid the rig up of any temporary equipment brought out
                              specifically for this type of job.

                              - Water Cooling - required to the extent possible to minimize ventilation noise, include water
                              cooled as the primary option, air cooled only as secondary

                              - Solids fraction mixing - CONTRACTOR to include system for solids fraction mixing, to deal
                              with high and low density slurries.

                              - Sampling paints - CONTRACTOR to include sampling point systems as shipped loose
                              items with victaulic couplings for connection to 5" lines. Note that the Pride drillships are
                              coming with a National Oilwell Varco Procon bulk system, equipped with sampling points at
                              both port and starboard boat loading stations. CONTRACTOR to provide units as required
                              for supply lines to the cement unit room.




                 Halliburton Energy Services, Inc.             Page 64 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                       B P-HZN-MB 100022272
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 17 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                        A. Cementing Services



                              - Liquid Additive System - CONTRACTOR's best available, high specification continuous
                              computer controlled, minimum 8 pumps

                              - Liquid Additive Tanks - 8 ea. Note the rig is being designed with a permanent location for
                              LAS tank storage, either a permanent or marine portable tank solution is acceptable

                               - Batch Blender System - 2 ea. 100 bbl tanks, internally coated for brine service, electric
                               powered. The intent is to use these tanks for mixing mud and brine pills, spacers, etc - in
                               addition to typical cementing usage. Skid(s) to be equipped with additional inlet point (if
                               required) for connecting brine, mud, and base oil, and additional outlet point downstream of
                               pumps (if required) for connecting back to active mud pits

                               - Real Time Data Capture and Transmission - CONTRACTOR to provide a computer to
                               capture real time job data on the rig and to provide capability to transmit the job data to a
                               COMPANY shore-based system via use of COMPANY provided internet connection. Data
                               format to be WlTSML compatible, using Internet Protocol over COMPANY's 3rd party
                               network.


                        1.3    Specifications - High Capacity Unit

                               - Electric Powered - Two or Three AIC motors with 2,300hp total minimum

                               - 15,000 psi pressure rating on all discharge piping, equipped one fluied end side minimum
                               15,000 psi for high pressure testing, and one fluid end side minimum 10,000 psi for higher
                               volume pumping

                               - Dual Mixing System - CONTRACTOR's best available fully automated continuous mixing
                               system.

                              - Dual Bulk Cement Surge Tanks, sized to match high mixing rate specification, equipped with
                              rock catchers on inlets

                              - Single Dust Collector Tank System

                              - Dual HPUs



                 2.0    DELIVERY SCHEDULE

                         CONTRACTOR, at no cost or liability to COMPANY will ensure that the cementing unit ("Unit")
                         described above will be delivered to Geoje Island, Korea - Samsung Heavy Industries Shipyard
                         ("Shipyard"), on or before August 12, 2009 and installed onboard the new build rig, Pride PS-2.


                 3.0    COMPANY RESPONSIBILITY

                         Initial Placement of the units shall be accomplished by CONTRACTOR at no cost or liability to
                         COMPANY including mobilization, installation, or other charges. COMPANY shall provide
                         CONTRACTOR with all reasonable assistance with respect to the initial mobilization and
                         installation of the Unit onboard the rig including provision of reasonable assistance at the
                         Shipyard. Such assistance shall include facilitating access to craneage, labor, power, water, air,
                         certified lifting facilities, etc. to aid in the installation of the unit.



                 Halliburton Energy Services, Inc.              Page 65 of 352
                 BPM-09-002S5



CONFIDENTIAL                                                                                                      B P-HZN-MB 100022273
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 18 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                       A. Cementing Services




                 4.0    SCOPE OF WORK (All Units)

                             Using Equipment with COMPANY Products (i.e., pumping COMPANY's cement)

                             Using Cement Pump as temporary mud pump, for pumping downhole or boosting the drilling
                             riser

                             Unit must be manned with a qualified cement operator available on a 24-hour basis

                             Unit must include all necessary treating iron and valves, plug containers, etc

                             Unit daily price will be all inclusive, no matter what type of work is being performed including,
                             but not limited to, cementing, BOP testing, miscellaneous pumping, circulation of well, any
                             pressure, any rate, any depth, and any temperature or type of product being pumped.

                             Data recording pressure, rate, and flow (real time and a permanent copy). Real time external
                             data feed to Digital BOP Testing software, comprised of time stamp, pump pressure, pump
                             rate, and cumulative volume updated at least once per second. Pressure measurement
                             accuracy of ~ 0.05% of full scale and resolution of ~ 0.025%.




                 Halliburton Energy Services, Inc.             Page 66 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                        BP-HZN-MBI00022274
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 19 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          B. Fluids Services



                                                           B. Fluids Services

                 1.0    GENERAL SERVICE REQUIREMENTS

                        1.1   CONTRACTOR shall provide some or all of the following services as requested by
                              COMPANY: Performance Fluids Management (PFM) services, which include drilling fluids,
                              completion fluids, waste management / solids control equipment, and if offshore,
                              environmental compliance and monitoring, as well as associated engineering services in
                              support of COMPANY operations. PFM services will include but not be limited to the
                              provision of all necessary field management, support and engineering expertise, office and
                              operational personnel, equipment, tools, spare parts, consumables, rig site optimization of
                              drilling fluids systems, the management of associated waste and any other items or services
                              necessary for the delivery of top quartile performance of the WORK described herein.


                        1.2   COMPANY reserves the right to design the fluid program as deemed appropriate by
                              COMPANY.        COMPANY may utilize CONTRACTOR provided Design and Evaluation
                              Services for Clients (DESC) engineers when deemed appropriate.


                        1.3   In the event COMPANY designs a PFM Program, COMPANY shall notify CONTRACTOR of
                              this election, and afford CONTRACTOR ten (10) business days from receipt of notice of
                              election to review and approve said Program in advance of CONTRACTOR performing the
                              WORK.


                        1.4   COMPANY reserves the option to evaluate CONTRACTOR's engineering personnel slated
                              for rig site or office placement prior to or after CONTRACT award. COMPANY reserves the
                              option to supply rig site fluid engineering services from other sources.


                        1.5   Prior to making any changes in personnel aSSignments associated with this CONTRACT,
                              CONTRACTOR is required to provide COMPANY with the following;

                              •     A slate of not less than three (3) qualified candidates for the position to be back-filled
                              •     Their respective resume I CV
                              •     A completed skill assessment attached below
                              •     A Management of Change (MOC) document, compliant with COMPANY standards


                        1.6   CONTRACTOR, on request by COMPANY, will make immediate provIsion of drilling,
                              completion, spacers and workover fluids, herein collectively referred to as "fluids" together
                              with suitable bulked, sacked, or drummed chemicals as are necessary to maintain or alter the
                              fluid properties as to COMPANY specification.


                        1.7   CONTRACTOR, on request by COMPANY will:

                              1.7.1 Supply technical assistance on site in the form of laboratory testing and oral! written
                                    advice.

                              1.7.2 Supply and maintain a complete range of fluid testing equipment on site to allow testing
                                    to API recommended practices (RP) 13 B-1 and 13 B-2 as applicable for drilling fluids;




                 Halliburton Energy Services, Inc.             Page 67 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                          BP-HZN-MBI00022275
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 20 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          B. Fluids Services


                                   API RP 13 C for waste management I shaker screen designation; API RP 13 J for
                                   testing of heavy brines, or modified as required by COMPANY.

                              1.7.3 Supply and maintain all the necessary equipment and test kits to comply with all testing
                                    requirements and regulatory or COMPANY environmental regulations.

                              1.7.4 Provide PFM services as required by COMPANY at the WORKSITE or in COMPANY
                                    office.

                              1.7.5 Provide shaker screens in the event the Drilling Unit Contractor does not provide
                                    shaker screens, and any new solids control equipment as required by COMPANY; and
                                    CONTRACTOR shall provide technical recommendations in regards to performance
                                    improvements and necessary maintenance for any existing solids control equipment at
                                    the WORKSITE.

                              1.7.6 COMPANY reserves the right to select a different waste management COMPANY from
                                    CONTRACTOR; however, it is expected that CONTRACTOR will still be responsible
                                    for overall PFM performance and management.

                              1.7.7 COMPANY reserves the right to supply CONTRACTOR with completion fluids provided
                                    by Third Parties.

                              1.7.8 The Project Coordinator as described in Section 3, Appendix 5 Clause 9.1, shall in
                                    support of this role:

                                    (a) be responsible for setting up an engineering planning process for COMPANY that
                                        is compatible with the planning process within COMPANY's System of Work
                                        (SoW). The planning process should include documents to be produced for the
                                        project and individual wells, information required to prepare the documentation;
                                        and

                                    (b) shall ensure that all produced documentation pertaining to COMPANY comes
                                        under a document control system where signatory authorities will be described
                                        through the SoW process; and

                                    (c) shall, in the event COMPANY designs a PFM Program, CONTRACTOR shall
                                        review and approve said Program in advance of CONTRACTOR performing the
                                        WORK. CONTRACTOR is expected to challenge any deficiencies noted in said
                                        Program, and bring notice of said deficiencies to the attention of COMPANY. Prior
                                        to execution of the Program, the PARTIES shall amend the Program, or otherwise
                                        reach mutual agreement on the Program.


                 2.0    PERFORMANCE FLUIDS MANAGEMENT SERVICES

                        2.1   CONTRACTOR shall define and optimize all aspects of the WORK to drill and complete the
                              wells demonstrating a structured route for continuous performance improvement.
                              CONTRACTOR shall provide all engineering support as it pertains to the WORK required to
                              plan wells from conception through execution. In the event COMPANY designs the fluids
                              program, CONTRACTOR will be involved with the review, provide feedback,
                              recommendations, and endorse the plan prior to execution.


                        2.2   CONTRACTOR shall support the WORK and provide comprehensive warehousing,
                              workshop and service support facilities. The services to be provided by CONTRACTOR at



                 Halliburton Energy Services, Inc.             Page 68 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                      B P-HZN-MB 100022276
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 21 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          B. Fluids Services


                              the various locations shall include but shall not be limited to the storage, handling,
                              preparation, testing, and maintenance of CONTRACTOR's chemicals. fluids, and equipment.


                        2.3   CONTRACTOR shall provide a fast, effective, and efficient problem and failure investigation
                              service that provides rapid feedback to COMPANY on the likely cause of operational
                              problem(s), and a well documented root cause analysis.


                        2.4   CONTRACTOR shall only propose alternative equipment and services at the WORKSITE on
                              the understanding that it has previously approached COMPANY and received written
                              acceptance to a rate for the inclusion of such equipment or services in the CONTRACT. It is
                              incumbent upon CONTRACTOR to proactively advise COMPANY of new equipment and
                              services for potential inclusion in the CONTRACT.


                        2.5   CONTRACTOR shall develop and maintain procedures for the transfer and management of
                              fluids in all aspects of performance of the WORK.


                        2.6   COMPANY reserves the right to procure products and services from a Third Party if in
                              COMPANY's opinion CONTRACTOR's product or service does not meet the specifications
                              required for performing the WORK or any other reason that COMPANY deems appropriate.


                        2.7   CONTRACTOR shall have available at the WORKSITE and provide to COMPANY and
                              Drilling Unit Contractor the following in respect to performance of the WORK:

                                •    All pertinent plans and recommendations

                                •    Operating manual and laminated MSDS and product data sheets for all tools,
                                     equipment and materials

                                •     Inventory of equipment and material available at the WORKSITE

                                •    An inspection report with all equipment and tools sent to the WORKSITE to ensure
                                     the equipment is in satisfactory condition to be used

                                •    All shipping manifests for equipment and chemicals


                 3.0    PROVISION OF DRILLING FLUIDS AND I OR COMPLETION FLUIDS AND ENGINEERING
                        SERVICES

                        3.1   CONTRACTOR on the request of COMPANY will provide, in a reasonable time, drilling and /
                              or completions fluids together with suitable bulked, sacked or drummed chemicals as are
                              necessary to build, maintain or alter the fluid properties to COMPANY's specification.


                        3.2   CONTRACTOR will be responsible for drilling and I or completion fluids and bulks until
                              transferred to COMPANY at COMPANY's WORKSITE and the materials are actually used in
                              COMPANY's down-hole drilling operations.




                 Halliburton Energy Services, Inc.            Page 69 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                    B P-HZN-MB 100022277
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 22 of 100




                                                        Section 3 - Scope of Work
                                                   Appendix 5 - Description of the WORK
                                                            B. Fluids Services


                        3.3    Notwithstanding COMPANY providing transportation or warehousing of any sort,
                               CONTRACTOR shall retain ownership and the attendant rights and obligations for said
                               materials for all drilling and I or completion fluids and bulks provided under the terms of this
                               CONTRACT. CONTRACTOR shall be encouraged to advise COMPANY on ways to
                               optimize the transportation and warehousing logistics.            The implementation of any
                               recommendation for optimization shall be at the discretion of COMPANY.


                        3.4    CONTRACTOR shall provide assurance by developing and updating checklists and
                               procedures covering effective management to reduce waste and losses. CONTRACTOR
                               shall be encouraged to advise COMPANY on ways to minimize any loss of drilling and I or
                               completion fluids and bulk while on the rig. The implementation of any recommendation to
                               minimize losses shall be at the discretion of COMPANY.


                        3.5    CONTRACTOR shall confirm the acceptability and cleanliness of the tanks of marine vessels
                               and verify volumes of drilling and I or completion fluids and bulks prior to transferring to and
                               from the marine vessel, Drilling Unit, and fluid plant. CONTRACTOR shall ensure that a
                               comprehensive up to date procedure for the transfer of drilling and I or completion fluids and
                               bulks is available at the relevant transfer points.


                        3.6    CONTRACTOR shall provide the necessary personnel to manage the drilling and / or
                               completion fluids and bulks at the WORKSITE. The number of personnel will be dictated by
                               operational needs as agreed to by COMPANY and CONTRACTOR.


                        3.7    COMPANY reserves the right to supply CONTRACTOR with completion fluids provided by
                               Third Parties.


                        3.8    CONTRACTOR shall provide Barite and Bentonite that meet API RP 13 B-1 and B-2 (with
                               the exception of 4.1 specific gravity Barite).


                        3.9    COMPANY reserves the right to specify any chemicals provided by a Third Party for which
                               COMPANY deems CONTRACTOR does not have a suitable alternative. CONTRACTOR
                               shall ensure that such Third Party chemicals are compatible with the drilling and / or
                               completion fluids supplied by CONTRACTOR prior to purchase by COMPANY.


                        3.10 CONTRACTOR shall provide, maintain, and re-supply as necessary a comprehensive mud
                             kit per drilling unit to conduct regular fluid tests in accordance with COMPANY requirements.
                             The test kit shall include all necessary chemical reagents plus associated glassware
                             sufficient for the comprehensive testing of all water based and oil based drilling and
                             completion fluids as detenmined by both COMPANY and CONTRACTOR in order to maintain
                             the fluid properties as specified by COMPANY.


                        3.11   CONTRACTOR shall provide calcium carbonate that is metamorphic and not sedimentary.


                        3.12 Any oil based or synthetic based mud provided to WORKSITE or supply base, should have
                             an oil based ratio of 70:30 to 90:10. COMPANY reserves the right to request fluids outside




                 Halliburton Energy Services, Inc.              Page 70 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                         B P-HZN-MB 100022278
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 23 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          B. Fluids Services


                              specification in which COMPANY will pay for additional base oil and / or products to meet
                              COMPANY requests.


                        3.13 lMlen COMPANY designs the PFM Program, COMPANY may request CONTRACTOR to
                             run hydraulics analysis using COMPANY provided data and design parameters.


                 4.0    PROVISION OF WASTE MANAGEMENT AND SOLIDS CONTROL ENGINEERING SERVICES

                        4.1   CONTRACTOR shall be responsible for ensuring compliance with the relevant environmental
                              regulations, standards, guidelines, and COMPANY Environmental Management System as
                              based on ISO 14001 Environmental Management System. This shall be done in consultation
                              with COMPANY's PFM champion or designate.


                        4.2   CONTRACTOR is encouraged to suggest ways to control the production of all discharges
                              ranging from reduction in hole size, fluid type, drilling unit equipment, solids control
                              management, closed loop mud systems and de-watering process and cuttings re-injection.


                        4.3   CONTRACTOR shall be required to provide expertise with respect to managing and
                              minimizing all discharges including cement and sewerage.


                        4.4   CONTRACTOR shall provide the necessary personnel to manage the solids control and
                              provide waste management service at the WORKSITE. The number of personnel shall be
                              dictated by operational needs as agreed by COMPANY and CONTRACTOR.


                        4.5   Upon the commencement of the WORK, CONTRACTOR shall perform an audit of the solids
                              control capability of the Drilling Unit and advise COMPANY of the necessary modifications
                              required to achieve the required solids control and waste management efficiency as mutually
                              agreed to by COMPANY and CONTRACTOR.


                 5.0    PROVISION OF WASTE MANAGEMENT AND SOLIDS CONTROL EQUIPMENT

                        5.1   CONTRACTOR shall be responsible for managing all CONTRACTOR supplied waste
                              management and solids control equipment.


                        5.2   CONTRACTOR may be required to supply and install solids control equipment and waste
                              management equipment as identified per the audit performed and as agreed by COMPANY.


                        5.3   CONTRACTOR shall be required to supply consumables such as screens not covered under
                              the Drilling Unit contract for the performance of the WORK.


                        5.4   CONTRACTOR shall be required to supply consumables and spares associated with
                              CONTRACTOR supplied waste management and solids control equipment in order to
                              minimize disruptions in the performance of the WORK.




                 Halliburton Energy Services, Inc.            Page 71 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                    B P-HZN-MB 100022279
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 24 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          B. Fluids Services


                        5.5   CONTRACTOR shall provide the necessary personnel to manage CONTRACTOR supplied
                              waste management and solids control equipment at the WORKSITE. The number of
                              personnel shall be dictated by operational needs as agreed by COMPANY and
                              CONTRACTOR.


                 6.0    DRILLING PERFORMACE OPTIMIZATION AND INNOVATION

                        6.1   CONTRACTOR shall operate a formal post-analysis review of well performance so that
                              lessons learned are fed back into the plans for the next section of the well or on subsequent
                              wells. Where applicable, all relevant COMPANY specialists, technologies, and facilities shall
                              be made available to CONTRACTOR to facilitate this process. Such assistance shall be
                              provided at the sole discretion of COMPANY but shall not be unreasonably withheld.


                        6.2   CONTRACTOR shall provide an execution plan before a well is spud to monitor the
                              achievement of the objectives, which shall be monitored and recorded using the PFM weekly
                              report. The performance criteria with objectives shall be monitored whether CONTRACTOR
                              has WORKSITE representation or providing engineering support elsewhere.


                        6.3   CONTRACTOR shall proactively execute, monitor, evaluate, and promote the use of new
                              technology where appropriate.


                        6.4   CONTRACTOR shall provide a process for accessing its global engineering resources and
                              shall analyze the data both at the WORKSITE for real-time decision-making and
                              subsequently in the office to achieve a systematic improvement in performance.


                        6.5   Provide linkage to CONTRACTOR's global knowledge management and lessons-Ieamed
                              data bases for technical and HSSE issues.


                 7.0    REPORTING, RECORD KEEPING AND MEETINGS

                        7.1   CONTRACTOR shall be responsible for inputting all relevant PFM data on COMPANY's SPM
                              tool and / or other system to be determined by COMPANY, in addition to fulfilling
                              CONTRACTOR's own internal reporting requirements.


                        7.2   On completion of either a drilling phase or completion phase, CONTRACTOR shall prepare a
                              Final Well Report consistent with COMPANY requirements as specified in the Sow. This
                              shall be completed within two (2) weeks of completing the well.


                        7.3   CONTRACTOR may be required to submit one or more of the following reports in an
                              electronic format compatible with COMPANY's computer software. These reports shall be
                              distributed to the relevant COMPANY personnel. Hard copies of these reports may be
                              requested by COMPANY.



                               Type                                                         Frequency




                 Halliburton Energy Services, Inc.            Page 72 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                     B P-HZN-MB 100022280
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 25 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           B. Fluids Services


                                EMS      Internal   Observations  I   Potential Non-        Bi-monthly
                                conformances
                                PFM Audits                                                  Quarterly
                                Mud report                                                  Daily
                                PFM Report, CRI Log, Discharge Log, ROC Report              Daily
                                PFM Report, Waste with Effluent Discharge                   Weekly
                                Discharge model, PFM recap, SPM Tool                        Per Well
                                Spill Reports, SPCC*                                        As required
                                Safety Reports                                              Quarterly
                                Performance Measures, SPM Tool                              Per well and QPR
                                Inspection Reports                                          As required
                                Failure I Problem analysis                                  As required
                                Guide book update                                           Semi-annual
                                BOD                                                         Updated every well
                                End of Well Reports                                         Per well
                                Project I Study reports                                     As required
                                Quality Improvement Plan Status                             Updated Quarterly

                              * SPCC - Spill Prevention Containment and Countermeasure

                              The content, style, and structure of the above reports shall be agreed between COMPANY and
                              CONTRACTOR. COMPANY will not entertain any charges for the above reports.


                        7.4    Inspection and Failure I Problem analysis reports shall be discussed and agreed on an
                               individual basis by COMPANY and CONTRACTOR. CONTRACTOR must provide full
                               details on problems and issues to ensure capture of lessons learned and continuous
                               improvement.


                        7.5    Project I Study Reports shall be undertaken as necessary following identification of issues
                               from the above reports. Such projects I studies shall have an agreed scope of work,
                               objective, and deliverable prior to commencement. This type of work shall be part of
                               CONTRACTOR's commitment to improve drilling performance.


                        7.6    CONTRACTOR's personnel may be required to attend a variety of meetings both in
                               COMPANY office and at the WORKSITE. COMPANY encourages full, effective, open,
                               honest, proactive participation in all meetings and encourages CONTRACTOR personnel to
                               share this goal. Cost associated with these activities is covered under Section 4 -
                               Remuneration, Appendix 3 - Sub-Sector Terms and Conditions, Clause 1.4.


                        7.7    Prior to a well or hole section, CONTRACTOR personnel shall lead briefings to introduce new
                               technology tools I new mud systems I equipment to all personnel involved in the operations.
                               CONTRACTOR personnel shall ensure that literature is available to familiarize rig floor
                               personnel with any handling issues or hazards associated with the tools I equipment and
                               mud systems.




                 Halliburton Energy Services, Inc.             Page 73 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                     BP-HZN-MBI00022281
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 26 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           B. Fluids Services


                 8.0    PERSONNEL REQUIREMENTS

                        The following positions listed herein are deemed to be Key Personnel and may be utilized during
                        the term of the CONTRACT.

                        8.1   The Project Coordinator shall be competent in all the required skill sets necessary to support
                              the activities listed herein. The roles and responsibilities shall include but shall not be limited
                              to the following issues relating to compliance and execution of the WORK.

                              8.1.1    Provides a single point of contact for all contractual issues including HSSE, quality,
                                       cost, people, and performance.

                              8.1.2    Accountable for all personnel provided by CONTRACTOR and the preparation of a
                                       RACI chart covering all personnel and attendant processes.

                              8.1.3    Responsible for instituting an engineering planning process that is compatible with
                                       COMPANY's System of Work (SoW). This planning process should include but not
                                       be limited to, documents to be produced for the project such as the SoW document,
                                       the PFM guide book, the PFM generic field program, the information required to
                                       produce these documents and the timeframe within which these documents would be
                                       produced and finalized.

                              8.1.4    Ensures that all documentation pertaining to the CONTRACT is governed by a
                                       document control system where signing authorities will be described through the
                                       RACI process. Electronic copies of all documentation are required and must be filed
                                       within COMPANY's system.

                              8.1.5    Ensures compliance to the project's SoW and PFM Programs as approved by
                                       COMPANY.

                              8.1.6    Promotes the agreed safety program and actively follows up on action plans.

                              8.1.7    Coordinates PFM activities to meet and exceed environmental standards outlined by
                                       CONTRACTOR and COMPANY.

                              8.1.8    Ensures adherence to all QA / QC procedures.

                              8.1.9    Ensures that personnel, material, and equipment are at the WORKSITE or shore
                                       base as agreed to by COMPANY.

                              8.1.10 Provides technical support for all projects and ensures that lessons learned are
                                     transferred. Identifies potential problems and recommends solutions to maintain and
                                     improve the quality of service.

                              8.1.11   Review and approves PFM programs generated by the Project Engineer.

                              8.1.12 Attends all planning meetings for the project (risk assessment, SoW, section
                                     meeting, etc.) and ensures the transfer of pertinent information to all CONTRACTOR
                                     personnel involved in the performance ofthe WORK.

                              8.1.13 In the event COMPANY designs the fluids program, the Project Coordinator will be
                                     involved with the review, provide feedback, recommendations, and endorse the plan
                                     prior to execution.




                 Halliburton Energy Services, Inc.              Page 74 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                           B P-HZN-MB 100022282
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 27 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           B. Fluids Services


                        8.2   The Project DESC Engineer, if used, shall be competent in all required skill sets necessary to
                              support the activities listed herein. The roles and responsibilities shall include but shall not
                              be limited to the following:

                              8.2.1 Produces and updates the SoW document for the project. This work shall includes all
                                    background engineering required to develop the generic field PFM program and the
                                    PFM guide book which will incorporate as a minimum the following:

                                       •   area experience
                                       •   formation damage
                                       •   well bore stability
                                       •   hydraulics - swab I surge calculations, ECD management
                                       •   corrosion Monitoring and Management
                                       •   fluid displacements from one fluid to another
                                       •   logistics and rig constraints
                                       •   commercial balance (cost benefit analysis)
                                       •   cementing interface considerations
                                       •   environmental controls
                                       •   hole cleaning procedures including suggested gpm I max ROP and trip
                                           procedures
                                       •   lost circulation procedures - including a decision tree for expected lost circulation
                                           root causes.
                                       •   differentially stuck pipe-freeing procedures.

                              8.2.2   Updates the project PFM guidebook.

                              8.2.3   Generates PFM programs with reference to the PFM guidebook. The PFM program
                                      will include the projected cost for drilling and completions of wells, material
                                      consumption, and other subject areas specified by COMPANY.

                              8.2.4   Coordinates and distributes weekly PFM summaries and all other reports such as
                                      end of well recap, section reviews etc., to all relevant COMPANY personnel. There
                                      shall be special emphasis on recommendations for continuous performance
                                      improvement, and feedback to maintain and update the PFM Basis of Design (BOD).

                              8.2.5   Promotes the agreed safety program and actively follows up on action plans.

                              8.2.6   Ensures adherence to all QA I QC procedures.

                              8.2.7   Attends morning meetings, reviews all daily reports and ensures adherence to the
                                      PFM program.

                              8.2.8   Tracks, reports, and benchmarks drilling, waste management, and solids control
                                      performance measures as per SPM performance score cards. Pre-fills the SPM
                                      performance score cards prior to spudding the well and completes the SPM
                                      performance score cards at the end of each well.


                          8.3 The Lead Mud Engineer is the primary liaison with COMPANY and shall be competent in all
                              required skill sets necessary to support the activities listed herein.

                              8.3.1   Production of daily drilling fluids and treatment reports to API 13-G standards as a
                                      minimum, or as required by COMPANY. This will be entered on COMPANY's DIMS I
                                      OpenWelis reporting system or as specified. A minimum of one complete fluid test



                 Halliburton Energy Services, Inc.              Page 75 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                          B P-HZN-MB 100022283
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 28 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           B. Fluids Services


                                      will be performed per 12 hour period - results of two tests will be recorded on the
                                      daily report. More frequent testing will be performed as necessary to maintain fluid
                                      specifications as established in the well plan.

                             8.3.2    Daily chemical and physical testing of drilling fluids and brines.

                             8.3.3    Making recommendations to COMPANY for continuous improvements as and when
                                      opportunities arise.

                             8.3.4    Making daily inventory checks and reconciling stocks, billing and credits at the end of
                                      the well.

                             8.3.5    Monitoring and assisting with the optimization of solids control equipment. If
                                      COMPANY puts in place a Third Party to fill this role, CONTRACTOR personnel will
                                      cooperate and assist as required.

                             8.3.6    Executing a corrosion monitoring and mitigation plan for the circulating system, pits,
                                      and drill string.

                             8.3.7    Accurately recording and documenting the solid and fluid waste streams produced
                                      from the well.    CONTRACTOR rig site personnel will work proactively with
                                      COMPANY and Third Party personnel to minimize waste disposal volumes and
                                      costs.

                             8.3.8    Ensures that the fluid in the well (mud, drill-in fluid, brine, and spacers) is in the
                                      appropriate condition and used in the most effective manner.

                             8.3.9    Ensures that the agreed parameters as defined in the well PFM Program, approved
                                      by COMPANY, are carried out in a professional and cost effective manner.

                             8.3.10 Ensures that the goals of the PFM program are achieved while complying with all
                                    COMPANY's and CONTRACTOR's requirements regarding Quality, Health, Safety,
                                    and Environment (QHSE).

                             8.3.11   Promotes the agreed safety program and actively follows up on action plans.

                             8.3.12 Manages the personnel under his supervision.

                             8.3.13 Ensures adherence to all QA I QC procedures.

                             8.3.14 May supervise the PFM Compliance Engineer and the Mud Engineer and plans
                                    ahead for all fluids discharged from WORKSITE. as per environmental requirements
                                    and COMPANY guidelines

                             8.3.15 Monitors COMPANY's PFM waste stream management plan. This includes daily
                                    documentation of date, time, quantity, quality of material discharged, entry of solids
                                    control and waste management data into CONTRACTOR data base computer
                                    program for record keeping on the rig.

                             8.3.16 Monitors the material discharged. Ensures that the synthetic content of cuttings
                                    discharged on a daily and interval basis comply with and exceed environmental
                                    requirements and COMPANY guidelines.

                             8.3.17 Anticipates material movement, works closely with solids control personnel and mud
                                    engineer to reduce waste.



                 Halliburton Energy Services, Inc.              Page 76 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                       B P-HZN-MB 100022284
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 29 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          B. Fluids Services




                              8.3.18 Identifies potential problems and recommends solutions to maintain and I or improve
                                     the quality of service.


                        8.4   The PFM Compliance Engineer ensures that design parameters specified in the approved
                              PFM program are obtained in a professional and cost effective manner. Complies with and
                              ensures that the personnel under their supervision comply with all COMPANY's requirements
                              regarding Quality, Health, Safety, and Environment (QHSE).

                              8.4.1   Ensures all QA I QC procedures are completed prior to commencement of the
                                      WORK.

                              8.4.2   Monitors discharge of fluids per environmental requirements and COMPANY
                                      guidelines. This includes daily documentation of date, time, quantity, and quality of
                                      material discharged. Also included is daily entry of solids control and waste
                                      management data into CONTRACTOR's and COMPANY's databases.

                              8.4.3   Ensures that the materials discharged comply with environmental and COMPANY
                                      requirements.

                              8.4.4   Monitors synthetic oil base mud content of cuttings discharged on a daily and interval
                                      basis.

                              8.4.5   Anticipates material movement, liaises with solids control personnel and mud
                                      engineers to reduce waste.

                              8.4.6   Identify potential problems and recommend solutions to maintain and / or improve the
                                      quality of service.

                              8.4.7   Maintains and communicates the PFM weekly report to CONTRACTOR and
                                      COMPANY personnel.

                              8.4.8   Promotes the agreed safety program and actively follows up on action plans.



                        8.5   The Mud Engineers shall be competent in both drilling and completion skill sets. The rig site
                              mud engineering service provided will include, but not be limited to:

                              8.5.1   Production of daily drilling fluids and treatment reports to API 13-G standards as a
                                      minimum, or as required by COMPANY. This will be entered on COMPANY's DIMS
                                      I OpenWelis reporting system or as specified. A minimum of one complete fluid test
                                      will be performed per 12 hour period - results of two tests will be recorded on the
                                      daily report. More frequent testing will be performed as necessary to maintain fluid
                                      specifications as established in the well plan.

                              8.5.2   Daily chemical and physical testing of drilling fluids and brines.

                              8.5.3   Making recommendations to COMPANY for continuous improvement as and when
                                      opportunities arise.

                              8.5.4   Making daily inventory checks and reconciling stocks, billing and credits at the end
                                      of the well.




                 Halliburton Energy Services, Inc.             Page 77 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                      B P-HZN-MB 100022285
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 30 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          B. Fluids Services


                             8.5.5    Monitoring and assisting with the optimization of solids control equipment. If
                                      COMPANY puts in place a Third Party to fill this role, CONTRACTOR personnel will
                                      cooperate and assist as required.

                             8.5.6    Executing a corrosion monitoring and mitigation plan for the circulating system, pits,
                                      and drill string.

                             8.5.7    Accurately recording and documenting the solid and fluid waste streams produced
                                      from the well.    CONTRACTOR rig site personnel will work proactively with
                                      COMPANY and Third Party personnel to minimize waste disposal volumes and
                                      costs.

                             8.5.8    Supervision, evaluation, and optimization of the PFM processes including personnel
                                      involved in PFM operations at the WORKSITE.

                             8.5.9    Manages and coordinates all PFM services including cost analysis at the
                                      WORKSITE.

                             8.5.10 Promotes communication between all parties involved with the PFM process.

                             8.5.11   Communicates the PFM program emphasizing goals and objectives to all personnel
                                      at the WORKSITE.

                             8.5.12 Performs solids control engineering to ensure optimum use of all solids control
                                    equipment including shale shaker screens at the WORKSITE.

                             8.5.13 Manages PFM services to prevent high treatment costs and / or unnecessary
                                    chemical usage.

                             8.5.14 Co-ordinates the shipping of material (chemicals and mud samples) to and from the
                                    WORKSITE. This will include packaging, dispatching, and documenting as required.

                             8.5.15 Maintains inventory and performs daily inventory checks of fluids, chemicals, and
                                    equipment at the WORKSITE.

                             8.5.16 Inputs and updates all applicable sections within the SPM tool on a daily basis.

                             8.5.17 Produces the daily drilling fluid reports, PFM and completion fluid reports in a timely
                                    and professional manner.

                             8.5.18 Prepares daily and monthly reporting of all fluids and cuttings discharged from
                                    facilities.

                             8.5.19 Performs all necessary environmental and COMPANY compliance testing and
                                    reporting.

                             8.5.20 Performs daily sampling, chemical and physical testing of drilling fluid.

                             8.5.21   Performs static sheen test weekly or any time large quantities of mud are
                                      discharged.

                             8.5.22 Monitors well-bore stability and hole conditions and makes daily recommendations
                                    for continuous performance improvement.

                             8.5.23 Recommends the use of drilling and tripping practices, as agreed in the SOW.



                 Halliburton Energy Services, Inc.            Page 78 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                      B P-HZN-MB 100022286
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 31 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           B. Fluids Services




                              8.5.24   Manages all completions activities including well-bore displacement clean-up, tool
                                       make-up, tool operation, packer fluid, and pill construction.

                              8.5.25 Ensures the transfer of lessons learned from WORKSITE to shore based team.

                              8.5.26 Participate in the rig STO.P. program or equivalent.

                              8.5.27 Leads daily safety meeting regarding applicable aspects of the PFM services and
                                     equipment. Documents meeting and topics discussed on the mud check report
                                     every morning.

                              8.5.28 Attends daily safety meeting and pre-tour meetings with COMPANY Representative,
                                     Toolpusher, and other Contractors.

                              8.5.29 Performs and documents weekly safety audit of PFM operation.

                              8.5.30 Monitors the oil content and total volume of shipped cuttings if required.
                                     Implements, supervises, and optimizes procedures for tracking volumes of oil I mud
                                     recovering systems.


                        8.6   The Completion Engineers shall be competent in both completion and drilling skill sets. The
                              rig site completion engineering service provided will include, but not be limited to:

                              8.6.1    Supervision, evaluation, and optimization of the fluid processes including personnel
                                       and equipment involved in completion operations at the WORKSITE.

                              8.6.2    Manages and coordinates all completion fluid services including cost analysis at the
                                       WORKSITE.

                              8.6.3    Promotes communication between all parties involved with the completion process.

                              8.6.4    Communicates the completions program emphasizing goals and objectives to all
                                       personnel at the WORKSITE.

                              8.6.5    Performs fluid filtration supervision to ensure optimum use of the filtration unit
                                       equipment and personnel at the WORKSITE.

                              8.6.6    Manages completion services to prevent high treatment costs and I or unnecessary
                                       chemical usage.

                              8.6.7    Co-ordinates the shipping of material (chemicals and brine samples) to and from the
                                       WORKSITE. This will include packaging, dispatching, and documenting as required.

                              8.6.8     Maintains inventory and performs daily inventory checks of completion fluids,
                                       chemicals, and equipment at the WORKSITE.

                              8.6.9    Inputs and updates all applicable sections within SPM tool on a daily basis.

                              8.6.10 Produces the daily completion fluid reports in a timely and professional manner.

                              8.6.11   Prepares daily and monthly reporting of all completion fluids and cuttings discharged
                                       from facilities.




                 Halliburton Energy Services, Inc.             Page 79 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                          B P-HZN-MB 100022287
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 32 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          B. Fluids Services


                              8.6.12 Performs all necessary environmental and COMPANY compliance testing and
                                     reporting.

                              8.6.13 Performs daily sampling, chemical and physical testing of completion fluid.

                              8.6.14 Performs static sheen test weekly or any time large quantities of fluid discharged.

                              8.6.15 Manages all completions activities including well-bore displacement clean-up, tool
                                     make-up, tool operation, packer fluid, spacers and pill construction.

                              8.6.16   Ensures the transfer of lessons learned from WORKSITE to shore based team.

                              8.6.17 Participate in the rig S.T.O.P. program or equivalent.

                              8.6.18 Leads daily safety meeting regarding applicable aspects of the completion fluid
                                     services and equipment.       Documents meeting and topics discussed on the
                                     completion fluid check report every morning.

                              8.6.19 Attends daily safety meeting and pre-tour meetings with COMPANY Representative,
                                     Toolpusher, and other Contractors.

                              8.6.20 Performs and documents weekly safety audit of completion operations.

                              8.6.21   Monitors the oil content and total volume of shipped waste if required. Implements,
                                       supervises, and optimizes procedures for tracking volumes of oil I brine recovering
                                       systems.


                 9.0 CONTRACTOR'S EQUIPMENT

                        9.1   CONTRACTOR's comprehensive listing of equipment and specifications to be used in
                              connection with the WORK is described in Clause 11 of Section 3.


                        9.2   CONTRACTOR shall be responsible at its own cost for the stock control, maintenance and
                              servicing of its equipment supplied for the WORK and shall ensure that sufficient spares and
                              back up tools are available for all normal maintenance requirements and to meet any
                              reasonably foreseeable contingency.


                        9.3   COMPANY shall have the right to inspect CONTRACTOR's equipment, spares, and supplies
                              at any time to observe their condition and to ensure that no deficiencies exist therein. Such
                              inspection by COMPANY shall not imply any acceptance of the condition of the said
                              equipment, spares, and supplies provided by CONTRACTOR and CONTRACTOR shall not
                              be relieved of its obligations under this CONTRACT by any such inspection.


                        9.4   All packaging shall be of suitable quality to withstand adverse weather conditions.
                              COMPANY shall have the right to reject any equipment deemed unsuitably packaged for the
                              conditions or where the packaging is of poor quality. The equipment shall be returned to
                              CONTRACTOR at CONTRACTOR'S cost.


                 10.0 EQUIPMENT LIST AND SPECIFICATIONS




                 Halliburton Energy Services, Inc.            Page 80 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                       B P-HZN-MB 100022288
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 33 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           B. Fluids Services


                        10.1 The following list identifies the primary Solids Control and Waste Management equipment
                             and the specification that shall be supplied by CONTRACTOR as may be requested by
                             COMPANY.

                               10.1.1 Dryer System: Only vertical units verified to be able to handle one hundred and
                                      twenty five percent (125%) of the maximum expeded cuttings and fluids from the
                                      well discharge and produce a cutting discharge ROC of less than four percent (4%).

                               10.1.2 Cuttings Transfer System from Shakers to Dryer: Engineered augers, vacuums, or
                                      pneumatic transfer equipment verified to be able to handle 125% of the maximum
                                      expeded cuttings and fluids from the well discharge with a proven verified
                                      continuous discharge capability.

                               10.1.3 High Speed I High Volume Centrifuge: Variable speed centrifuge capable of
                                      minimum 500 g forces to a maximum of 3,000 g forces, with a mechanical solids
                                      process of about 200 GPM of drilling mud.

                               10.1.4 Orbital or Elliptical motion Shakers: Stand alone or integrated units with no less than
                                      2.5 g force and minimum screening area of 20 sq ft per unit. Each unit must be
                                      capable of handling up to 80 mesh screens and process a minimum of 350 gpm 15
                                      ppg EMWat 120 degrees F.

                               10.1.5 Linear Motion Primary Shakers: Linear motion machine capable of up to 6.5 g's with
                                      a screening area of no less than 30 sq. ft. and capable of decline to negative 1
                                      degree and positive 5 degrees and ability to screen fluid with no loss over basket
                                      weir at a minimum of 300 gpm flow rate of 15 ppg EMW at 120 degrees F.

                               10.1.6 Triple Deck Shaker: Shaker must have 3 decks capable of running in parallel or
                                      series mode for LCM recovery, must be able to return discard material from second
                                      screen to active system in LCM recovery mode.


                        10.2 Typical use of solids handling and transfer equipment to meet the environmental regulations:

                                         •   100 HP Vacuum system
                                         •   Cuttings dryer package
                                         •   Continuous feed system
                                         •   HS J HV Centrifuge package
                                         •   14", 12" auger systems with all safety components
                                         •   Personnel


                 11.0 PERFORMANCE MEASUREMENT

                        11.1   The intent of the CONTRACT is for CONTRACTOR to deliver excellent performance and
                               continuous improvement throughout the CONTRACT period. Key Performance Indicators
                               (KPls) as set forth below are to be used to manage CONTRACTOR's performance in
                               Drilling Fluids, Completion Fluids, and Waste Management. At the start of the CONTRACT,
                               COMPANY and CONTRACTOR shall agree on the targets for these KPls measured against
                               the delivery of the WORK. Targets shall be set to encourage the delivery of continuous
                               improvement. CONTRACTOR shall supply all information required for the standard
                               COMPANY reporting system. CONTRACTOR shall complete performance data score cards
                               for every well, as detailed on COMPANY SPM website.




                 Halliburton Energy Services, Inc.              Page 81 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                       B P-HZN-MB 100022289
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 34 of 100




                                                        Section 3 - Scope of Work
                                                   Appendix 5 - Description of the WORK
                                                            B. Fluids Services




                        11.2   KPI for Drilling Fluids:

                               11.2.1   Proactive safety input per 200,000 man-hours

                               11.2.2 Actual versus planned cost, with adjustments for any scope change.

                               11.2.3 Actual cost per 10,000 feet

                               11.2.4 Consequential NPC as a percent of actual cost

                               11.2.5 Total weighted objectives met versus set.

                                        CONTRACTOR will select from COMPANY's SPM tool and COMPANY shall
                                        approve the following drilling fluids objectives, which cover forty percent (40%) of the
                                        well performance objectives. The remaining sixty percent (60%) of the well
                                        performance objectives will be selected from the balance of the performance
                                        objectives contained within COMPANY's SPM tool.

                                        (a) Consequential NPT less than seven and a half percent (7.5%) of the drilling
                                            NPT from DIMS

                                        (b) Drilling Performance: Down-hole mud losses to the formation to be no greater
                                            than those in the fluids program.

                                        (c) Drilling performance: Produce stable and clean hole for the specified hole
                                            sections measured by the ability to run casing to section depth first time and
                                            within planned time for the running of the casing.

                                        (d) Drilling Performance:    No stuck pipe due to either hole cleaning or instability
                                            problems.


                        11.3   KPls for Completion Fluids

                               11.3.1   Proactive safety input per 200,000 man-hours

                               11.3.2 Actual versus planned cost, with adjustments for any scope change.

                               11.3.3 Actual versus planned operating time

                               11.3.4 Direct NPT as percentage of operating time

                               11.3.5 Total weighted objectives met versus set.

                                        CONTRACTOR will select from COMPANY's SPM tool and COMPANY shall
                                        approve the following completions fluids objectives, which cover forty percent (40%)
                                        of the well performance objectives. The remaining sixty percent (60%) of the well
                                        performance objectives will be selected from the balance of the performance
                                        objectives contained within COMPANY's SPM tool.

                                        (a) Rig site engineers of the required competence and quality available for the job.

                                        (b) Actual rig time to displace to completion fluids and clean the well to the
                                            programmed standard <= P50 planned time



                 Halliburton Energy Services, Inc.               Page 82 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                          BP-HZN-MBI00022290
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 35 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           B. Fluids Services




                                        (c) No COMPANY agreed supplier related NPT

                                        (d) Completion fluid and well cleaned to completion program.


                        11.4   KPls for Waste Management

                               11.4.1   Proactive safety input per 200,000 man-hours

                               11.4.2 Actual versus planned cost, with adjustments for any scope change.

                               11.4.3 Actual cost per day

                               11.4.4 Direct NPT as percentage of operating time

                               11.4.5 Total weighted objectives met versus set.

                                        CONTRACTOR will select from COMPANY's SPM tool and COMPANY shall
                                        approve the following waste management objectives, which cover forty percent
                                        (40%) of the well performance objectives. The remaining sixty percent (60%) of the
                                        well performance objectives will be selected from the balance of the performance
                                        objectives contained within COMPANY's SPM tool.

                                        (a) Rig-site engineers of the required competence and quality available for the job.

                                        (b) Waste Management system allows drilling at agreed system designed ROP
                                            excluding weather.

                                        (c) No wells team agreed product line NPT.

                                        (d) All planned maintenance done as per plan.


                        11.5   COMPANY and CONTRACTOR shall hold regular reviews, as agreed to by the PARTIES
                               for their respective SPUs, to review performance against targets by well, operating unit
                               (Field) and overall performance. COMPANY may re-allocate WORK based on performance.
                               CONTRACTOR shall pre-fill the SPM score card prior to spudding the well with approval
                               from COMPANY drilling engineer on objectives and their relative weighting. The objectives
                               shall be tracked with the PFM weekly report. The SPM score card shall be submitted to
                               COMPANY within fourteen (14) days of completing the well.


                        11.6 In addition to the prescribed set of KPls and Weighted Objectives, each SPU is expected to
                              have additional specific KPI requirements that shall be identified which would become part
                              of their respective CONTRACT.


                 12.0 PREVENTATIVE MAINTENANCE

                        12.1 CONTRACTOR shall have a documented preventative maintenance plan for each piece of
                              powered and non-powered equipment.




                 Halliburton Energy Services, Inc.              Page 83 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                        BP-HZN-MBI00022291
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 36 of 100




                                                            Section 3 - Scope of Work
                                                       Appendix 5 - Description of the WORK
                                                                B. Fluids Services


                        12.2 COMPANY or designated COMPANY REPRESENTATIVE will review CONTRACTOR's
                              preventative maintenance plan and schedule. The review will verify compliance to
                              contractual requirements.

                        12.3 Preventative maintenance program shall include but not be limited to:

                                  •     Regularly scheduled inspection and maintenance procedures.
                                  •     Pre-Job equipment check.
                                  •     Post-Job equipment check.
                                  •     Performance standards.


                 13.0 ADDITIONAL GENERAL INFORMATION RELATIVE TO SPECIFIC SPUS

                        13.1 Gulf of Mexico

                              13.1.1    Drilling Fluids

                                       (a)   CONTRACTOR shall be required to perform the following functions:

                                               (i)     follow COMPANY Salt Exit Strategy.

                                               (ii)    CONTRACTOR shall record product usage/inventory, mud type, mud
                                                       weight, footage drilled, bit 0.0., surface discharges, other discharges
                                                       and maximum fluid discharge rate, on a daily basis.

                                               (iii)   CONTRACTOR shall supply and maintain mercury and cadmium
                                                       certificates of analysis with each shipment of barite to be submitted to
                                                       COMPANY at the end of each well.

                                               (iv)     CONTRACTOR shall supply and maintain synthetic base oil stock
                                                       limitation certificates identifying polynuclear aromatic hydrocarbon
                                                       content, base oil 10 day sediment toxicity and, 275 day biodegradation
                                                       rate for each shipment of synthetic base oil at the rig-site to be submitted
                                                       to COMPANY at the end of each well.

                                               (v)     CONTRACTOR shall maintain calibration certificates for retort, triple
                                                       beam balance, thenrnometer, JP tubes, balance weights and maintain
                                                       purity certificates 1% NIST Crude and IPA at the rig-site to be submitted
                                                       to COMPANY at the end of each well.

                                               (vi) CONTRACTOR shall monitor and record refrigerator temperature daily
                                                    when maintaining samples in refrigerator.

                                               (vii) CONTRACTOR shall monitor and record percent ROC (retention on
                                                     cuttings) every 500 feet maximum 3 times per day, static sheen analysis
                                                     on all discharged fluids and cuttings weekly.

                                               (viii) CONTRACTOR shall supply and maintain GC/MS certification of no
                                                      formation oil contamination prior to drilling to be submitted to COMPANY
                                                      at the end of each well.

                                               (ix)    CONTRACTOR shall monitor formation oil content in SBM either using
                                                       GCMS analysis or RPE test weekly when discharging.




                 Halliburton Energy Services, Inc.                  Page 84 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                             BP-HZN-MBI00022292
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 37 of 100




                                                         Section 3 - Scope of Work
                                                    Appendix 5 - Description of the WORK
                                                             B. Fluids Services


                                            (x)      CONTRACTOR shall monitor contamination of drilling fluids using
                                                     GCMS analysis.    CONTRACTOR may perform analysis at
                                                     CONTRACTOR laboratory or send samples to COMPANY approved
                                                     laboratory .

                                            (xi)     CONTRACTOR shall sample and submit for toxicity analysis (Aquatic
                                                     and Sediment toxicity), samples of drilling fluid to COMPANY approved
                                                     laboratory.

                                            (xii) CONTRACTOR shall monitor and record mud, cuttings, cement (at the
                                                  sea floor) source water, and sand using visual sheen and static sheen
                                                  analysis.

                                            (xiii) CONTRACTOR shall segregate all spent laboratory chemicals into an
                                                   approved DOT waste container and maintain a COMPANY Hazardous
                                                   Waste Generation Log for all spent fluids laboratory chemicals.

                                            (xiv) CONTRACTOR shall submit copies of all monitoring and measurement
                                                  records to COMPANY at the end of each well.

                                            (xv) CONTRACTOR shall supply operating staff that have been adequately
                                                 trained to perform discharge monitoring and waste handling duties as
                                                 required by COMPANY.


                             13.1.2 Completion Fluids

                                    (a)   CONTRACTOR shall perform the following functions:

                                            (i)     Static sheen analysis on each type of fluid discharged, daily when
                                                    discharging.

                                            (ii)    CONTRACTOR shall sample and submit, for oil and grease analysis,
                                                    samples of each type of fluid discharge to COMPANY approved
                                                    laboratory.

                                            (iii)   CONTRACTOR shall perform static sheen or visual sheen analysis on
                                                    diatomaceous earth filter media, daily when discharging.

                                            (iv)     CONTRACTOR shall submit copies of all monitoring and measurement
                                                     records to COMPANY at the end of each well.

                                            (v)     For those fluids intended to discharge, CONTRACTOR shall provide a
                                                    fluid free of priority pollutants.

                                            (vi)    CONTRACTOR shall supply operating staff that have been adequately
                                                    trained to perform discharge monitoring and waste handling duties as
                                                    required by COMPANY.

                                    (a) CONTRACTOR is responsible for:

                                            •       brine weight at their shore base at +/0.1 ppg, -/0.0 ppg.

                                            •       brine clarity of less than 20 NTU and un-dissolved solids content less than
                                                    0.1%.



                 Halliburton Energy Services, Inc.                Page 85 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                         BP-HZN-MBI00022293
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 38 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          B. Fluids Services




                                            •   ensuring boat tanks are satisfactory clean and isolated prior to loading
                                                completion fluids.

                                            •   designing and testing all spacers at 40 degree Fahrenheit and maximum
                                                bottom hole temperatures as required by COMPANY.

                             13.1.3 Waste Management

                                      CONTRACTOR acknowledges that waste management equipment could be
                                      provided by a Third Party, which CONTRACTOR would be expected to supervise
                                      and manage.




                 Halliburton Energy Services, Inc.           Page 86 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                   BP-HZN-MBI00022294
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 39 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement




                                                          c. Well Placement

                 1.0    THE WORK

                        1.1   The WORK shall specifically comprise CONTRACTOR's provision of management,
                              engineering, supervision, labor, plant, equipment, and materials at onshore and offshore
                              locations to support COMPANY's operations.

                        1.2   CONTRACTOR shall provide directional drilling, MWD/LWD and mudlogging services
                              comprising of: engineering, well planning, operations management, and support services
                              together with drilling, surveying, survey management and data acquisition activities
                              necessary for the satisfactory performance of the WORK. Notwithstanding this, COMPANY
                              expectations are that the combined services shall help deliver the most cost effective, top
                              quartile data acquisition and well-bores. The WORK shall comprise the principal following
                              services:

                                     •   Directional Drilling
                                     •   Rotary Steerable Services
                                     •   Specialist Rental Tools
                                     •   Measurement while Drilling (MWD)
                                     •   Logging while Drilling (LWD)
                                     •   Directional Drilling Engineering (Well Planning and Drilling Optimization)
                                     •   Survey Management (IFR, CA Corrections, DB Management)
                                     •   Engineering Support and Services (NDS, Pore-pressure Modeling, Geological
                                         Steering)
                                     •   Mud Logging

                        1.3   COMPANY has a program comprlsmg development, appraisal, and exploration drilling
                              projects. The wells will include vertical, directional, and horizontal/ERD drilling.

                        1.4   The provision, utilization, and management of the WORK shall be the sole responsibility of
                              CONTRACTOR always accepting that CONTRACTOR shall meet the requirements of the
                              Scope of WORK. The WORK shall be provided in accordance with the service specific
                              statement of technical requirements stated in this Detailed Scope of Work.

                        1.5   CONTRACTOR shall liaise with, and ascertain from COMPANY, all forward programming
                              and planning information for COMPANY's drilling operations to enable CONTRACTOR to
                              provide all the resources required to meet its obligations under the CONTRACT.
                              CONTRACTOR shall be solely responsible for ensuring that personnel, equipment, and all
                              other items are provided so that no disruption occurs to the drilling operation.

                        1.6   CONTRACTOR shall provide all of the Technical Support Service related to the WORK
                              which shall include provision of competent Technical Support Engineers and operationally
                              experienced Field Engineers and Operators as required to execute the WORK.

                        1.7   CONTRACTOR shall provide an organization to plan, monitor, and optimize the performance
                              of the WORK in full compliance with the requirements of COMPANY. CONTRACTOR shall
                              ensure optimal utilization of equipment, for example, equipment shall be back loaded at the
                              earliest opportunity if no longer required. CONTRACTOR shall render all assistance to
                              COMPANY in this regard. Nevertheless, equipment shall only be shipped and back loaded
                              with the prior consent of COMPANY. COMPANY may elect to measure the effectiveness
                              and benefits of actions taken as part of a Performance Management System.



                 Halliburton Energy Services, Inc.            Page 87 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                    BP-HZN-MBI00022295
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 40 of 100




                                                        Section 3 - Scope of Work
                                                   Appendix 5 - Description of the WORK
                                                            C. Well Placement



                        1.8     Upon receipt of a request from COMPANY, CONTRACTOR shall provide or procure the
                                requested tool, equipment, spare, or material available for transport by the mutually agreed
                                specified time. \MIere CONTRACTOR cannot supply such tools, equipment, spares, or
                                materials from its own inventory, it shall offer to COMPANY an alternative tool, equipment,
                                spares or materials at contracted rates.

                        1.9     \MIere appropriate, CONTRACTOR is responsible for providing all necessary protection
                                against the weather elements, mechanical protection, handling equipment, and appropriate
                                transportation baskets.

                        1.10 An up to date inventory and utilization report of all equipment is required at all times and shall
                             be available for inspection by COMPANY as and when requested. This inventory shall be
                             maintained on a well by well basis, reported on monthly and shall be submitted to COMPANY
                             to receive payment for services.

                        1 .11   Inspections done by a third party inspection company must be accepted and approved by
                                COMPANY. All inspections shall be in accordance with COMPANY's field inspection
                                procedures. A specific set of inspections for MWD Tools and Mud Motors shall be produced
                                by   CONTRACTOR.              CONTRACTOR         shall provide inspection   criteria and
                                acceptance/rejection criteria to evaluate inspections.

                        1.12 COMPANY reserves the right to assign its own Third Party Inspectors to review daily
                             operations or to witness tool break-down during failure investigations or following reports of
                             running tools out of specification.

                        1.13 The WORK will be conducted in a safe and cost effective manner as described more fully
                             herein.

                        1.14 COMPANY will not specify equipment lists for the performance of the WORK, nor will it
                             prescribe the techniques that shall be used to perform the WORK. It is the intention that
                             techniques used will be jointly developed and agreed by COMPANY and CONTRACTOR.

                        1.15 CONTRACTOR shall seek out expertise from within CONTRACTOR's organization,
                             COMPANY's organization, and from Third Parties to enable CONTRACTOR to maximize
                             drilling performance.

                        1.16 CONTRACTOR shall have in place or set up a program to provide 24 hour technical support,
                             in orderto have immediate response to problems arising in operations.

                        1.17 CONTRACTOR shall provide a process for accessing its local engineering resources and
                             shall analyze the data both at the WORKSITE for real-time decision making and
                             subsequently in the office to achieve a systematic improvement in performance, specifically
                             with respect to drill string dynamics.

                        1.18 CONTRACTOR will be required to co-operate and work closely with other service providers
                             during the project. In particular this may include working with the Drilling Contractor, and
                             providers of Drilling Fluid, Cementing, and Electric Line services.

                        1.19 \MIere applicable, all relevant COMPANY specialists, technologies, and IT facilities shall be
                             made available to CONTRACTOR to facilitate this process. Such assistance shall be
                             provided at the sale discretion of COMPANY but shall not be unreasonably withheld.

                        1.20 CONTRACTOR is required to submit a detailed recommendation on equipment requirements
                             and specifications to execute the WORK for each hole section, justifying said




                 Halliburton Energy Services, Inc.              Page 88 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                         BP-HZN-MBI00022296
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 41 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement


                              recommendation with the exact specifications and quantities of tools required for each of the
                              possible hole sections. That recommendation shall be inclusive of CONTRACTOR's
                              equipment and relevant Third Party equipment required to successfully execute the WORK.

                        1.21 CONTRACTOR shall proactively monitor, evaluate, and promote the use of new technology
                             where appropriate, especially with regard to the application of drill string dynamics and
                             reaming while drilling, real-time automated drilling systems and communications, high tier
                             rotary steerable, and formation evaluation technologies.

                        1.22 Any new developments and/or innovations in equipment or processes which could improve
                             the operations shall be proposed by CONTRACTOR to COMPANY. The application of any
                             such new development or technology shall be the subject of an amendment and must be
                             approved by COMPANY regional or Global Sector Specialist prior to implementation.

                        1.23 CONTRACTOR will only propose alternative equipment and services at the WORKSITE on
                             the understanding that it has previously approached COMPANY (Global Sector Specialist or
                             local Specialist where available) and received written acceptance to a rate for the inclusion of
                             such equipment or services in the CONTRACT and to be provided upon signing of an
                             Amendment to this CONTRACT by the Parties. It is incumbent upon CONTRACTOR to
                             proactively advise COMPANY of new equipment and services for inclusion in the
                             CONTRACT.

                        1.24 COMPANY reserves the right to procure equipment and services from a Third Party if in
                             COMPANY's opinion CONTRACTOR's equipment or service does not meet the
                             specifications required for performing the WORK.

                        1.25 Following well operations, CONTRACTOR shall operate a post-analysis review of well
                             performance so that lessons learned are fed back into the plans for the next section of the
                             well. Refer to Reporting and Record Keeping Clause 12 of Appendix 5 herein.

                        1.26 COMPANY reserves the right to audit CONTRACTOR facilities against their own Quality
                             Management system to ensure compliance. This will include yet not be limited to HSSE,
                             Operations, R&M & Quality (facilities, systems, calibrations (depth in particular) &
                             workshops), HR (Competency), Legal, Finance, Sales and Tendering and Asset
                             Management. The audit will be an open, jointly owned process between CONTRACTOR and
                             COMPANY and all findings I observations will be shared between both organizations.

                        1.27 Operations shall be conducted in accordance with a standard set of joint operating
                             procedures (JORPS) which either:

                                      •   Have been jointly developed by COMPANY and CONTRACTOR, or
                                      •   Shall be jOintly developed by COMPANY and CONTRACTOR.

                              In the case above where CONTRACTOR does not have an approved JORPS in place with
                              COMPANY, CONTRACTOR shall provide the WORK for COMPANY on a probationary
                              status but shall be required to establish and complete JORPS within six (6) months of the
                              EFFECTIVE DATE OF CONTRACT.


                 2.0    PERSONNEL

                        2.1   CONTRACTOR shall provide the following dedicated personnel for each SPU:

                                      •   SERVICES COORDINATOR (DO, MWD, LWD, SURVEYING, Mud Logging).
                                      •   DESC ENGINEER (Directional Drilling Engineering / Well Planning).



                 Halliburton Energy Services, Inc.             Page 89 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                       BP-HZN-MBI00022297
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 42 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement



                               COMPANY and CONTRACTOR may agree to reduce the numbers of the above.

                        2.2    CONTRACTOR shall provide a local SERVICES COORDINATOR who is to be accountable
                               for the performance of all personnel provided by CONTRACTOR. They are expected to
                               provide a single point of contact for all contractual issues, HSSE performance, and for all
                               issues relating to compliance and execution of the WORK. This position can be split into an
                               MWD/LWD, MUD LOGGING, and DO SERVICES COORDINATOR should volume of work
                               dictate.

                        2.3    In support of this role, the SERVICES COORDINATOR shall be responsible for setting up an
                               engineering planning process for COMPANY that is compatible with the system within
                               COMPANY.

                        2.4    CONTRACTOR shall provide all of the Technical Support Service related to the WORK which
                               will include provision of Technical Support Engineers and operationally experienced Field
                               Engineers and Operators as required to execute the WORK. Personnel and support services
                               shall be located in proximity to the operations and at locations agreed with COMPANY.
                               Should CONTRACTOR be unable to fully support services from these locations
                               CONTRACTOR shall identify the exceptions and provide details of alternative support
                               services offered to enable CONTRACTOR to satisfactorily perform the WORK.

                        2.5    In the case of new technology equipment, CONTRACTOR is required to demonstrate
                               adequate training and experience for assigned personnel. Where appropriate, development
                               engineers shall provide support for the WORKSITE engineers.

                        2.6    PERSONNEL UTILIZATION

                              2.6.1   Utilization and number of personnel employed on any part of the WORK shall be at
                                      the discretion of CONTRACTOR but shall be sufficient to perfonm the WORK in an
                                      efficient, effective manner while complying with local HSSE regulations for maximum
                                      working hour limits. Additional personnel may be provided at the WORKSITE as and
                                      when required by CONTRACTOR for operational or other reasons. Any personnel
                                      requirement additional or otherwise shall be agreed in advance with COMPANY and
                                      its Rig-site Representative.

                              2.6.2   The crew change rotation schedule for the offshore personnel shall be agreed by
                                      COMPANY and CONTRACTOR and adhered to, with only COMPANY approved
                                      personnel being included in the rotation schedule.

                              2.6.3   CONTRACTOR shall, if applicable to this CONTRACT, employ local labor subject to
                                      availability and suitability of qualifications and experience. CONTRACTOR shall
                                      comply with all relevant governmental rules, regulations, and instructions with respect
                                      to the employment of local labor. All local employees shall undertake suitable
                                      induction training and work orientation and be familiarized with the HSSE aspects of
                                      their work.

                        2.7    COMPANY APPROVAL

                              2.7.1   The experience of all personnel to be used for the WORK shall be agreed with
                                      COMPANY before assignment to COMPANY operations.          Curriculum Vitae of
                                      proposed lead personnel to be used in COMPANY operations shall be approved by
                                      COMPANY prior to commencement of the job and only the personnel therein
                                      described shall be employed in the performance of the WORK. If CONTRACTOR
                                      wishes to employ personnel not listed therein then CONTRACTOR shall obtain



                 Halliburton Energy Services, Inc.              Page 90 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                       BP-HZN-MBI00022298
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 43 of 100




                                                        Section 3 - Scope of Work
                                                   Appendix 5 - Description of the WORK
                                                            C. Well Placement


                                       COMPANY's prior approval. Applications for any substitution of personnel shall be
                                       made to COMPANY's WORKSITE Representative in advance and shall be
                                       accompanied by detailed curriculum vitae relating to the proposed replacement
                                       personnel.

                               2.7.2   Depending on the nature and complexity of the WORK, CONTRACTOR may be
                                       required to provide, on request, personnel who work as embedded members of
                                       COMPANY wells team. This team is responsible for the planning and successful
                                       delivery of COMPANY drilling basis of design. Such a commitment may be required
                                       some time ahead of the spud date. CONTRACTOR shall not rotate personnel in this
                                       type of office position.

                                        Individuals required may include a Directional J Well Planning Engineer, LWD Desk
                                        Engineer/Coordinator, Drilling Optimization SpeCialist, Log Analyst.

                               2.7.3   CONTRACTOR shall provide further assurance that the WORKSITE personnel, who
                                       spend time planning in the office and attend all the pre-spud briefings, are
                                       continuously available through the drilling phase of the project.

                               2.7.4   To ensure continuity and operational learning, CONTRACTOR personnel assigned to
                                       a rig shall not be replaced without COMPANY agreement.

                        2.8     CONTRACTOR, with approval from COMPANY, shall develop and deploy a program, to
                                maximize savings in personnel at the offshore WORKSITE by multi skilled staff members and
                                thereby reducing the number of personnel required to a minimum.           Such personnel
                                reductions shall not at any time compromise safety or efficiency. COMPANY shall, wherever
                                pOSSible, (but at COMPANY's sole discretion) provide offshore transportation and
                                accommodation for CONTRACTOR's trainee personnel to facilitate ongoing training
                                development at the WORKSITE.

                        2.9     All offshore/onshore operations personnel shall be trained in a recognized Safety
                                Observation Program.      In addition supervisors shall be capable of performing Safety
                                Observation Conversations (SOCs) of CONTRACTOR tools, equipment, and operations. All
                                CONTRACTOR personnel shall participate in COMPANY sponsored offshore/onshore safety
                                initiatives and safety meetings. They are also encouraged to lead safety meetings, job risk
                                assessments, and toolbox talks.

                        2.10 All offshore personnel shall have a "Passport" or similar record assigned to them detailing:

                                        •   Offshore Medical Certificate
                                        •   Offshore Survival Certificate including HUET
                                        •   Technical/operational training
                                        •   Experience level
                                        •   Safety training- SOC, STOP, FOCUS
                                        •   Drilling Contractor's Permit to Work system
                                        •   Risk Assessment training
                                        •   Manual handling training
                                        •   Fire fighting

                        2.11    Prior to starting work on any new rig, irrespective of whether the engineer has worked on
                                other COMPANY installations, CONTRACTOR personnel shall be thoroughly inducted into
                                the ways of working on the rig and also the technical issues associated with the WORK on
                                the rig. It shall be the responsibility of CONTRACTOR to provide this induction. The process
                                should include an induction pack, the Basis of Design for the project I program and thorough




                 Halliburton Energy Services, Inc.              Page 91 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                      BP-HZN-MBI00022299
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 44 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement


                              briefing on the program of work to be carried out. COMPANY reserves the right to test this
                              understanding through a competency assessment.

                        2.12 COMPANY may ask CONTRACTOR's personnel to perform the WORK at the WORKSITE or
                             any other places other than location stated above as instructed by COMPANY in writing
                             These shall include but not be limited to the following:

                                      •   Technical Limit Workshops
                                      •   Crew Engagement Sessions
                                      •   Team Building Events
                                      •   Well Pre-Spud Meetings

                        2.13 The SERVICES COORDINATOR shall have a CONTRACTOR supplied computer, complete
                             with CONTRACTOR software, for all directional planning, drill string design and log
                             interpretation.

                        2.14 CONTRACTOR's WORKSITE based Directional Drilling and MWD/LWD Engineers shall
                             have a CONTRACTOR supplied computer, complete with CONTRACTOR software for drill
                             string equipment inventory management, well-bore survey calculations, ant-collision analysis,
                             BHA analysis and prediction and LWD log data QC and interpretation.

                        2.15 Cross Trained Engineers are individuals who have current competencies in both LWD/MWD
                             and Directional Drilling disciplines, enabling the rationalization of personnel at the
                             WORKSITE into two cross trained engineers.

                        2.16 ROLES AND RESPONSIBILITIES

                             2.16.1   Specific Roles and Responsibilities for SERVICES COORDINATOR include:

                                      (a) Producing a Basis of Design (BOD) document for the project which covers all
                                          background engineering required to put in place the generic field program. It
                                          shall cover previous area experience, relevant options, logistics, rig constraints,
                                          commercial balance, interface considerations and environmental controls with
                                          complementary or conflicting services or activities, development of
                                          recommended practices and procedures including a risk weighted decision tree
                                          and detailed optional procedures. The BOD document shall be required to be
                                          approved by COMPANY Representative. Individual well programs shall be
                                          written with reference to the BOD Document, the DWOP (Drilling & Well
                                          Operations Policy) manual and Engineering and Group Technical Practices;

                                      (b) Producing for all wells a cost estimate for the WORK for inclusion in
                                          COMPANY's Approval for Expenditure (AFE). Back up engineering shall be
                                          available to validate the proposal. All such estimates shall include all associated
                                          costs for the project.

                                      (c) Being an active part of COMPANY's project execution team. This shall involve
                                          attending planning meetings. Cooperative working relationships are expected
                                          and shall be maintained with other contractors and service providers.

                                      (d) Holding a peer review of the planning and the final Basis of Design or program
                                          as appropriate with CONTRACTOR's personnel of suitable technical standing.

                                      (e) Producing combined service End of Well Reports with recommendations for
                                          continuous performance improvement, problem description/analysis and cost
                                          analysis.



                 Halliburton Energy Services, Inc.             Page 92 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                       B P-HZN-MB 100022300
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 45 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement



                                     (f)   Monitoring and controlling projected and actual equipment utilization on the
                                           project against the projected costs and requirements. The Services Coordinator
                                           shall advise COMPANY Representative in advance of any likely breach of the
                                           forecast cost.

                                     (g) Implementing a system for tracking variations from expected WORK levels and
                                         producing recommendations for future avoidance.

                                     (h) Undertaking rig visits on an ad-hoc basis but as a minimum once per well for
                                         single well programs and a minimum of two times per year for multi well projects.
                                         The purpose of the visit shall be ensuring that CONTRACTOR's personnel are
                                         working in a safe and efficient manner. The findings of these inspections shall
                                         be shared with COMPANY REPRESENTATIVE.

                                     (i)   Coordination of all CONTRACTOR's personnel movement to and from the rig
                                           site. Keeping records of personnel hours worked per week on COMPANY's
                                           business. Records of this shall be provided once per month to COMPANY
                                           Representative.

                                     (j)   Adherence to COMPANY's specific directional drilling & well bore survey
                                           procedures.

                                     (k) Drilling performance optimization recommendations.

                                     (I)   Providing updates to formation evaluation logs as required.

                            2.16.2 General responsibilities of CONTRACTOR's WORKSITE Personnel (DDs and
                                   MWD/LWD engineers) shall include. but not necessarily be limited to:

                                     (a) Performing visual checks of all equipment, tubular goods, and connections prior
                                         to running. When a CONTRACTOR Representative is on location this check
                                         shall be performed in conjunction with the nominated COMPANY supervisor.

                                     (b) Ensuring that all power units and general make-up equipment are functioning
                                         correctly, before the tubular running operation begins.

                                     (c) Advising on the positioning of make-up and break-out rig tong system in
                                         conjunction with driller/rig crew.

                                     (d) Advising on the setting of elevators and slips on equipment in conjunction with
                                         the drillerlrig crew.

                                     (e) Observing rig crews and drillers operating equipment to ensure safe and efficient
                                         deployment of equipment.

                                     (f) Applying torque to limits set by COMPANY with respect to values such as speed.

                                     (g) Determining acceptability of make up and break out of connections.

                                     (h) Advising on any equipment to be laid out for repairs or damage.

                                     (i)   Conducting ad hoc audits in conjunction with COMPANY supervisors.




                 Halliburton Energy Services, Inc.             Page 93 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                    B P-HZN-MB 10002230 1
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 46 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement


                                     (j)   Providing a written report on each job and data set to COMPANY's requirements;
                                           highlighting any difficulties, problem areas, points of concern or deviations from
                                           procedure.

                                     (k) Attending pre-job safety or operational learning sessions, or other meetings with
                                         COMPANY's other contractors and COMPANY Representative at the location.

                                     (I)   Being involved in the safety management systems, including incident and
                                           accident reporting, of COMPANY's Drilling Contractor and COMPANY as they
                                           affect the WORKSITE.

                                     (m) Taking due care and attention to the safety of others and themselves when on
                                         location and comply with all health, safety, security, and environmental
                                         requirements.

                                     (n) Monitoring and recording real time and memory LWD and directional data and
                                         prepare data files and print outs while drilling to COMPANY's requirements.

                                     (0) Ensuring full compliance with any agreed COMPANY Communications Protocol -
                                         informing the well site geologist and key drilling personnel in a timely manner of
                                         any operation or condition that may have a bearing on operations (such as
                                         equipment failures, safety issues, unexpected log responses, hydrocarbon
                                         indications etc.).

                                     (p) Producing reports detailing daily and cumulative cost, operational performance,
                                         and equipment utilization.

                                     (q) Making recommendations as to the optimization of CONTRACTOR equipment
                                         and monitor its performance unless COMPANY puts in place a Third Party
                                         whose specific job it is to do this. Under these circumstances CONTRACTOR
                                         shall work in co-operation with this Third Party.

                                     (r) Providing guidance to the Drilling Contractor, COMPANY, or other Third Party as
                                         to the hazardous nature of CONTRACTOR's equipment, service, or activity
                                         specific hazards that are to be used.

                            2.16.3 CONTRACTOR may be required to provide a dedicated DESC engineer (Drilling
                                   Engineering Servicing Client) focusing on Directional Drilling Engineering, Well
                                   Planning and Survey Management activities to support the WORK. The DESC will be
                                   based in either COMPANY's or CONTRACTOR's office at COMPANY discretion.

                            2.16.4 Specific Roles and Responsibilities relating to Directional Drilling Engineering, Well
                                   Planning and Survey Management (DESC) shall include, but not necessarily be
                                   limited to:

                                     (a) Computation of well-bore trajectory to meet criteria requested by COMPANY
                                         geology, reservoir engineering and drilling departments including target sizing,
                                         selection and boundary conditions.

                                     (b) Anti-Collision scanning of trajectory design against adjacent wells on platform,
                                         geological structure, and field. This includes all development, exploration, and
                                         appraisal wells that have definitive surveys. Although CONTRACTOR has risk
                                         models that are internationally accepted, all collision risk shall be generating
                                         using COMPANY supplied models and sanctioned software systems, and
                                         comply with all Strategic Performance Units specified regulations. Well-bore



                 Halliburton Energy Services, Inc.             Page 94 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                       B P-HZN-MB 100022302
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 47 of 100




                                                        Section 3 - Scope of Work
                                                   Appendix 5 - Description of the WORK
                                                            C. Well Placement


                                            anti-collision & conductor slot utilization will fully comply with the Group Practice
                                            for Directional Drilling and Surveying (GP 10-05) using COMPASS or COMPANY
                                            approved alternative system to perform any pertinent engineering analysis.

                                      (c) Torque and Drag calculations to be supplied as requested by COMPANY and
                                          mandatory for all directional wells drilled.

                                      (d) Hydraulic modeling of all BHAs (Bottom Hole Assemblies) to ensure adequate
                                          hole cleaning, bit hydraulics, and total pressure drop requirements are met.

                                      (e) Magnetic Modeling of all BHAs shall be done to ensure adequate magnetic
                                            environment for accurate well-bore surveying.

                                      (f)   Vibration analysis is done to facilitate the smooth operation of BHAs downhole in
                                            order to maximize rates of penetration and avoid down-hole tool failures.

                                      (g) Preparation of drilling and structure maps for posting in COMPANY offices and
                                          WORKSITE such as spider plots, traveling cylinder plots, plan and vertical
                                          section views.

                                      (h) BHA recommendations.

                                      (i)   Tracking, reporting, and benchmarking of Directional Drilling Performance
                                            Measures, as required in Clause 12 of this document.

                                      0) Report directional drilling & survey data on COMPANY data-store (Currently
                                            EDMfCOMPASS).

                                      (k) Ensuring that for one-off wells, the same basic considerations are taken into
                                          account and documented in all COMPANY's operations.

                                      (I)   The use of risk based engineering in preparing the Basis of Designs, individual
                                            well program and all associated engineering. The results of such risk based
                                            engineering shall be documented.

                                      (m) Being part of COMPANY's project execution team. This shall involve attending
                                          planning meetings. Cooperative working relationships are expected and shall be
                                          maintained with other contractors and service providers e.g., No Drilling
                                          Surprises and Technical Limits meetings.

                                      (n) Making recommendations for continuous performance improvement.

                            2.16.5 The specified role and responsibilities of the SERVICES COORDINATOR and DESC
                                   may be reassigned by an SPU, particularly as the SERVICES COORDINATOR
                                   position may be split or the DESC may take on additional coordination responsibilities.
                                   It is an expectation of COMPANY that independent of assignment the activities
                                   detailed above shall be completed, yet can be managed to suit the various operations.

                        2.17 COMPETENCY

                            2.17.1   CONTRACTOR personnel and its SUBCONTRACTOR's personnel shall be properly
                                     qualified, skilled, experienced, and competent in their respective disciplines to a
                                     recognized industry standard, where applicable.




                 Halliburton Energy Services, Inc.               Page 95 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                           B P-HZN-MB 100022303
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 48 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement


                            2.17.2 CONTRACTOR shall have in place a formal system of Competency Assurance for its
                                   personnel and for its SUBCONTRACTOR's personnel the scope of which will, as a
                                   minimum, cover:

                                     •   All trade/discipline skills employed in the performance of the WORK;
                                     •   The details of its safe working practices which shall include communications,
                                         permit-to-work systems, risk assessment, and risk to the environment;
                                     •   Include a means of confirmation that the system is effective and verification that
                                         all personnel and SUBCONTRACTOR's personnel are covered and have been
                                         assessed for competence.
                                     •   Consider core and specialized technical competencies, behavioral and teams
                                         skills (non-technical skills),
                                     •   Be a system able to assess current as well as new personnel particularly with
                                         respect to declining standards.

                            2.17.3 CONTRACTOR's formal process for the selection of its SUBCONTRACTORs shall
                                   include assessment of SUBCONTRACTOR's own Competence Assurance system.

                            2.17.4 CONTRACTOR shall submit names and Competency Assessments which will enable
                                   COMPANY to determine the suitability of the nominated personnel. Only personnel
                                   approved by COMPANY shall be employed by CONTRACTOR for the performance of
                                   the WORK. All personnel shall be competent and be fully trained to perform their
                                   assigned tasks. A training matrix shall be provided by CONTRACTOR altogether with
                                   the competency assessments.

                            2.17.5 COMPANY has the right to object to and require CONTRACTOR to remove from the
                                   performance of the WORK any personnel and/or SUBCONTRACTOR's personnel
                                   who, in the opinion of COMPANY, misconduct themselves or are incompetent or
                                   negligent in the proper performance of their duties and such personnel shall not be
                                   again employed upon the WORK without COMPANY's approval. At the instruction of
                                   COMPANY in writing CONTRACTOR shall remove from duties hereunder or lawfully
                                   secure such removal of any of CONTRACTOR's personnel or SUBCONTRACTOR's
                                   personnel who is unacceptable to COMPANY. COMPANY shall state the reason for
                                   such removal in the written instruction.

                            2.17.6 No CONTRACTOR personnel will be removed from the CONTRACT for purposes of
                                   internal transfer without agreement of COMPANY Representative. Prior to any move
                                   a management of change document shall be submitted to COMPANY Representative
                                   detailing the signed handover of all responsibilities. Three months prior to a change
                                   of the SERVICES COORDINATOR, CONTRACTOR will forward COMPANY the
                                   Curriculum Vitae of at least three candidates for COMPANY to choose from. Should
                                   none of the proposed candidates be suitable for COMPANY, CONTRACTOR will
                                   propose more Curriculum Vitae. Once one of the proposed candidates has been
                                   approved by COMPANY, the candidate will spend a month overlap with the current
                                   SERVICES COORDINATOR or the onshore well site personnel.

                            2.17.7 The set of seven competencies in which CONTRACTOR must show that it is
                                   proficient in are:

                                     (a) Documentation of directional drilling engineering practices including data transfer
                                         from COMPANY, planning procedures, drawings and collision tolerance setting
                                         and transfer of final well data back to COMPANY.

                                     (b) Staff trained and assessed as competent to perform the WORK, including
                                         ongoing training program and succession plan in place.



                 Halliburton Energy Services, Inc.            Page 96 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                      B P-HZN-MB 100022304
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 49 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement



                                      (c) Survey management system in place, including: survey program design,
                                          instrument selection procedures, process for validating new tools, process in
                                          place for screening results and guaranteeing integrity of data.

                                      (d) Implementation of a management and control system to ensure that the
                                          operations at the well site take place in accordance with the terms of the well
                                          design and that there is a mechanism in place to handle deviations from plan.

                                      (e) Development of drilling engineering procedures to ensure that the operations
                                          optimization process is formalized and applied routinely including bitlBHA
                                          performance analysis, overall time performance, and management of losses
                                          such as drill string failure and stuck pipe.

                                      (f)   Accreditation of the whole engineering management system to a recognized
                                            Quality Standard (such as ISO 9001).

                                      (g) General management and supervision of the service including additional location
                                          support, logistical organization and rig site supervision.

                              2.17.8 It is anticipated that COMPANY and CONTRACTOR will jointly agree on the
                                     attainment of these competencies at CONTRACT commencement. In addition to
                                     having the documentation and audit mechanisms in place, CONTRACTOR shall be
                                     required to demonstrate its relevant understanding of COMPANY's current policies,
                                     working standards and practices, and their implementation to the above stated
                                     competencies.

                              2.17.9 Should CONTRACTOR fail to achieve the required competencies within the agreed
                                     timescale, COMPANY shall have the right to terminate the CONTRACT (with cause)
                                     at its sole discretion.

                              2.17.10 CONTRACTOR shall comply with all other Regulatory or Governmental regulations as
                                      specified in each SPU.

                              2.17.11 Minimum Competencies are detailed in Technical and Functional Specifications
                                      Appendix 6


                 3.0    SERVICES and SUPPORT - Drilling Engineering, Optimization, and Well Planning

                        3.1   CONTRACTOR shall provide engineering support required to directionally plan wells from
                              conception through execution and evaluation. The functions may include but will not be
                              limited to:

                                      •     Generic Engineering Support
                                      •     Preparation of Basis of Design documents.
                                      •     Establishment of well shut-down requirements in accordance with COMPANY
                                            Directional Drilling and Surveying Group Practice (GP 10-05).
                                      •     BHA design and optimization studies.
                                      •     Drill string vibration mitigation and management studies.
                                      •     Creation and maintenance of Joint Operations Procedures (JORPS) Manual.
                                      •     Input to Technical Limit Programs.
                                      •     Conceptual well planning and trajectory design studies.




                 Halliburton Energy Services, Inc.            Page 97 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                    B P-HZN-MB 100022305
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 50 of 100




                                                        Section 3 - Scope of Work
                                                   Appendix 5 - Description of the WORK
                                                            C. Well Placement


                                        •   Completion of 'end of well reports' with details of 'lessons learnt' and
                                            recommendations for continuous performance improvement.
                                        •   Tracking, reporting, and benchmarking of Directional Drilling Performance
                                            Measures.
                                        •   Cost management and inventory management.
                                        •   Service cost estimating.

                        3.2    Well Specific as follows:

                              3.2.1    Generation of detailed well designs and trajectories to meet criteria requested by
                                       COMPANY geology, reservoir engineering, and drilling departments.

                              3.2.2    Anti-Collision scanning of trajectory design against adjacent wells on platform,
                                       geological structure, and field. This includes all development, exploration, and
                                       appraisal wells that have definitive surveys. Wells known to be in the area but without
                                       a definitive survey will have a COMPANY/CONTRACTOR agreed specific error model
                                       attached to reduce collision risks. Although CONTRACTOR has risk models that are
                                       internationally accepted, all collision risk shall be generated using COMPANY
                                       supplied models and applications, presently EDM/Compass.

                              3.2.3    Develop well specific well-bore survey procedures (by parts).

                              3.2.4    Develop contingency sidetrack plans.

                              3.2.5    Establish MWD/LWD data acquisition plans.

                              3.2.6    Production of all working drawings for use at the WORKSITE and onshore office
                                       locations.

                              3.2.7    Generation of well specific operating procedures.

                              3.2.8    Maintenance of directional drilling and survey data on COMPANY database (in real-
                                       time where requested).

                              3.2.9    Provide collision avoidance assurance in real-time at the well site.    (See also 4.0
                                       SERVICES and SUPPORT - Survey Management).

                              3.2.10 Torque and Drag calculations to be supplied as requested by COMPANY and
                                     mandatory for all directional wells drilled.

                              3.2.11   HydrauliC modeling of all BHAs to ensure adequate hole cleaning, bit hydraulics, and
                                       total pressure drop requirements are met.

                              3.2.12 Comprehensive vibration analysis to be conducted on all BHAs to facilitate their
                                     smooth operation down-hole in order to maximize rates of penetration and avoid
                                     down-hole tool failures.

                              3.2.13 Provide updates to formation evaluation logs as required.

                              3.2.14 Implementation of procedures and practices to minimize drill string failures and/or
                                     optimize ROP.

                              3.2.15 Preparation of drilling and structure maps for posting in COMPANY offices and rig site
                                     using COMPANY approved applications, presently EDM/Compass.




                 Halliburton Energy Services, Inc.               Page 98 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                        B P-HZN-MB 100022306
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 51 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement


                        3.3    CONTRACTOR shall be responsible for securing all hardware and software to enable
                               CONTRACTOR to access COMPANY's designated planning and database system. In the
                               event that COMPANY requires CONTRACTOR to utilize software licensed to COMPANY and
                               COMPANY is required to safeguard such software under the terms of its license, the
                               following provisions shall apply:

                              3.3.1   On request of CONTRACTOR, COMPANY shall provide CONTRACTOR with copies
                                      of such licensed software and any associated bitlocks for use solely in conjunction
                                      with the WORK;

                              3.3.2   CONTRACTOR shall notify COMPANY of the location of such software copies and
                                      bitlocks. CONTRACTOR shall notify COMPANY promptly of any changes to the
                                      location of such software copies and bitlocks.     CONTRACTOR shall take all
                                      reasonable measures to ensure that copies of such software and bitlocks are kept in
                                      secure locations and protected against theft;

                              3.3.3   CONTRACTOR warrants that it shall not copy such software except to the extent that
                                      this is required in performance of the WORK;

                              3.3.4   CONTRACTOR warrants that it shall not disassemble or reverse engineer such
                                      software, and

                              3.3.5   CONTRACTOR shall retum such software and bitlocks on COMPANY's request, or
                                      on completion or termination of the CONTRACT, whichever is the sooner, and confirm
                                      such return to COMPANY in writing.

                               Such licensed software shall include but not be limited to software licensed by Landmark,
                               including Compass and Wellplan.

                        3.4    The minimum expectations for the engineering performance:

                              3.4.1   Compass software and algorithms used in planning, anti-collision scanning and
                                      survey calculations. COMPANY maintains a Compass database that is deSignated as
                                      the Master Database for its operations. Separate working databases may be
                                      operated by CONTRACTOR at remote locations and offices outside COMPANY
                                      firewall, but CONTRACTOR is responsible for preparing their work to be transferred to
                                      the Master Database at the end of planning and operation phases.

                              3.4.2   Survey planning: For those sections of a well where the consequences of a collision
                                      present a major risk (as determined by COMPANY and specified in COMPANY's
                                      Surveying Handbook) the survey program shall be planned to provide sufficient data
                                      redundancy to permit independent validation of the performance of each constituent
                                      survey.

                              3.4.3   A geometrical positioning tolerance around each target location should be defined
                                      based on geological or engineering constraints. A reduced Driller's Target should be
                                      calculated in a way that makes allowance for well position uncertainty.

                              3.4.4   An anti-collision scan against COMPANY's Master Database shall be performed on
                                      the planned well trajectory. CONTRACTOR's collocated engineers will perform such
                                      scans using Master Database.           For engineering services not collocated,
                                      CONTRACTOR will provide data files and other support for COMPANY engineers to
                                      perform the scan within the Master Database.




                 Halliburton Energy Services, Inc.             Page 99 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                     B P-HZN-MB 100022307
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 52 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement


                              3.4.5   After each survey is taken, the as-drilled position and trend of the well shall be
                                      determined in relation to the pre-determined tolerances. Drilling tolerances should be
                                      represented on an anti-collision diagram, ideally a traveling cylinder plot annotated
                                      with tolerance lines.

                              3.4.6   The value of magnetic declination shall be determined either from the latest version of
                                      the British Geological Survey Global Geomagnetic Model (BGGM) or direct
                                      measurement of the local field, with or without a time-varying correction (IFR).

                        3.5    CONTRACTOR shall obtain COMPANY approval for all proposed methods, tools, and/or
                               equipment prior to mobilization or implementation.

                        3.6   CONTRACTOR shall have in place and demonstrate the necessary quality assurance
                              systems to ensure that all engineering work is fully traceable and be able to demonstrate that
                              the assumptions, objectives, and procedures made in the planning process are not violated
                              during the drilling operations at the WORKSITE.

                        3.7    CONTRACTOR will provide signed assurance of all approved designs, drawings, programs,
                               and procedures and will retain record of all approved well designs and associated
                               calculations, and be prepared to surrender such documentation and electronic datasets at
                               CONTRACT end.

                        3.8    CONTRACTOR shall produce all work.ing drawings for execution of the WORK at the
                               WORKSITE and COMPANY's office. These plots shall include but not be limited to the
                               following:

                                       •   Well Trajectory Plots (VS, Plan and Spider)
                                       •   North Orientated Anti-Collision Traveling Cylinder Plots, where applicable
                                       •   BHA Diagrams and associated Torque and Drag and Hydraulics trend plots
                                       •   Dimensional Drawings for CONTRACTOR's equipment

                        3.9   CONTRACTOR shall maintain up-to-date plans for the overall slot-target allocation master
                              plan on COMPANY's directional drilling support system 'DIMS/COMPASS' or other system to
                              be determined by COMPANY in accordance with the overall field development plan and keep
                              the directional drilling basis of design document up to date as experience in the field grows
                              and as the generic well design is developed.

                        3.10 CONTRACTOR will use all COMPANY and CONTRACTOR applicable procedures and
                             instructions and must ensure its full compliance with the following procedures:

                                       •   COMPANY Directional Survey Handbook (Ref: BPA - D - 004)
                                       •   COMPANY Drilling and Well Operations Procedure
                                       •   COMPANY Directional Drilling and Surveying GP 10-05
                                       •   COMPANY Offshore Site Investigation Guidelines

                               Copies ofthese documents are available on request.

                               In addition, survey programs shall be designed according to the principles in:

                                       •   COMPANY's Generic Directional Drilling Basis of Design
                                       •   COMPANY's Generic Well Program




                 Halliburton Energy Services, Inc.             Page 100 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                       B P-HZN-MB 100022308
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 53 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement


                        3.11 All critical processes in directional planning, directional drilling, and survey management will
                             be performed according to a System for Technical Integrity, maintained by CONTRACTOR,
                             and agreed with COMPANY.

                        3.12 CONTRACTOR shall provide a fast, effective and efficient problem I failure investigation
                             service that provides rapid feedback to COMPANY on the likely cause of operational
                             problem(s)' This service will include a well documented root cause analysis with service or
                             equipment failure mode identified, together with a means of correction and further work
                             required to effect a total solution, or further equipment design life and performance studies to
                             be undertaken to ensure a satisfactory solution.

                        3.13 CONTRACTOR shall undertake to:

                             3.13.1   Investigate all CONTRACTOR related operational incidents/failures (e.g., personnel,
                                      tool, BHA, etc.) and report to COMPANY Well Operations any findings and
                                      recommendations.

                             3.13.2 Keep a record on a daily basis of the critical operating and drilling parameters during
                                    WORKSITE operations (loads, make-up torque, weight, time in hole, mud type, etc.).

                             3.13.3 Maintain operations histories, activity reports, service and history records, handover
                                    notes, and report on a well by well and monthly basis to COMPANY Representative all
                                    findings. In addition CONTRACTOR will advise COMPANY on personnel, service and
                                    equipment operation, and of inspection results or requirements, plus failure frequency
                                    and acceptance/rejection criteria.

                        3.14 CONTRACTOR shall respond in a timely manner to COMPANY on queries of a general
                             nature relating to CONTRACTOR's services and products.

                        3.15 CONTRACTOR will provide to COMPANY's office and rig site the following:

                             3.15.1 All pertinent plans and recommendations.

                             3.15.2 Maintenance and Inspection procedures manual.

                             3.15.3 Operating manuals

                             3.15.4 Dimensional drawings (laminated sheets).

                             3.15.5 Inventory list of equipment available.

                             3.15.6 All equipment and tools sent to the rig sites shall be sent with the inspection report to
                                    ensure the equipment is in perfect condition to be used.

                             3.15.7 All equipment shipping manifests.

                        3.16 As a minimum, CONTRACTOR shall use a Chartered/Registered Engineer or person of
                             equivalent professional status to set assurance standards, monitor engineering performance
                             and demonstrate how technical authorities are defined and delegated. This may be a
                             corporate or global role within CONTRACTOR organization.

                        3.17 CONTRACTOR shall define the methods, equipment, and tools to be used to drill the wells in
                             order to optimize performance. CONTRACTOR shall operate a formal process of BHA
                             design and optimization demonstrating a structured route for continuous performance
                             improvement.



                 Halliburton Energy Services, Inc.             Page 101 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                       B P-HZN-MB 100022309
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 54 of 100




                                                        Section 3 - Scope of Work
                                                   Appendix 5 - Description of the WORK
                                                            C. Well Placement



                        3.18 CONTRACTOR shall possess a suitable BHA analysis program, which has inputs for the dip
                             and azimuth of the formation, along with a formation characteristic index in support of
                             operations. CONTRACTOR shall be required to maintain validation of these systems in
                             order to demonstrate continuous improvement.

                        3.19 CONTRACTOR shall interact with COMPANY specialists to access COMPANY bit selection
                             and dynamics expertise to maximize drilling performance and minimize dynamics-induced
                             losses. CONTRACTOR shall ensure its expertise is available to assist COMPANY when
                             required.

                        3.20 CONTRACTOR will continually work towards improving the design and construction of
                             downhole tools to be more resilient to Drilling Dynamics and work closely with COMPANY to
                             improve its understanding for standardizing tool specifications across the service sector.

                        3.21    The performance criteria shall be monitored whether CONTRACTOR has WORKSITE
                                representation or is providing engineering support from elsewhere. CONTRACTOR shall
                                provide a plan before the well is spudded to monitor the achievement of these objectives.

                        3.22 CONTRACTOR shall provide a process for accessing its regional based engineering
                             resources and shall analyze the data both at the WORKSITE for real-time decision making
                             and subsequently in the office to achieve a systematic improvement in performance
                             specifically with respect to the dynamics-related and drill bit optimization.

                 4.0    SERVICES and SUPPORT - Survey Management

                        4.1     CONTRACTOR shall design survey programs, manage survey operations and monitor
                                progress using COMPANY's 'EDM/COMPASS' system or other system to be determined by
                                COMPANY. In addition, CONTRACTOR shall manage surveying operations with equipment
                                agreed by COMPANY in strict accordance with COMPANY Directional Survey Handbook
                                (Ref: BPA - D - 004), The Directional Drilling and Surveying GP 10-05 and COMPANY
                                approved CONTRACTOR "Joint Operating and Reporting Procedures" (JORPs), where
                                agreed between COMPANY and CONTRACTOR.

                        4.2     CONTRACTOR shall provide all engineering support required to design survey programs
                                and manage the acquisition and handling of survey data, including:

                               4.2.1   Engineering design of survey programs and selection of survey tools.

                               4.2.2   Coordination of and liaison with survey providers.

                               4.2.3   Liaison with COMPANY drilling team through provision of a point-of-contact
                                       accountable for the survey management service.

                               4.2.4   Survey data integrity analysis and reconciliation of inconsistencies, monitoring the
                                       execution of the survey program, recommending quality requirements where changes
                                       to the program are required to be implemented.

                               4.2.5   Application of environmental and/or other corrections to the measured data to ensure
                                       adherence to specifications, when necessary.           CONTRACTOR shall provide
                                       information regarding calibration standards, routines, and tolerances, charts and/or
                                       algorithms for the application of corrections to raw data to COMPANY when
                                       requested.




                 Halliburton Energy Services, Inc.              Page 102 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                      BP-HZN-MBI00022310
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 55 of 100




                                                         Section 3 - Scope of Work
                                                    Appendix 5 - Description of the WORK
                                                             C. Well Placement


                              4.2.6    Maintenance of COMPANY drilling database, "EDM/COMPASS' or other system to be
                                       determined by COMPANY, as the definitive survey database for the drilling operation.

                              4.2.7    Carry out survey data validation checks and investigate discrepancies in and I or
                                       reduced quality of survey data including annual auditing.

                              4.2.8    Preparation and distribution of definitive surveys.

                              4.2.9    Creation and maintenance of a Well Survey File, containing a record of all survey data
                                       acquired in the well, and all information pertaining to its accuracy, consistency, and
                                       reliability.

                              4.2.10 Maintaining awareness of latest developments in survey technology and methodology
                                     and make appropriate recommendations which might benefit COMPANY.

                              4.2.11   Provide an interface between COMPANY and CONTRACTOR's technical
                                       departments to further the improvements of directional and I or drilling services
                                       provided to COMPANY.

                              4.2.12 Advise COMPANY personnel on survey operations and procedures as and when
                                     required, making recommendations to improve service quality and meet the individual
                                     objectives of the survey program.

                        4.3    CONTRACTOR shall be responsible for maintaining the integrity of COMPANY data while in
                               its care. Particularly CONTRACTOR will use COMPANY's "EDM/COMPASS' or other
                               system to be determined by COMPANY.

                        4.4    CONTRACTOR shall execute the program and analyze performance as required to deliver a
                               definitive survey meeting COMPANY accuracy specifications. CONTRACTOR shall take full
                               responsibility and accountability for analyzing data, reconciling inconsistencies, and
                               accommodating the consequences offailed runs.

                        4.5    CONTRACTOR agrees that the surveying tools to be used may be procured through a
                               competitor of CONTRACTOR.

                        4.6    The Magnetic reference model will by default be the latest available British Geological Survey
                               (BGS) BGGM model unless an improved magnetic reference model is available and
                               approved for use by COMPANY.

                        4.7    CONTRACTOR shall provide competent personnel to provide IFR survey services if
                               requested by COMPANY. Application of IFR data will be real-time, daily, or other time
                               interval as agreed between CONTRACTOR and COMPANY. BGS IFR model data, static or
                               time dependant, is COMPANY standard. BGS IFR source data shall be periodically reviewed
                               for quality. CONTRACTOR shall ensure IFR source data has supporting quality assessment
                               upon request. CONTRACTOR shall ensure IFR source data and application of IFR data is in
                               agreement with COMPANY IPM model.

                        4.8    CONTRACTOR shall manage directional drilling and well bore surveying operations by
                               providing adequate infonmation to COMPANY. CONTRACTOR shall ensure the efficient
                               drilling of the wells in accordance with the specified anti-collision tolerances and the
                               performance criteria such that the definitive survey shows that the well meets COMPANY
                               objectives, which are defined in terms of the following general performance criteria:

                                       •    Well bore surveys which meet required accuracy and validation specification
                                       •    Definitive well bore survey passing through drilling target



                 Halliburton Energy Services, Inc.               Page 103 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                        BP-HZN-MBI00022311
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 56 of 100




                                                        Section 3 - Scope of Work
                                                   Appendix 5 - Description of the WORK
                                                            C. Well Placement


                                       •    COMPANY anti-collision tolerances not violated
                                       •    COMPANY dogleg limitations not exceeded
                                       •    COMPANY tortuosity limitations not exceeded
                                       •    COMPANY angular departure from plan not exceeded
                                       •    No equipment failures

                        4.9    COMPANY policy requires that only qualified survey tools can be run, that is, tools whose
                               performance and reliability have been demonstrated to COMPANY through the process of
                               validation. This process is described in COMPANY's Directional Survey Handbook (BPA-D-
                               004), available on request.

                        4.10 Surveying Standards and Competencies

                               CONTRACTOR will have the following standards and competencies implemented by the
                               EFFECTIVE DATE OF CONTRACT to ensure that the WORK is performed to COMPANY's
                               requirements and satisfaction.

                              4.10.1   Documentation of surveying engineering practices including, transfer of intermediate
                                       section and end of well data to COMPANY (where requested), ongoing engineering
                                       research, accuracy and reliability of current monitoring systems and adherence to
                                       standard engineering practices for well site services to ensure that the operations
                                       optimization process is formalized and then applied routinely (the latter should be
                                       available in the form of a manual for COMPANY to review if required).

                              4.10.2 Staff trained and assessed as competent in the WORK, including an ongoing training
                                     program and succession plan in place. This is to include the personnel in the office
                                     and on the rig site as their ability to interpret and act upon the data from the well is
                                     particularly important.

                              4.10.3 Survey Management System in place, including survey program design, instrument
                                     selection procedures, process for validating new measurements, process in place for
                                     screening results and guaranteeing integrity of data. As the survey data is important
                                     to a number of COMPANY departments, the speed with which it is processed and
                                     issued is a consideration.

                              4.10.4 Implementation of a management and control system to ensure that there is a
                                     mechanism in place to handle and document new requirements of service. This could
                                     be due to a new measurement or alterations in the accuracy of monitoring.

                              4.10.5 Implementation of survey engineering procedures to a sufficiently high level of
                                     competency to ensure the achievement of a basic performance as defined in the
                                     performance criteria.

                              4.10.6 Accreditation of the survey services to a recognized Quality Standard, e.g., IS09001.

                              4.10.7 General management and supervision of the whole service including office support,
                                     logistical organization and well site supervision. It is anticipated that CONTRACTOR
                                     will manage all equipment provided for their operations in accordance with a
                                     CONTRACTOR owned standard minimum technical specification. This specification
                                     may initially be based upon current COMPANY specifications.

                              4.10.8 It is anticipated that COMPANY and CONTRACTOR will jointly agree on the
                                     attainment of these competencies. In addition to CONTRACTOR having the
                                     documentation and audit mechanisms in place, COMPANY will be looking for




                 Halliburton Energy Services, Inc.             Page 104 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                       BP-HZN-MBI00022312
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 57 of 100




                                                         Section 3 - Scope of Work
                                                    Appendix 5 - Description of the WORK
                                                             C. Well Placement


                                       CONTRACTOR to demonstrate their understanding of COMPANY's policies and
                                       working practices.

                        4.11    Regardless of whether COMPANY has in-house or external engineering, there are some
                                minimum expectations for the engineering performance as detailed in Clause 3.3.


                 5.0    EQUIPMENT and SERVICES

                        5.1     CONTRACTOR shall provide:

                               5.1.1   All equipment at the WORKSITE necessary to perform the specified WORK safely,
                                       efficiently, in a timely manner. COMPANY shall agree with CONTRACTOR the actual
                                       equipment required for each particular program prior to mobilization of equipment or
                                       personnel. CONTRACTOR shall be responsible for the protection and supervision of
                                       the equipment used;

                               5.1.2   Full technical information, all materials specifications, and support for its products,
                                       service, tools, and specialized equipment deemed useful to the operations that
                                       CONTRACTOR might wish to propose to be used under the CONTRACT, prior to the
                                       commencement of the WORK. CONTRACTOR shall be responsible for the provision
                                       of all specialist systems to perform the WORK, and

                               5.1.3   All maintenance, spares, inspections, repair, testing, and certification for all equipment
                                       and tools provided for the WORK.

                        5.2     CONTRACTOR shall be proactive in the development of new tools/systems as may be
                                required for the provision of the WORK. If any tool, system, or size is not currently available
                                CONTRACTOR shall provide an estimated time of delivery and monthly updates detailing
                                progress and development of such tools/systems.

                        5.3     COMPANY shall assess if the equipment, machinery, and tools supplied by CONTRACTOR
                                are sufficient and reserves the right during performance of the CONTRACT to reject those
                                that, in COMPANY's opinion, are inadequate. In such cases it shall be the responsibility of
                                CONTRACTOR to replace or add necessary equipment to comply with requirements
                                stipulated by COMPANY.

                        5.4     All equipment used for the provision of the WORK shall be 'as new' and preferably dedicated
                                to the CONTRACT. Used equipment may be acceptable to COMPANY provided that full
                                traceability is available and written details of service life inspection/overhaul history,
                                certification and testing documents, shock, vibration and temperature exposures, by
                                component part, is made available for COMPANY inspection prior to its use.

                        5.5     The certification strategy for equipment to be utilized in the provision of the WORK under the
                                CONTRACT shall be provided by CONTRACTOR before the equipment is used in the
                                provision of the WORK. The tools and equipment shall be to COMPANY acceptable agreed
                                manufacturing standards at the date of commencement of the CONTRACT and shall have
                                full traceability, service history and maintenance records, covering their total life span.

                        5.6     CONTRACTOR shall manage the mobilization and demobilization of the various equipment
                                and packages throughout each phase of the drilling operation, in such a manner so as to
                                ensure an overall efficient operation.

                        5.7     CONTRACTOR shall provide the relevant equipment at the WORKSITE prior to the
                                commencement of drilling operations on each relevant section of the well. CONTRACTOR



                 Halliburton Energy Services, Inc.               Page 105 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                           BP-HZN-MBI00022313
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 58 of 100




                                                        Section 3 - Scope of Work
                                                   Appendix 5 - Description of the WORK
                                                            C. Well Placement


                               shall manage the movement of equipment by each designated section of the well.
                               COMPANY shall not specify an equipment list for the performance of the WORK nor shall it
                               prescribe the techniques to be used to construct, complete, manage, and intervene in the
                               wells, rather it is the intention that techniques employed shall be jointly developed and
                               agreed by CONTRACTOR and COMPANY.

                        5.8    CONTRACTOR shall be responsible for transportation requirements as set out in the
                               Remuneration Terms and Conditions of this CONTRACT.

                        5.9    CONTRACTOR shall continuously examine all steps of the Supply Chain to identify methods
                               to reduce costs relating to logistiCS, transportation, handling, storage, inspection, and repair.
                               CONTRACTOR shall endeavor to continuously improve the utilization, manage out waste
                               and other costs associated with rental equipment.

                        5.10 CONTRACTOR shall provide full documentation for all equipment and materials which
                             CONTRACTOR may require to have transported to the WORKSITE for the execution of the
                             WORK. The documentation shall comply with current regulation and with all other applicable
                             statutory requirements. COMPANY shall have the right to refuse to accept any item
                             submitted for transportation which COMPANY considers to be incorrectly or inadequately
                             documented.

                        5.11   CONTRACTOR is required to submit a detailed recommendation on equipment requirements
                               and specifications to execute the WORK for each hole section, justifying said
                               recommendation with the exact specifications and quantities of tools required for each of the
                               possible hole sections. That recommendation shall be inclusive of CONTRACTOR's
                               equipment, COMPANY owned equipment, and Third Party equipment required to
                               successfully execute the WORK.

                        5.12 As part of this Scope of Work it shall be the responsibility of CONTRACTOR to provide
                             COMPANY at the WORKSITE and at COMPANY's Onshore Operations Center or office with
                             a load out list of all BHA or drill string components that are required for each operation and
                             the efficient execution of this Scope of Work. This load out list shall indicate which items of
                             equipment are from CONTRACTOR's own inventory and which are to be accessed from the
                             Third Party equipment inventory.

                        5.13 COMPANY shall as a minimum provide one fully serviceable back-up tool for all eqUipment at
                             the rig site (not including 'dumb steel/iron') and sufficient back-up in town/port to provide
                             uninterrupted service should failures arise. It is the responsibility of CONTRACTOR to
                             assess onshore back-up requirements based on proven reliability statistics for the tools being
                             offered in support of the Scope of Work.

                        5.14 COMPANY reserves the right to back-load or reduce the level of back-up equipment to
                             improve efficiencies in the drilling operation, should the risks be acceptable to COMPANY.

                        5.15 COMPANY reserves the right to request CONTRACTOR to arrange for the provision of other
                             Third Party down hole tool rental and maintenance services not expressly identified herein.
                             These arrangements shall provide for all or part of other drill string or BHA components not
                             provided for in this Scope of Work.

                        5.16 COMPANY shall arrange for the provision of other Third Party down hole tool rental and
                             maintenance services not expressly identified herein. These arrangements shall provide for
                             part of or all other drill string or BHA components not provided for in this Scope of Work.




                 Halliburton Energy Services, Inc.              Page 106 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                          BP-HZN-MBI00022314
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 59 of 100




                                                        Section 3 - Scope of Work
                                                   Appendix 5 - Description of the WORK
                                                            C. Well Placement


                        5.17 The equipment and tools identified in the Scope of Work shall be repaired in accordance with
                             COMPANY's QC/QA requirements identified in Section 6 to the CONTRACT and the
                             manufacturer's technical specifications.

                        5.18 All equipment and tools identified in the Scope of Work shall be provided in accordance with
                             manufacturer's specifications. Further, if required by COMPANY, CONTRACTOR shall
                             supply and agree with COMPANY the following specifications for all the tools and any
                             accessories being supplied:

                                       •   Manufacturing specifications including Quality Plans.
                                       •   RepairlRe-manufacturing specifications including Quality Plans.
                                       •   General maintenance specifications, standards, and procedures.
                                       •   Tool/connection Inspection specifications including acceptance/rejection
                                           criteria.
                                       •   Operating and field site procedures and guidelines for day to day care,
                                           maintenance, and running, including any troubleshooting guidelines.

                        5.19 All changes to agreed specifications shall be documented, justified, and agreed between
                             CONTRACTOR and COMPANY.

                        5.20 CONTRACTOR shall ensure that it has all the technical specifications required to perform the
                             repair of the connections.

                        5.21 The following is a list of the minimum applicable standards and specifications which shall
                             apply to the equipment and tools identified in this technical specification and Scope of Work:

                                       •   Manufacture, repair, and maintenance shall be carried out in facilities with
                                           implemented Quality Management Systems certified to API Q1, or ISO
                                           9001 :2000 by an internationally recognized certifying authority acceptable to
                                           COMPANY.
                                       •   Materials to be used in H2S containing environments shall be compliant with ISO
                                           15156 Parts 1, 2 & 3 or NACE MR 0175.
                                       •   Inspection and repair to meet the requirements of DS-1 (or ISO 10407-2 when
                                           issued) and the original equipment manufacturer's (OEM's) requirements.
                                       •   Only parts procured from approved vendors through the OEM recognized supply
                                           chain to be used.

                              Rotary Drill Stem Elements to be in accordance with API Spec 7.

                                       •   Drilling and production hoisting equipment - manufacture to be in accordance
                                           with API Spec 8A & API Spec 8C.
                                       •   Drilling and production hoisting equipment - inspection, maintenance, repair, and
                                           remanufacture to be in accordance with API Spec 8B.

                        5.22 The above list is a minimum expectation and all equipment and tools supplied by
                             CONTRACTOR must comply with the latest edition of the above standards.

                        5.23 The following specific standards and specifications shall apply:

                             5.23.1   All near-bit and drill string stabilizers shall be integral blade (EXCEPT 24" or greater).

                             5.23.2 Use of sleeve-type stabilizers is permitted; "clamp-an-type" are not approved.           The
                                    exception to this rule is the Density Neutron Equipment.




                 Halliburton Energy Services, Inc.              Page 107 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                           BP-HZN-MBI00022315
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 60 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement


                              5.23.3 All drill string connections shall be manufactured with API stress relief features, with
                                     the exception of MWD/LWD/Motor subs and crossovers, which are subject to DS-1
                                     inspection.

                              5.23.4 All non-magnetic drill collars shall be subject to hot spot magnetic defect inspections
                                     on a six monthly basis.

                              5.23.5 Where hard facing is required for tool protection, COMPANY preferred material is
                                     chrome alloy 'casing friendly' hard metal. COMPANY Hard banding Guidelines are
                                     available upon request. Tungsten carbide hard facing shall not be used.

                              5.23.6 All API Regular connections shall be provided with stress relief grooves.

                              5.23.7 An intrinsically safe unit is also required for DD/MWD/LWD services situated within
                                     any hazardous zones.

                              5.23.8 COMPANY's preference is for the supply of new tools. In the event of refurbished
                                     tools being offered, this should be clearly stated and details of history and use
                                     provided.

                              5.23.9 In the event inspection criteria are excluded, DS-1 Category 5 standards apply.


                 6.0    DIRECTIONAL DRILLING TOOLS AND EQUIPMENT

                        6.1    CONTRACTOR shall provide equipment necessary to successfully execute directional drilling
                               services which will include but will not be limited to surface specialty rental tools and
                               equipment, subsurface downhole tools, and back-up tools to permit directional drilling,
                               steering, motor drilling, open and cased-hole side-tracking and kick-ofts as well as providing
                               certain data acquisition equipment in the planned or contingent hole sizes and at the planned
                               angles and dog-legs.

                        6.2    CONTRACTOR shall supply the Directional and Rental Equipment as listed in Table 1. The
                               use of cross-overs shall be kept to an absolute minimum and will be no less than one meter
                               in length.

                        6.3    Directional Drilling tools, RSS and Motors Specifications must confonm to the operating
                               ranges detailed in Technical and Functional Specs, Appendix 6 to the Scope of Work, and
                               Well-Bore Information.

                        6.4    The following equipment list in Table 1 is not exhaustive and supplementary tools and
                               services are expected to be available from CONTRACTOR's facility.        Exact rental
                               requirements will be determined based upon specific well requirements.


                                    Table 1 - Directional Drilling anclRental Eqllipment
                                    Positive Displacement Mud Motors & Accessories
                                    Standard short radius
                                    Articulated short radius
                                    Standard power
                                  1 Standard power high speed
                                    Standard power low speed
                                    Thin Wall - Even Wall Thickness TVVM-EWT motors
                                    TVVM-EWT motors low speed
                                    TVVM-EWT motors high speed



                 Halliburton Energy Services, Inc.             Page 108 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                       BP-HZN-MBI00022316
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 61 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement


                                      Table 1 - Directional Drilling and Rental EquipmE!nt
                                  2   Rotary Steerable System (Performance, Standard, Vertical)
                                  3   NMDC'S and Ferromagnetic steel DC's
                                  4   NMHWDP and Ferromagnetic steel HWDP
                                  5   NM and regular near bit & string stabilizers bored for floats
                                  6   Bent subs
                                  7   UBHOsubs
                                  8   Orienting Subs
                                  9   Stabilizers fixed blade, welded, string and/or near bit
                                 10   Adjustable stabilizers
                                 11   Roller reamers
                                 12   WORKSITE Computing Systems
                                 13   Specialist Tool Slings & Thread protectors
                                 14   Totco Rings
                                 15   Float Subs & floats
                                 16   Filter Subs
                                 17   Cross overs
                                 18   Circulating subs
                                 19   Lifting Subs
                                 20   Bit subs
                                 21   Agitators
                                 22   Thrusters
                                 23   Under Reamers
                                 24   Jars


                        6.5    CONTRACTOR should specify fishing tools required for this equipment prior to any use and
                               ensure COMPANY is aware of these requirements prior to use at the rig site.

                        6.6    CONTRACTOR shall be fully responsible for the equipment used which must, as a
                               prerequisite, be entirely consistent with competent practice and meet all relevant COMPANY
                               and statutory standards, detailed below.

                        6.7    DIRECTIONAL DRILLING STANDARDS

                               CONTRACTOR will have the following standards and competencies implemented on the
                               EFFECTIVE DATE of the CONTRACT to ensure that the WORK is performed to
                               COMPANY's requirements and satisfaction.

                              6.7.1   CONTRACTOR shall have in place documentation identifying directional drilling
                                      engineering practices including: data transfer from COMPANY, planning procedures,
                                      drawings and collision tolerance setting, transfer of final well data back to COMPANY,
                                      engineering research ongoing, accuracy and reliability of current monitoring systems
                                      and building up of standard engineering practices.

                              6.7.2   Personnel trained and assessed as competent in the WORK, including ongoing
                                      training program and succession plan in place. This is to include the personnel in
                                      CONTRACTOR's service centre and on the WORKSITE as their ability to interpret
                                      and act upon the data from the well is particularly important.

                              6.7.3   Implementation of a management and control system to ensure that the operations at
                                      the well site take place in accordance with the terms of the well design and that there




                 Halliburton Energy Services, Inc.             Page 109 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                       BP-HZN-MBI00022317
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 62 of 100




                                                        Section 3 - Scope of Work
                                                   Appendix 5 - Description of the WORK
                                                            C. Well Placement


                                      is a mechanism in place to handle deviations from the plan. The change of plan could
                                      be due to a target change or required by the conditions of the well.

                              6.7.4   Implementation of directional drilling engineering procedures to a sufficiently high level
                                      of competency to ensure the achievement of a basic performance as defined in the
                                      performance criteria. Development of directional drilling engineering procedures to
                                      ensure that the operations optimization process is formalized and then applied
                                      routinely including bitlBHA performance analysis, overall time performance and
                                      management of losses such as drill string failure and stuck pipe.

                              6.7.5   General management and supervision of the WORK including office support, logistical
                                      organization and WORKSITE supervision. It is anticipated that CONTRACTOR will
                                      manage all equipment provided for their downhole operations in accordance with a
                                      CONTRACTOR owned standard minimum technical specification. This specification
                                      will initially be based upon current COMPANY specifications.


                 7.0    MWD/LWD SERVICES REQUIREMENTS

                        7.1    The precise nature of the MWD/LWD equipment will depend upon the type and level of
                               services requested by COMPANY, and full details will be determined prior to mobilization to
                               COMPANY WORKSITE. However, CONTRACTOR will make provisions to provide the
                               following MWD/LWD equipment and services which will include but will not necessarily be
                               limited to:

                                       •   Surface Equipment
                                       •   Subsurface Equipment
                                       •   Data Acquisition, Interpretation, Pre and Post-Modeling
                                       •   Field Repair, Maintenance
                                       •   Operators, Engineers and Technicians
                                       •   Real time data transmission via internet I intranet I BP server system

                        7.2    All MWD and LWD tool and services specifications must conform to the operating ranges
                               detailed in Technical and functional Specs, Appendix 6 to the Scope of Work and Well-Bore
                               Information.


                        7.3    Surface MWD/LWD Equipment

                              7.3.1   CONTRACTOR shall provide full technical information on the equipment and
                                      specialized equipment deemed useful to the operations which CONTRACTOR might
                                      wish to propose to be deployed under the Scope of Work.

                              7.3.2   CONTRACTOR shall provide surface MWD/LWD equipment requirements at the
                                      WORKSITE including, but not necessarily limited to, those identified in Table 2 below.


                                                 TABLE '2 - MWDILWD Surface Equipment
                                      An intrinsically safe MWD/LWD surface unit if situated within the
                                  1
                                      hazardous zone
                                  2   Surface decoding equipment
                                  3   Surface computing equipment
                                  4   Surface plotting equipment
                                  5   Offshore remote display screens



                 Halliburton Energy Services, Inc.              Page 110 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                          BP-HZN-MBI00022318
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 63 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement


                                               TABLE 2 - MWD/LVVD Surface Equipment
                                6   Depth tracking sensors
                                7   Hook load sensors
                                8   RPM sensor
                                9   Surface torque sensor
                               10   Pump stroke flow sensor
                               11   Pressure transducers
                               12   Rig floor displays
                               13   Real time data transmission equipment and software.
                               14   Rig floor Real Time down-hole vibration "Traffic Light" warning unit
                               15   Cables
                               16   Equipment baskets


                            7.3.3   The surface equipment at the well site shall be capable of storing and retrieving all
                                    surface and down-hole digital data. In addition the surface equipment shall:

                                     (a) Merge, manipulate, and splice digital data.

                                     (b) Export data to LAS, LIS, DLlS, TIF, and/or ASCII format on memory stick or other
                                         media such as tapes, CD etc.

                                     (c) Surface equipment for signal acquisition, processing, and display shall be
                                         provided. A minimum of one (1) remote display will be provided (Rig Floor).
                                         Additional displays in COMPANY Representative's Office, Well Site Geologist
                                         work room, CONTRACTOR office or Mud Logging unit will be specified by each
                                         SPU.

                                     (d) Real time sample, record and display both annular and standpipe and internal
                                         pressures in drillers console, and COMPANY's representative office.

                                     (e) Upload all stored data to the surface computer after the run.

                            7.3.4   Where Vibration Monitoring Systems are procured they shall consisting of the
                                    following as a minimum:

                                     (a) Vibration Monitoring Rig floor Alarm installed in the Rig floor - 1 ea.

                                     (b) Vibration Monitoring System (graphic screen or other display) installed in Driller
                                         Doghouse - 1 ea.

                                     (c) Vibration Monitoring System (graphic screen or other display) installed in
                                         COMPANY Representative Office - 1 ea.

                                     (d) Sensors and instrumentation installed on the rig must be explosion proof or part
                                         of an intrinsically safe system throughout.

                            7.3.5   Drilling Sensors,   to   process,   display and    continuously    record the   following
                                    parameters:

                                     (a) Weight on hook sensor with output to recorder, digital display in graphic and
                                         alphanu meric.




                 Halliburton Energy Services, Inc.            Page 111 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                        BP-HZN-MBI00022319
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 64 of 100




                                                        Section 3 - Scope of Work
                                                   Appendix 5 - Description of the WORK
                                                            C. Well Placement


                                       (b) Standpipe and BHA internal pressure sensors with output to recorder, digital
                                           display in graphic and alphanumeric.

                                       (c) Torque sensor with       output to    recorder,   digital display in graphic and
                                           alphanu meric.

                                       (d) Rotary speed with output to recorder, digital display in graphic and alphanumeric.

                              7.3.6   CONTRACTOR shall ensure that any offshore surface unites) provided is/are
                                      appropriate to accommodate working requirements of a potentially large well site
                                      team. This might include MWDJLWD engineers, Directional Drillers, Pore Pressure
                                      Specialists, new technology support specialists etc. In the case of a combined
                                      LWD/Mudlogging unit, this list would include Data Engineers, Mudloggers, Sample
                                      catchers, Well Site Geologist, etc.

                              7.3.7   COMPANY requires CONTRACTOR to demonstrate that the needs of this expanding
                                      offshore well site team are effectively addressed in the provision of working
                                      accommodation.

                        7.4    Downhole MWD/LWD Equipment Requirements

                              7.4.1   CONTRACTOR may be required to provide MWD and LWD Equipment and Sensors.
                                      The exact specifications, types of sensors and tool configurations will be available for
                                      all hole sizes (not under-reamed holes).

                              7.4.2   CONTRACTOR will be required to provide additional services as and when required
                                      by COMPANY. The exact speCifications, types of sensors and tool configurations will
                                      be available for any hole size.        The additional sensor and tool configuration
                                      requirements will include but will not necessarily be limited to those identified in Table
                                      2. Where CONTRACTOR is unable to provide a service CONTRACTOR should
                                      indicate how this requirement may be supported.

                              7.4.3   CONTRACTOR will provide all auxiliary MWDILWD equipment that is normally
                                      required to perform the WORK even where not specifically identified herein.

                              7.4.4   The MWD and LWD subs shall be supplied with API connections. The use of cross
                                      over subs must be minimized and will be furnished by CONTRACTOR at no charge to
                                      COMPANY.

                              7.4.5   CONTRACTOR shall provide:

                                       (a) All necessary equipment and personnel to acquire raw MWD directional surveys,
                                           temperature data and provide tool face orientation information in all hole sizes,
                                           and

                                       (b) Full technical information on the equipment and specialized equipment deemed
                                           useful to the operations which CONTRACTOR might wish to propose to be
                                           deployed under the Scope of Work.

                              7.4.6   Subject to CONTRACTOR having undertaken an engineered analysis of the drilling
                                      programs, CONTRACTOR may wish to propose to COMPANY that MWD/LWD tools
                                      are not used under certain conditions. COMPANY shall consider the potential
                                      benefits of any such proposal on each application and advise CONTRACTOR of its
                                      approval or otherwise.




                 Halliburton Energy Services, Inc.              Page 112 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                          B P-HZN-MB 100022320
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 65 of 100




                                                          Section 3 - Scope of Work
                                                     Appendix 5 - Description of the WORK
                                                              C. Well Placement


                              7.4.7   All MWDfLWD and DD tools must have the capability to transmit high speed (memory
                                      quality) data through Grant-Prideco IntelliServ (IS) drill pipe and adequate surtace
                                      software to intelligently display at surface. The requirements for the LWD/MWD tools
                                      are:

                                       (a) Basic Requirements:

                                             (i)     System is compatible with IS and allows two way data flow.

                                             (ii)    The LWD provider will specify the data rate that they can supply the IS
                                                     network with (IS network provides 1 MEG bps bandwidth, LWD tools do
                                                     not yet feed data at that rate) IS data stream to be compatible with Mud
                                                     Pulse data stream (to enable back-up/redundancy).

                                             (iii)   Data to be made available on a WITSML server.

                                             (iv)    Rate at which WITSML data is provided from the LWD surtace system to
                                                     be specified (to ensure there is no bottle neck here).

                                       (b) Expectation of Wired Pipe enabled applications:

                                             (i)     Memory quality logs in real-time.

                                             (ii)    Repeat logs (measurements made while tripping or reaming) available in
                                                     real-time.

                                             (iii)   High data density MWD (downhole PWD, Torque, WOB, Shock,
                                                     Vibrations etc.) in real-time while drilling and tripping.

                                             (iv)    Surtace control of steerable BHA: On the fly downlinking to rotary
                                                     steerables.

                                             (v)     Surtace Control of MWD/LWD: Ability to diagnose, reprogram/configure
                                                     MWDfLWD tools from surtace.

                                       (c) Data Processing/Analysis:

                                             (i)     WORKSITE or Office based drilling pertormance engineer(s) to analyze
                                                     the MWD data

                                             (ii)    Real-time pore pressure/well-bore stability analysis services.

                        7.5    MWD/LWD Equipment Specifications

                              7.5.1   The MWD and LWD systems must meet the technical specifications detailed in the
                                      Technical and Functional Specs, Appendix 6.

                              7.5.2   As a minimum when operating in "Recorded Mode, sufficient down hole power shall
                                      be provided for 100 hours of operation with all petro-physical sensors functioning.
                                      Sufficient down-hole memory shall be available for 6000 feet of logged interval with all
                                      logging sensors sampling data at an average of two (2) samples per foot.


                 8.0    SURVEYING SPECIFICATIONS




                 Halliburton Energy Services, Inc.               Page 113 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                          B P-HZN-MB 100022321
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 66 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement


                               (See also Services and Support - Drilling Engineering and Well Planning)

                        8.1    CONTRACTOR shall provide all necessary equipment and personnel to acquire directional
                               surveys, and orientation information in all hole sizes.

                        8.2    All surveying tool and services specifications must conform to the operating ranges detailed
                               in Technical and functional Specs, Appendix 6 and Well-Bore Information.

                        8.3    The WORK shall be conducted in accordance with the standard set of Joint Operating
                               Procedures ("JORPs") which have been jointly developed and agreed by COMPANY and
                               CONTRACTOR. In tum this shall be in compliance with the Directional Drilling and
                               Surveying Group Practice GP1 0-05.

                              8.3.1   The JORPs documents may require amending during the period of the CONTRACT
                                      due to a change in practices. In such event it shall be the responsibility of
                                      CONTRACTOR to propose such changes to ensure agreement on any amendments
                                      with COMPANY.

                              8.3.2   Adherence to JORPs shall be clearly specified for every tool or service used.

                              8.3.3   CONTRACTOR shall use JORPs automatically for all the WORK. CONTRACTOR's
                                      use of JORPs ensures that the Instrument Performance Models used at the planning
                                      stage are applicable, and that, as far as possible, a uniform standard of service and
                                      data quality is achieved world wide.

                              8.3.4   In exceptional cases JORPs may not be available for a particular service.
                                      CONTRACTOR shall consult with COMPANY and CONTRACTOR shall demonstrate
                                      to COMPANY's satisfaction, which shall be evidenced by written agreement, that
                                      CONTRACTOR has adequate QA and QC procedures (e.g., pre-job tool calibration,
                                      quality of survey personnel) before any survey instrument can be used.

                              8.3.5   Any breach of this condition by CONTRACTOR shall be considered negligence and
                                      COMPANY may terminate the WORK or any part thereof immediately.
                                      CONTRACTOR's QA and QC procedures are considered by COMPANY as equally
                                      important to the overall service as basic tool performance.

                              8.3.6   JORPs are discussed in more detail in COMPANY's Directional Survey Handbook
                                      Document Number: BPA_D_004, a copy of which will be made available to
                                      CONTRACTOR prior to start of the CONTRACT.

                        8.4    Surveying Equipment

                              8.4.1   CONTRACTOR shall provide equipment necessary to successfully execute surveying
                                      services which shall include but will not be limited to the Well Placement Survey
                                      Equipment listed.

                              8.4.2   All tools are required to provide real time directional survey data comprising
                                      measurements of Azimuth, Inclination, and Tool Face as a minimum unless otherwise
                                      agreed by COMPANY. All DD and MWD tools are required to provide real time
                                      continuous directional service comprising measurements of Azimuth, Inclination, and
                                      Tool Face, together with continuous surveying capabilities where available.

                              8.4.3   COMPANY's Drilling Policy refers to the requirement of running only qualified survey
                                      tools, that is, tools whose performance and reliability have been demonstrated to




                 Halliburton Energy Services, Inc.             Page 114 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                          B P-HZN-MB 100022322
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 67 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement


                                      COMPANY through the process of validation. This process is covered in more detail
                                      in Directional Survey Handbook, document number: BPA_D_004.

                              8.4.4   CONTRACTOR shall provide all auxiliary surveying equipment that is normally
                                      required to perform the WORK even where not specifically identified herein.

                              8.4.5   CONTRACTOR shall be fully responsible for the equipment used which shall, as a
                                      prerequisite, be entirely consistent with competent practice and meet all relevant
                                      COMPANY and statutory standards:

                                      (a) CONTRACTOR shall manage the availability of the various equipment packages
                                          throughout each phase of the drilling operation. CONTRACTOR shall provide
                                          the relevant equipment package at the WORKSITE prior to the commencement
                                          of drilling operations on each relevant section of the well. COMPANY shall not
                                          specify an equipment list for the performance of the WORK, nor shall it prescribe
                                          the techniques that shall be used to construct, complete, manage, and intervene
                                          in the wells. It is the intention that techniques used shall be jOintly developed
                                          and agreed by CONTRACTOR and COMPANY.

                                      (b) CONTRACTOR shall mobilize and demobilize its equipment packages in
                                          accordance with the specific requirements of each well engineering activity, in
                                          such a manner so as to ensure an overall efficient operation. CONTRACTOR
                                          shall manage the movement of equipment by each designated section of the
                                          well.

                                      (c) CONTRACTOR shall ensure that it has made appropriate provision for back up
                                          equipment, spare parts, tools etc. to ensure that the WORK is not disrupted due
                                          to equipment failures or other problems associated with CONTRACTOR's
                                          processes.

                                      (d) CONTRACTOR shall continuously examine all steps of the Supply Chain to
                                          identify methods to reduce logistics, transportation, handling, storage, inspection,
                                          repair, inefficiencies, and costs. CONTRACTOR shall seek to continuously
                                          improve the utilization, manage out waste and other costs associated with rental
                                          equipment.

                              8.4.6   It shall be the responsibility of CONTRACTOR to provide COMPANY at the
                                      WORKSITE and at COMPANY's Onshore Operations centre with a load out list of all
                                      surveying components which are required for each operation and the efficient
                                      execution of this Scope of Work. This load out list shall indicate which items of
                                      equipment are from CONTRACTOR's own inventory and which are to be accessed
                                      from the third party equipment inventory.

                              8.4.7   CONTRACTOR shall provide Survey Engineer with a PC capable of downloading tool
                                      memory, performing survey Quality Control checks and preparing a final survey report
                                      at the WORKSITE.


                 9.0    SPECIALIST REAL-TIME DATA ACQUISITION SERVICES

                        9.1    CONTRACTOR may be required to provide specialist services as and when required by
                               COMPANY. The exact speCifications, types of sensors and tool configurations should be
                               available for any hole size. The additional sensor and tool configuration requirements will
                               include but will not necessarily be limited to those identified below.




                 Halliburton Energy Services, Inc.             Page 115 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                        B P-HZN-MB 100022323
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 68 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement


                                      •   High speed data transmission I systems for remote operations
                                      •   Rig Site and Operations Center Displays , as well as web based displays
                                          viewable inside COMPANY
                                      •   IT support for limited networking I data sharing between CONTRACTOR and
                                          COMPANY systems at the rig site
                                      •   WITSML feed (with support) to Third Party units at rig site
                                      •   Real Time and Recorded Rig Site Data Transmission (Time and Depth Based)
                                      •   Real Time Down Hole Vibration Data Interpretation and Drilling Parameter
                                          Optimization
                                      •   Rig Site Modeling Capabilities
                                      •   Up Link and Down Link Capability
                                      •   Geological Steering Capabilities
                                      •   Forward geological modeling
                                      •   Post logging modeling
                                      •   Full range Data Processing Services
                                      •   Full range of Data Management Services
                                      •   Petrophysical Support and Analytical Services

                        9.2   CONTRACTOR shall ensure that its personnel are familiar with the requirements of
                              COMPANY during the drilling phase of the well. Real time and memory data, both depth-
                              based and time-based shall be easily accessible via WlTSML for review. Output options and
                              presentations must be flexible to meet COMPANY requirements. Hard and digital copies in
                              various pre-agreed formats shall be required.

                        9.3   CONTRACTOR shall have the capability to provide a Real Time Downhole Vibration Data
                              Analysis and Drilling Optimization service to be provided at the WORKSITE. Information will
                              be required on the type of training undertaken by specialist personnel and their experience,
                              the processing technique employed at the WORKSITE and the software used to interpret and
                              display this information.

                        9.4   CONTRACTOR shall have the capability to provide a specialized Pore Pressure Analysis
                              service that may be provided at the WORKSITE. Information will be required on the type of
                              training undertaken by specialist personnel and their experience, pre-drill prediction material
                              used for modeling, the type of information collated while drilling, the processing technique
                              employed at the WORKSITE, and the software used to interpret and display this information.
                              The use of Third Party software may augment CONTRACTOR's own system but is not a
                              replacement.

                        9.5   The interface between MWD/LWD log data and Mud Logging CONTRACTOR's computer
                              must be possible utilizing the WITSML format and according to COMPANY's specified
                              updating frequency.

                        9.6   Data readout will be required on the rig floor and in COMPANY's office(s) on the rig.

                        9.7   Real-time transfer of MWD/LWD/FEWD data between CONTRACTOR's well site unit and
                              COMPANY's offices onshore/worldwide will be required. CONTRACTOR will transmit their
                              own data from the rig site to CONTRACTOR's or COMPANY's office using COMPANY's
                              bandwidth but using their own systems to facilitate their value added services. In addition
                              COMPANY shall manage an 'aggregated' flow of data between rig site and COMPANY
                              offices to facilitate a standard platform for COMPANY's own or other Third Party value add
                              services on top of a known capable architecture.




                 Halliburton Energy Services, Inc.            Page 116 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                          B P-HZN-MB 100022324
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 69 of 100




                                                         Section 3 - Scope of Work
                                                    Appendix 5 - Description of the WORK
                                                             C. Well Placement


                        9.8   Transmitted information shall be provided in accordance with the Well Site Information
                              Transfer Standardized Mark-up Language (WlTSML) standard (see www.witsml.org).
                              WITSML shall also be used as a medium for the exchange of static and real-time data.

                        9.9   COMPANY requires testing of the interoperability of rig site and offsite information systems
                              prior to mobilization to the field. CONTRACTOR should make allowance for the provision of
                              equipment and services to perform integration testing of information systems, including those
                              which will be installed at the WORKSITE, and those supplied by other contractors, prior to
                              field mobilization, in orderto ensure the overall system works as planned.

                        9.10 CONTRACTOR providing services to COMPANY in the Drilling and Completions domain,
                              that include the supply of digital data, will increasingly be required to supply that data in the
                              XML formats, and with interfaces conforming to the Applications Program Interface defined
                              by the Drilling and Completions community through collaborative effort in the WITSML
                              Special Interest Group (SIG). Questions and required technical solutions to interoperability
                              between contractors, service suppliers and software application vendors, should see the SIG
                              as the preferred approach to resolving technical issues around interoperability.

                        9.11 COMPANY expects its contractors and service providers to provide software to support the
                              use of WITSML as a medium for both Real Time and static exchange of data, both between
                              COMPANY and the supplier, and between COMPANY's suppliers in the offshore
                              environment, where such exchange is approved by COMPANY. Within one year of a new
                              revision of the standard being issued, COMPANY expects its suppliers and application
                              vendors to be ready to deploy the new version, but to do so in a manner that does not require
                              a synchronous upgrade of all systems sharing the data objects.

                        9.12 WITSML service agreement

                              9.12.1 Whenever a WITSML service is setup between a WITSML service provider
                                     (PROVIDER) and a WlTSML service consumer (CONSUMER) there are several
                                     aspects of the service that needs to be further specified and agreed upon.

                              9.12.2 The WITSML standard only contains specifications about the data transport media,
                                     format, protocol, data objects, and their elements, and so the issues below are not
                                     part of the standard itself.

                              9.12.3 Prior to the finalization of a WITSML service agreement the following issues will be
                                     agreed between the PROVIDER and CONSUMER:

                                      (a) The WITSML interfaces which the PROVIDER will supply.

                                      (b) The version of the PROVIDER'S WITSML server.

                                      (c) The data objects and data elements the PROVIDER will supply (not all WITSML
                                          data elements are mandatory).

                                      (d) Completion of the mapping between PROVIDER and CONSUMER such as
                                          names on curves etc.

                                      (e) The default unit of measures to be used for the various data elements

                                      (f)   Security:

                                              (i)   HTTPS shall be used.




                 Halliburton Energy Services, Inc.             Page 117 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                         BP-HZN-MBI00022325
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 70 of 100




                                                        Section 3 - Scope of Work
                                                   Appendix 5 - Description of the WORK
                                                            C. Well Placement


                                           (ii)    After guidance from COMPANY's DCT group, PROVIDERS will confirm
                                                   what network the service be run on: Internet or VPN. PROVIDERS
                                                   should validate and test their authentication model within that network
                                                   framework.

                                           (iii)   If firewalls need to be opened for the service to run the IP addresses and
                                                   ports of the participating machines as well as the direction of connection
                                                   initiation between them will be specified.

                                           (iv)    CONTRACTOR shall ensure that the Work is performed in accordance
                                                   with the BP Group Digital Security Standard, Digital Security Operating
                                                   Practices, and COMPANY's Security of Information Standard and
                                                   Instructions, copies of which are available upon request.

                            9.12.4 CONTRACTOR may be requested to provide data from the following data objects, as
                                   defined in the W1TSML Schema, or additional items as added to future versions of the
                                   schema, as they are added, that are relevant to the services being provided:

                                           •       BHA Run data object
                                           •       Cement Job data object
                                           •       Conventional Core data object
                                           •       Fluids Report data object
                                           •       Formation Marker data object
                                           •       Log data object
                                           •       Message data object
                                           •       Mud Log data object
                                           •       Operations Report data object
                                           •       Real-time data object
                                           •       Rig data object
                                           •       Risk data object
                                           •       Sidewall Core data object
                                           •       Survey Program data object
                                           •       Target data object
                                           •       Trajectory data object
                                           •       Trajectory Station data object
                                           •       Tubular data object
                                           •       Well-bore Geometry data object
                                           •       Well data object
                                           •       Well-bore data object
                                           •       Well Log data object

                            9.12.5 CONTRACTOR will have a schedule which clearly indicates costs associated with the
                                   provision of the above data items from the services they will be providing, and whether
                                   the data can be delivered as a real time feed from a WITSML server, or in the case of
                                   contextual data, such as for example a Fluids report, in the form of an XML document.
                                   V\lhere data is provided as a static document, the document should include a call to a
                                   style sheet for that object to ensure that the document is available both as XML and
                                   as human readable documentation.

                            9.12.6 Primary list of real time data types to be transferred includes:

                                     (a) Surface Parameters:




                 Halliburton Energy Services, Inc.             Page 118 of 352
                 BPM-09-002S5



CONFIDENTIAL                                                                                                       B P-HZN-MB 100022326
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 71 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement


                                           •    Block position I height
                                           •    Trip I running speed
                                           •    Bit Depth
                                           •    Hole Depth
                                           •    Lag Depth
                                           •    Gas total (include chromatograph breakdown of C1            -   C5+,   if
                                                 chromatograph used)
                                           •    Lithology Percentage (if mud logging services being used)
                                           •    Weight on bit
                                           •    Hook Load
                                           •    Choke Pressure
                                           •    Stand Pipe Pressure
                                           •    Surface Torque
                                           •    Surface Rotary
                                           •    Mud Motor RPMs
                                           •    Flow In and Flow Out
                                           •    Mud Weight
                                           •    Rate of Penetration
                                           •    Pump Rate (spms for each pump)
                                           •    Cumulative Stroke Count
                                           •    Active Mud System Total
                                           •    Active Mud System Change
                                           •    All Trip Tanks (including any mini trip tanks)
                                           •    Mud Temperature In { Out

                                     (b) Calculated Parameters:

                                           •    In Slips I Connection time (for rig comparisons and best of class)
                                           •    Connection Drag
                                           •    Washout / Restriction ratio where available (looks at ratio of pump
                                                 pressure to flow for quick washout or jet plugging detection)
                                           •    Total hours on bit
                                           •    Calculated Bottom Up Strokes
                                           •    Calculated In/Out Strokes
                                           •    Total Bit Revolutions
                                           •    Dxc
                                           •    Calculated Hydraulics, (ECD, system, annular pressure losses)

                                     (c) Down hole (MWD I LWD) parameters:

                                           •    Data from ALL sensors down hole. This includes (where available):
                                           •    All FEMWD data (Gamma, Resistivity, Neutron Porosity, Bulk Density,
                                                 Nuclear Magnetic Resonance While Drilling; Resistivity At Bit; Seismic
                                                 Measurement While Drilling; Formation Pressure While Drilling. etc)
                                           •    Bit depth
                                           •    Hole depth
                                           •    PWD annular pressure
                                           •    PWD internal pressure
                                           •    PWD EMW
                                           •    PWD pumps off min, max and average
                                           •    Drill String Vibration IAxial Shock Sensors




                 Halliburton Energy Services, Inc.          Page 119 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                    B P-HZN-MB 100022327
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 72 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement


                                           •     Drilling dynamics (downhole torque, downhole wob, etc.)

                                     (d) Cement I DCRI Unit Real Time Data:

                                           •    Pump rate,
                                           •    Pump pressure,
                                           •    Slurry Density
                                           •    Cumulative volume pumped
                                           •    Data from LOT I FIT tests

                        9.13 Data Storage and Manipulation at WORKSITE

                            9.13.1   CONTRACTOR shall provide a Real Time Data Store server in the DD/LWD unit.
                                     This unit will be run by MWD/LWD/DD cross trained personnel.

                            9.13.2 The information shall be provided in accordance with the Well Site Information
                                   Transfer Standardized Mark-up Language (W1TSML) standard (see www.witsml.org).
                                   W1TSML shall also be used as a medium for the exchange of static data. The
                                   offshore Data Store shall gather data, including but not limited to data generated by:

                                     (a) Directional Drilling I LWD I MWD

                                     (b) Mud Logging

                                     (c) Surveying

                                     (d) Drilling Contractor information

                            9.13.3 If CONTRACTOR is chosen to supply Data Transmission Services, CONTRACTOR
                                   shall supply the communications links between the various data sources and the Data
                                   Store.

                            9.13.4 CONTRACTOR is responsible for such detailed interface specification and
                                   coordination with other rig site data suppliers as is necessary to ensure the continued
                                   efficient transfer of data, both dynamic and static.

                            9.13.5 CONTRACTOR is responsible for development and execution of a detailed integrated
                                   test procedure to ensure these data flows are accomplished successfully, including
                                   coordination of other rig site data sources, prior to spud on the first well from any new
                                   rig installation.

                            9.13.6 The offshore Data Transmission Data Store shall be able to monitor real time activity
                                   at any time, with multiple displays of the various data feeds. Print outs of any data
                                   shall be available.

                            9.13.7 System must be able to lift ASCII data and make plots from the supplied visual data
                                   so that it can be used by the operations team in real time.

                            9.13.8 CONTRACTOR shall identify any areas where other industry standard data formats
                                   are preferred for the rig site data interface - e.g., W1TSML or OPC.

                        9.14 Data Transmission Services - WORKSITE to Office

                            9.14.1   Data Transmission system from the WORKSITE to COMPANY's defined offices shall
                                     be through COMPANY's high capacity communications package on the WORKSITE.



                 Halliburton Energy Services, Inc.            Page 120 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                      B P-HZN-MB 100022328
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 73 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement


                                     The bandwidth available from this shall meet the requirements of any Real Time Data
                                     Transmission system.

                            9.14.2 Data will be transmitted in WITSML format or COMPANY approved proprietary format
                                   for purposes of data compression

                            9.14.3 COMPANY requires testing of the inter-operability of WORKSITE and offsite
                                   information systems as soon as possible after mobilization to the field.
                                   CONTRACTOR shall make allowance for the provision of equipment and services to
                                   perform integration testing of information systems, including those which will be
                                   installed on the rig, and those supplied by other contractors, in order to ensure the
                                   overall system works as planned.

                        9.15 OFFICE Data Store

                            9.15.1   COMPANY OFFICE shall potentially be equipped with a central room for data
                                     gathering and decision-making, to be known as the Advanced Collaborative Centre
                                     (A.CE). The OFFICE Data Store supplied by CONTRACTOR will be situated in the
                                     A.CE

                            9.15.2 The onshore WITSML data shall mirror the rig site Data Store. This then provides a
                                   WITSML feed (using Openwire) into COMPANY's onshore data stores, principally
                                   Landmark EDM and Openwells. COMPANY's design basis is for this onshore server
                                   to be within COMPANY domain, in the Advanced Collaborative Center (ACE). Access
                                   by COMPANY Third Parties, such as CONTRACTOR, would be using iUnk. For this
                                   onshore WITSML data store, COMPANY will specify Operating System requirements,
                                   network and security rules, as it forms part of COMPANY Domain.


                 10.0 MUDLOGGING SERVICES

                        10.1 COMPANY expectations - this scope defines the minimum level of service that COMPANY
                             requires from any Mud Logging Unit.

                             CONTRACTOR is deemed to have an expert knowledge and capability and COMPANY
                             expects:

                                      (a) The efficient execution of the mud logging service and timely reporting with
                                          CONTRACTOR providing personnel that are trained in unit operation and have
                                          extensive local geological experience;

                                      (b) The maintenance and calibration of all sensors to ensure that they are always
                                          providing accurate data to assist real time decision making, and for processing to
                                          aid post-well analysis, and

                                      (c) A safe, clean, and comfortable working environment to be provided by
                                          CONTRACTOR which meets COMPANY standards.

                        10.2 Principal objectives of the mud logging service

                                      (a) Monitor the drilling operation parameters including providing Geological control,
                                          Formation evaluation, understand their significance to the downhole conditions,
                                          and advise COMPANY and Drilling Contractor personnel of any situation
                                          developing with safety or efficiency implications. Where the situation is judged to




                 Halliburton Energy Services, Inc.            Page 121 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                       B P-HZN-MB 100022329
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 74 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement


                                           be of a serious potential impact, logging personnel should contact the rig floor
                                           directly if COMPANY Representative cannot immediately be contacted.

                                     (b) Efficiently record the parameters, and provide the data that is required to support
                                         post well analysis, via COMPANY defined format, to the correct personnel, and
                                         in a timely manner.

                                     (c) Recommend solutions for improvement of performance based on monitoring of
                                         the well conditions. The Mud Logging Service, if required shall be fully
                                         computerized to provide an on and off-line system in constant operational
                                         readiness. Unit systems shall be latest technology. In event of future systems
                                         upgrades of software and hardware CONTRACTOR shall offer COMPANY the
                                         opportunity for such upgrades.

                        10.3 CONTRACTOR shall provide all units and equipment, necessary to successfully perform the
                             required WORK, fully serviced and in a good state of operational readiness. The Mudlogging
                             Unit shall be a skid mounted oilfield module of sufficient size to accommodate COMPANY's
                             geologist in addition to the service crew. As a minimum the Unit shall feature:

                                     (a) Unit power provided by COMPANY with necessary transformer interfaces and
                                         regulators supplied by CONTRACTOR.

                                     (b) Safety barrier system to prevent stray electrical surges from outside the unit.

                                     (c) Explosion proof safety pressurized system to ensure safe unit interior by fresh air
                                         purge, with control to maintain stable environment within unit. Preferably, the
                                         unit should automatically shut down if loss of pressurization occurs.

                                     (d) Air conditioning system able to          provide   environmental    control   under
                                         pressurization with minimal noise.

                                     (e) All electrical systems shall meet requirements of local regulatory agencies. All
                                         unit personnel shall be trained in wiring and grounding techniques and lightening
                                         protection.

                                     (f)   Unit shall contain sheathing or similar system to minimize effects of radio
                                           interference on the equipment.

                                     (g) Quiet working environment.

                                     (h) Emergency exit in addition to the main entrance/exit.

                                     (i)   Drafting space and light.

                                     (j)   Software to include an acceptable Word processor and Spreadsheet package.

                                     (k) Workspace for COMPANY Well Site Geologist.

                                     (I)   Unit to be ergonomically designed and use a minimum number of monitors,
                                           printers, etc. In order to reduce noise and distraction but allow an acceptable
                                           level of service.

                             In addition, all electrical equipment and sensors shall be intrinsically safe and all unit
                             operators shall be trained in wiring and grounding techniques.




                 Halliburton Energy Services, Inc.             Page 122 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                       B P-HZN-MB 100022330
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 75 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement


                        10.4 Geological Parameters and Sampling -the following requirements shall be provided:

                                     (a) Geological Parameters

                                            •     Description and recording of lithologies, recording of total and
                                                   Chromatographic Gases, monitoring for Hydrogen Sulphide and Carbon
                                                   Dioxide, fluoroscopic examination of drilled cuttings and other 'show'
                                                   evaluation procedures, calcimetry, mud 'resistivity in' and mud resistivity
                                                   out.

                                     (b) Clay hydration

                                            •     The GEG (MBT) test should be performed in all clay sections drilled with
                                                   water-based mud.     Oil-based mud cuttings should be cleaned by
                                                   washing in acetone or a similar solvent, and carefully dried.

                                     (c) Pressure detection and analysis service:

                                            •     Providing pore pressure prediction, overburden, and estimated fracture
                                                   pressure.

                                            •     Provide general assistance to COMPANY Well Site Geologist as and
                                                   when required.

                                     (d) Sampling

                                            •     Washed and dried samples, Unwashed bulk samples, geochemical
                                                  samples, treated with bactericide, stored in either SEET foil bags or
                                                  suitable tins, drilling mud samples, stored in nalgene bottles.

                                            •     Throughout the well, maintain a collection of samples of all mud
                                                   chemicals and additives (liquids and solids) and rig equipment lubricants
                                                   and greases that may affect the hydrocarbon evaluation of the well.

                                            •     Any other sampling (mud, formation fluids/gases) as requested during the
                                                   well.

                             The actual required number of sets and the intervals etc" for each well will be provided prior
                             to the commencement of the well by COMPANY Well Site Geologist.

                        10.5 Basic Applications

                            10.5.1   Drilling Monitor Program

                                     A program capable of monitoring observed trends is required. While drilling, it shall
                                     be possible to display and monitor the following parameters in graphical and textual
                                     form:

                                     •   Time of day
                                     •   Date
                                     •   Drilled depth
                                     •   Bit depth
                                     •   True vertical depth
                                     •   Bit size



                 Halliburton Energy Services, Inc.              Page 123 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                        B P-HZN-MB 100022331
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 76 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement


                                     •   Stand number
                                     •   Instantaneous ROP
                                     •   Averaged ROP (for the bit run and user defined intervals, e,g" every 10 feet)
                                     •   Weight on bit (minimum, maximum, average, standard deviation)
                                     •   Rotational speed of bit (calculated from motor/turbine characteristics including
                                         nozzled motors)
                                     •   Rotational speed of string (minimum, maximum, average, standard deviation)
                                     •   Mud flow rate in
                                     •   Mud flow rate out
                                     •   Pump strokes per minute
                                     •   Min, max, average, and standard deviation of torque
                                     •   Block / Kelly height
                                     •   Standpipe pressure (minimum, maximum, average, standard deviation)
                                     •   Hookload.
                                     •   String weight
                                     •   Rig heave (if applicable)
                                     •   Current cost per foot
                                     •   Total gas and chromatography

                            10.5.2 Pit Volume Totalization and Monitor Program

                                     It shall also be possible to display and monitor trends of the total and individual pit
                                     volumes, and trends in the active circulating volume. The system should allow for
                                     totalizing in any combination to give resultant active and reserve volumes such as:

                                     •   Total active circulating volume,
                                     •   Individual pit volumes,
                                     •   Reserve volume.
                                     •   Total volume,
                                     •   Temperature In/Out.
                                     •   PVT change.

                            10.5.3 Trip Monitor Program

                                     It is also considered essential to provide a Trip-Monitor program capable of
                                     monitoring observed and predicted parameter trends. The Trip-Monitor program
                                     shall be capable of calculating and displaying the following parameters in graphical
                                     and textual form, and in the form of a paper log:

                                     •   Time of day,
                                     •   Depth of bit.
                                     •   Bit size.
                                     •   Stands tripped I stands to go.
                                     •   Average, minimum, and maximum hookload.
                                     •   Expected hookload.
                                     •   Pit volume - actual.
                                     •   Pit volume - expected.
                                     •   Trip tank volume.
                                     •   Average time per stand,
                                     •   Instantaneous and average pipe velocity based on the traveling block sensor
                                         measurement.




                 Halliburton Energy Services, Inc.            Page 124 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                      B P-HZN-MB 100022332
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 77 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement


                                     •    Reaming data (pump operation, torque, flow in/out, pressure) In the event of
                                          reaming having occurred, these variable values should be stored at regular depth
                                          and time increments, with a higher resolution than one value of each per stand
                                          (e.g., every ten feet or every one minute).

                            10.5.4 Kick and Kill Monitor Program

                                      When the well is shut-in, or whilst killing the well. the following parameters should be
                                      made accessible on printers and rig site monitors:

                                     •    Time of day
                                     •    Casing pressure
                                     •    Standpipe pressure
                                     •    Total pit volume
                                     •    Mud weight in/out
                                     •    Mud flow in
                                     •    Total barrels displaced
                                     •    Total strokes pumped
                                     •    Depth to kill mud
                                     •    Strokes to bit
                                     •    Strokes to bottoms up
                                     •    Plot of casing pressure, standpipe pressure and pit volume
                                     •    Total gas.

                        10.6 Engineering Programs

                            10.6.1   COMPANY standard is to use DEAP. However, in the event that a hydraulics
                                     program for slip velocities and calculated cuttings lag time should be run (Power law,
                                     Modified Power Law and Bingham) then the following conditions apply:

                                      (a) At the beginning of each hole interval;

                                      (b) Whenever there are significant changes in pump rate/rheology then undertake:

                                      (c) Swab and surge analysis;

                                      (d) Cost/unit depth analysis;

                                      (e) The resultant data being provided on-line and off-line.

                            10.6.2 CONTRACTOR's Well Control programs shall not be used to direct COMPANY
                                   operations during a well control incident.

                        10.7 Data Acquisition, Storage and Display

                             A continuous computerized monitoring, display, and interpretation service is required for all
                             selected drilling parameters.

                            10.7.1   Computational Hardware

                                     Computational equipment shall be interfaced with the monitoring systems to provide
                                     automatic collection, transfer processing and recording. All processing equipment
                                     shall be redundant.




                 Halliburton Energy Services, Inc.             Page 125 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                        B P-HZN-MB 100022333
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 78 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement


                            10.7.2 The computer system used to run engineering assistance programs should be:

                                     (a) Compatible with telecommunications equipment to enable the data transmission
                                         service to be used if required

                                     (b) Able to be reconfigured as an acquisition computer if the acquisition equipment
                                         fails. All the processes shall be redundant. The system shall be configurable
                                         within ten minutes to account for failure and a back up system has to work at all
                                         times.

                            10.7.3 Data Sampling, Processing, and Storage Specifications

                                     This section defines the recording specifications to ensure that accurate, pertinent
                                     data is obtained in a reliable manner to aid the real time decision making process
                                     and for post well analysis.

                                     (a) Dynamic drilling parameter measurements (including block/kelly position, rig
                                         heave, hookload, torque, rotary speed, stand-pipe pressure) shall be filtered to
                                         minimize the effects of data aliasing;

                                     (b) Parameters shall all be sampled at a consistent frequency. A minimum sampling
                                         frequency of 10Hz is required;

                                     (c) Each of the critical variables shall be allocated low and high level alarms and the
                                         setting of these discussed with COMPANY Drilling Representative/Engineer at
                                         the start of the well;

                                     (d) Placement of mud logging sensors shall allow all measurements to be made
                                         independently of other CONTRACTOR equipment;

                                     (e) All of the critical measured parameters should also be recorded on chart
                                         recorders ofthe continuous multi-track type;

                                     (f)   All parameters shall be stored digitally against depth and time and if requested
                                           provided post well in an agreed upon format.

                                     (g) Comprehensive time based data while not making hole should be stored on
                                         paper and in databases (real time charts) for subsequent analysis. This should
                                         include data collected while drilling out cement/casing shoe, reaming, and during
                                         open hole tripping.

                        10.8 DISPLAYS

                            10.8.1 CRT and Remote Displays

                                     (a) In addition to the display terminals normally present within the logging unit
                                         COMPANY         requires    additional    VDU's       in   COMPANY           Drilling
                                         Representative/Engineer office and an intrinsically safe VDU on the drill floor. An
                                         additional monitor should be available;

                                     (b) Each of these VDU's shall be capable of various graphic/numeric displays, to the
                                         format defined by COMPANY Drilling Representative/Drilling Engineer. The
                                         screens should be interactive (ability to alter scales or format), and one-touch
                                         changeover should be provided between displays for different rig operations,
                                         together with simple data recall facilities, and



                 Halliburton Energy Services, Inc.            Page 126 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                        B P-HZN-MB 100022334
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 79 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement



                                     (c) The numeric and graphical display shall be capable of showing trends in the
                                         measured drilling parameters. Color graphics and large screen sizes (i.e.,
                                         minimum 11" diagonally corner to corner) are preferred. Both raw and computed
                                         parameters should be available.

                            10.8.2 Chart Recorders
                                    (a) Any paper chart recorders provided for use in COMPANY office or mud logging
                                        unit should be of a type using paper of width 9" or greater (e.g., Siemens or
                                        Yokinawa type), rather than 4 3/4" wide paper as in the Chessel type. This shall
                                        allow greater resolution and longer display of historical data. Multiple pen colors
                                        are required;

                                     (b) All critical measured parameters shall be recorded on a chart recorder;

                                     (c) Chart recorder data shall obey the following rules;

                                           •    Consistent format between units in one area (including pen colors and
                                                 layout);

                                           •     Regular scaling and annotation of the traces (time, date, observations);

                                           •    A reasonable number of pens per track (i.e., <6);

                                           •     Logical grouping of traces e.g., torque and rpm, standpipe pressure and
                                                  flow rate, WOB and hookload. A continuous computerized monitoring,
                                                  display, and interpretation service is required.

                        10.9 CALIBRATION and QAlQC

                            10.9.1   Sensor Type, Accuracy, and Calibration

                                     (a) Sensors with minimum accuracy of 0.2 bbls are the preferred type for pit level
                                         measurement on land operations. Sensors on all pits (including sand traps) may
                                         be required. The standard is eight sensors per rig;

                                     (b) In-sensor compensation for temperature variations shall be provided for all
                                         sensors, especially those measuring WOB and hookload. Accuracy of sensors
                                         for the base service should be better than 5%. Better specification of sensor
                                         accuracy is required if Optional Services Clause 10.11 of Appendix 5 is
                                         requested;

                                     (c) Calibration shall take place in accordance with a defined program (specified in
                                         the bid) which is acceptable to COMPANY. If calibration check readings are
                                         outside the allowed tolerances, the sensor shall be investigated by
                                         CONTRACTOR and all instrumentation/sensors shall be recalibrated or replaced
                                         as necessary. The Drilling Engineer/Representative, or Well Site Geologist shall
                                         ensure that the program is adhered to and that checks/recalibration are properly
                                         carried out, and

                                     (d) Any discrepancies between measurements made by Mud Logging and Drilling
                                         equipment shall be reported to COMPANY Representative, who shall then
                                         request a calibration check of the equipment concerned. At no time is one
                                         measurement to be deliberately manipulated to mimic another sensor value
                                         without an investigation of the cause of the discrepancy having taken place. If



                 Halliburton Energy Services, Inc.            Page 127 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                       B P-HZN-MB 100022335
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 80 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement


                                           the discrepancy persists after a calibration check, the matter shall be reported
                                           through to COMPANY Representative.

                            10.9.2 QUALITY CONTROL OF DATA

                                     Data quality control is considered to be of supreme importance and a demonstrable
                                     ability by CONTRACTOR personnel to implement the rules as specified in this
                                     document shall be required. This Clause 10.9.2 defines the responsibilities of
                                     CONTRACTOR personnel with regard to data validation during all phases of
                                     operation.

                                     CONTRACTOR shall:

                                     (a) Obtain the signed approval of COMPANY Representative for sensor placement
                                         and hookup:

                                     (b) Maintain and calibrate all equipment in a state of operational readiness at all
                                         times. Calibrations should be recorded in a log which can be made available to
                                         company during, or post well for purposes of correlation with post well data;

                                     (c) Notify all failures or inconsistent readings immediately to the relevant company
                                         representative. All data logged from the last known date of correct operation to
                                         be reported to company representative as suspect;

                                     (d) Maintain an adequate level of spares to preclude/minimize the effects of any
                                         faults or breakdowns;

                                     (e) Take prompt action to rectify any breakdowns or suspected problems with the
                                         measurement or derived parameters;

                                     (f)   Present the data required for post well analysis in the defined format (see Clause
                                           10.22 herein) where requested. Ownership of the data shall be the responsibility
                                           of CONTRACTOR until COMPANY office receives the data, and

                                     (g) Ensure that all data presented on disc or hard copy highlights erroneous data by
                                         the use of standard error codes (-999.25). Similar data on logs shall be
                                         accompanied by a notation defining the failed sensor and interval affected.

                        10.10 MONITORING PRIORITIES

                             This section defines the Mud Logging activities which are to take precedence during each
                             type of operational activity. This is to avoid ancillary functions acting to the detriment of the
                             prime responsibility of the Mud Logging service, that being well monitoring and safety.

                            10.10.1 Primary responsibilities during Drilling/Circulating

                                     (a) Well monitoring, including total gas levels, circulating system volumes, mud flow,
                                         mud weighUtemperature, mud losses;

                                     (b) Monitoring for indications of drilling problems, e.g., poor hole cleaning, pipe
                                         sticking, bit balling, excessive cavings;

                                     (c) Monitoring and display of all logged parameters.

                            10.10.2 Primary Responsibilities during Tripping/Running Casing



                 Halliburton Energy Services, Inc.             Page 128 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                        B P-HZN-MB 100022336
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 81 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement



                                     (a) Observed versus expected trends in mud volumes and string weight;

                                     (b) Monitoring of mud flow;

                                     (c) Monitoring of gas levels from circulations;

                                     (d) Comparison with previous trips e.g., tight spots.

                            10.10.3 Primary Responsibilities during Cementing

                                     (a) Progress of the circulation(s), returns and reconciliation of volumes during and
                                         after the job;

                                     (b) Cement unit/mud pump rate, pressure.

                            10.10.4 Primary Responsibilities during Open hole Logging

                                     (a) Mud system volumes, flow.

                            10.10.5 Primary Responsibilities during testing

                                     (a) Hydrocarbon analysis of retrieved samples;

                                     (b) Monitoring annulus pressures;

                                     (c) Monitoring well kill pressures, volumes.

                        10.11 COMPETENCY/ENGINEERING STANDARDS

                             This Clause 10.11 applies to all of the basic requirements and optional services specified in
                             this Scope of Work.

                             CONTRACTOR shall show the following basic engineering standards and competency:

                                     (a) Documentation of mud logging engineering practices including, transfer of
                                         intenmediate section and end of well data to COMPANY (where requested),
                                         engineering research ongoing, accuracy and reliability of current monitoring
                                         systems and adherence to standard engineering practices for well site services
                                         to ensure that the operations optimization process is formalized and then applied
                                         routinely (the latter should be available in the form of a manual for COMPANY to
                                         review if required). To include full accounting for mud losses while drilling
                                         (especially in the reservoir), swab/surge calculation in compliance with HSSE
                                         requirements;

                                     (b) Staff trained and assessed as competent in the WORK, including ongoing
                                         training program and succession plan in place. This shall include the personnel
                                         in the office and on the rig site as their ability to interpret and act upon the data
                                         from the well is particularly important. (The training and development of local
                                         staff is also an important criteria to COMPANy);

                                     (c) Mud logging management system in place, including logging program deSign,
                                         instrument selection procedures, process for validating new measurements,
                                         process in place for screening results and guaranteeing integrity of data. As the




                 Halliburton Energy Services, Inc.            Page 129 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                        B P-HZN-MB 100022337
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 82 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement


                                           logging data is important to a number of COMPANY departments, the speed with
                                           which it is processed and issued is a consideration;

                                     (d) Implementation of a management and control system to ensure that there is a
                                         mechanism in place to handle and document new requirements of service. This
                                         could be due to a new measurement, alterations in the accuracy of monitoring;

                                     (e) Implementation of mud logging engineering procedures to a sufficiently high level
                                         of competency to ensure the achievement of a basic performance as defined in
                                         the performance criteria;

                                     (f)   Accreditation of the Mud Logging services to a recognized Quality Standard e.g.,
                                           IS09000, and

                                     (g) General management and supervision of the whole service including office
                                         support, logistical organization and well site supervision. It is anticipated that
                                         CONTRACTOR shall manage all equipment provided for their operations in
                                         accordance with a CONTRACTOR owned standard minimum technical
                                         specification. This specification may initially be based upon current COMPANY
                                         specifications.

                                     (h) It is anticipated that COMPANY and CONTRACTOR shall jOintly agree on the
                                         attainment of these competencies. In addition to CONTRACTOR having the
                                         documentation and audit mechanisms in place, COMPANY shall be looking for
                                         CONTRACTOR to demonstrate his understanding of COMPANY's policies and
                                         working practices.

                        10.12 ADDITIONAL MUDLOGGING SERVICES

                             These services are seen as key contributors to an optimal Mudlogging system and may be
                             requested by COMPANY on a well by well basis and are detailed below.

                                     •     Pressure detection Services
                                     •     Enhanced Pit Level Sensor Package for floating rigs
                                     •     High Resolution Flow Monitoring
                                     •     Drilling Data Analysis Package
                                     •     Data transmission services
                                     •     Vibration Detection Service
                                     •     Enhanced Hole Condition Monitoring
                                     •     Casing Wear Monitoring
                                     •     Drill Off Test Monitoring
                                     •     Torque and Drag Monitoring
                                     •     Real Time Data Transmission
                                     •     Pore Pressure Analysis
                                     •     Advanced Gas Detection/Chromatography/Analysis

                        10.13 PRESSURE DETECTION SERVICE

                            10.13.1 Primary Methods

                                     CONTRACTOR shall provide the following analysis, at a frequency suited to regional
                                     conditions:

                                     (a) Corrected drilling exponent;



                 Halliburton Energy Services, Inc.            Page 130 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                      B P-HZN-MB 100022338
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 83 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement



                                     (b) Flow line mud temperature and differential temperature;

                                     (c) Gas trends, particularly trip/connection gas including chromatograph analysis,
                                         and

                                     (d) Cuttings and cavings analysis.

                                     Shale density may be required, the method for which shall be at the discretion of
                                     CONTRACTOR, but shall under no circumstances contravene relevant health,
                                     safety, security, or environmental regulations. The bulk density method using water
                                     balance is unacceptable.

                            10.13.2 Secondary Methods

                                     At regular defined intervals, or at the discretion of the Well Site Geologist, the
                                     following additional work may be required:

                                     (a) Calcimetry;

                                     (b) Pore pressure from electric log data stored in a digital medium, uploaded at the
                                         WORKSITE;

                                     (c) Software package to analyze drilling data, MVVD or LWD measurement of
                                         resistivity and gamma ray to produce estimation of pore pressure, fracture
                                         gradient;

                                     (d) Evaluation of d exponent corrected for bit wear, and

                                     (e) Temperature trend,

                            10.13.3 Additional Competencies

                                     For this service the mud logging CONTRACTOR shall be required to provide
                                     person nel with:

                                     (a) The ability to recognize and predict trends in pressure from measurements;

                                     (b) The ability to recognize deviations from predicted trends, and the implications for
                                         drilling and safety;

                                     (c) Use of d exponent and other predictive tools for the determination of pore
                                         pressure, fracture pressure, and overburden evolution;

                                     (d) Safe working practices, particularly where shale density is requested, and

                                     (e) Previous experience of providing a pressure detection service

                        10.14 ENHANCED PIT LEVEL SENSOR PACKAGE FOR FLOATING RIGS

                                     (a) The method of heave compensation for pit level monitoring is at the discretion of
                                         CONTRACTOR but shall be technically acceptable to COMPANY.
                                         CONTRACTOR should indicate additional sensor requirements with the bid, and
                                         any additional costs incurred, if any, by providing heave compensation.




                 Halliburton Energy Services, Inc.            Page 131 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                      B P-HZN-MB 100022339
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 84 of 100




                                                        Section 3 - Scope of Work
                                                   Appendix 5 - Description of the WORK
                                                            C. Well Placement


                                     (b) The preferred method of measurement shall be to install two sensors per pit at
                                         opposite corners, and to use software averaging to determine the true pit level.

                        10.15 DRILLING DATA ANALYSIS PACKAGE

                            10.15.1 Introduction

                                     A package of software analytical facilities may be required to assist in the processing
                                     and manipulation of large amounts of drilling parameters or other types of data.

                            10.15.2 Availability and General Functionality

                                     When requested, the package as defined below shall be available both at the
                                     WORKSITE and at the onshore support base, and be able to operate both on-line
                                     (i.e., to act on data as it is acquired) and off-line. The package shall support the
                                     extension of existing tools, or addition of extra tools if required by COMPANY.

                            10.15.3 Data

                                     The package shall be capable of acting on data of various types. This shall normally
                                     include any measured or derived depth-based and time-based data.

                            10.15.4 Package Content

                                     As a minimum, drilling or additional data shall be able to be operated on using the
                                     following tools:

                                     (a) Mathematical manipulation of measured or derived drilling parameters, to allow
                                         operator-defined equations to be performed and the resulting variables to be
                                         stored, processed, and displayed. An example of such a function would be the
                                         calculation of mechanical horsepower consumed per unit volume of rock drilled;

                                     (b) X-y cross plotting, with up to three parameters available as discriminants on the
                                         plotted data. Curve fitting to be available for the plotted data, using an operator-
                                         accessible library of linear, exponential and logarithmic methods, and

                                     (c) Statistical analysis of measured or derived drilling parameter data, or additional
                                         data, using various techniques e.g., standard deviation, coefficient of variation,
                                         analysis of variance, frequency histograms.

                                     Plotting of both raw and derived variables should be possible.

                            10.15.5 Additional Competencies

                                     For this service CONTRACTOR shall be required to provide personnel with:

                                     (a) Statistical analysis methods training (to meet an agreed upon and understood
                                         level);

                                     (b) Working experience of the data analysis package.

                        10.16 DATA TRANSMISSION FACILITIES

                            10.16.1 Hardware




                 Halliburton Energy Services, Inc.            Page 132 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                       B P-HZN-MB 100022340
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 85 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement


                                     CONTRACTOR shall provide:

                                     (a) A minimum of one office workstation in direct communication with the rig site
                                         database. This station should be of a high enough specification to allow detailed
                                         logs to be drawn on the screen quickly and legibly, and

                                     (b) An office plotter capable of producing logs and reports with the same
                                         specifications as the rig site plotter.

                            10.16.2 Software

                                     CONTRACTOR shall install a network connecting the rig site and office (TCPIIP).
                                     The minimum specification for the network shall be a serial line or phone link using
                                     Point to Point Protocol. The ability to perform batch updates shall be required. If
                                     requested, CONTRACTOR shall install a full network connection with a router at
                                     each site and provide a digital fax capability allowing the on-line computer system on
                                     the rig to send reports and logs directly to the office fax. Logs for office based
                                     personnel & partners shall be used as a primary source. Where an office workstation
                                     facility is provided the system shall be used only for investigation of measured
                                     parameters, and production of "one-off" logs which are needed at short notice in the
                                     office.

                        10.17 HIGH RESOLUTION FLOW MONITORING

                             An enhanced method of flow monitoring may be required. If requested, the method of flow
                             monitoring shall be at the discretion of CONTRACTOR but shall be technically acceptable to
                             COMPANY.

                            10.17.1 Requirements

                                     The flow monitoring system:

                                     (a) Shall be able to compensate for rig heave, pitch/roll, and riser boosters on
                                         floating rigs;

                                     (b) Shall be able to compensate for pipe movement, and starting/stopping/altering of
                                         pumps;

                                     (c) Shall be able to work with either water based or oil based mud;

                                     (d) Shall be unaffected by temperature and density changes in the mud system;

                                     (e) Shall make alarms in response to influx rate, influx volume, loss rate and loss
                                         volume; the alarm system should include the ability to preset the levels for each
                                         alarm at any time, and

                                     (f)   Sensitivity should be sufficient to allow detection of 1-2bbls losses/kicks on semi-
                                           submersible rigs, and 1/2bbl on fixed rigs.

                            10.17.2 Sensors

                                     Several types of sensor are available:

                                     (a) Acoustic: detects a phase shift in the return time of mud pump noise due to gas
                                         or liquid entry;




                 Halliburton Energy Services, Inc.             Page 133 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                         BP-HZN-MBI00022341
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 86 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement



                                     (b) Electromagnetic: works only in wbm;

                                     (c) Coriolis force: works in obm or wbm;

                                     (d) J-meter: works in obm or wbm.

                            10.17.3 Display

                                     The following parameters shall be available for display or for plotting against time
                                     once the Early Kick Detection system has processed the measured parameters:

                                     (a) Total SPM: strokes per minute of the circulating pumps;

                                     (b) Total flow: flow measured in gpm and calculated from the pump strokes and
                                         pump efficiency;

                                     (c) Instantaneous flow: flow out along the return line in gpm, sampled at high
                                         frequency, corrected for variation in return line slope, and for the thickness of any
                                         cuttings deposited on the bottom of the pipe;

                                     (d) Flow out: the instantaneous flow values averaged over one or more heave
                                         periods;

                                     (e) AVG DFLO: average Delta Flow (gain +ive, loss -ive) in gpm.             This is the
                                         difference between Total Flow and Flow Out;

                                     (f)   TRD DFLO: trend Delta Flow (gain +ive, loss -ive) in gpm. A less smoothed
                                           average delta flow, used to detect trends in flow rate;

                                     (g) CUM DFLO: cumulative Delta Flow (gain +ive, loss -ive) in gpm. Cumulative
                                         difference in flow in and flow out since last reset;

                        10.18 MUD LOGGING VIBRATION DETECTION SERVICE

                            10.18.1 General Requirement

                                     The principal objective is to distinguish periods of excessive variance in torque,
                                     surface rotary speed, hookload or standpipe pressure, and to alarm these to the mud
                                     logging crew and other rig personnel. Periods of excessive variation in these
                                     variables often indicate the presence of vibration. In particular, a signal analysis
                                     method should be employed to detect and discriminate the cyclic torque that is
                                     characteristic of torsional resonance (slip-stick). Displays and alarms are required on
                                     the rig to initiate responses to observed vibration (suppression).

                            10.18.2 Specific Requirements

                                     (a) To read the surface torque, rotary speed, hookload and standpipe pressure
                                         sensors;

                                     (b) From the high speed data, to calculate the standard deviation of each of the four
                                         parameters per time increment;

                                     (c) From the high speed torque data, to employ a detection method to identify the
                                         regular cyclic torque pattern that is characteristic of slip-stick vibration. The



                 Halliburton Energy Services, Inc.            Page 134 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                        B P-HZN-MB 100022342
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 87 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement


                                           minimum slip-stick period that shall be detectable shall be in the region of one (1)
                                           torque cycle per second. The detection method shall be able to discriminate
                                           between genuine slip-stick (regular torque cycling), and other, less regular torque
                                           variation which is not indicative of slip-stick. vibration. This detection method
                                           shall not be dependent upon variance in surface rotary speed;

                                     (d) To employ manually selectable set points and alarm thresholds to govern the
                                         sensitivity of the detection capability (set pOints for standard deviation alarm
                                         thresholds, minimum period of slip-stick, minimum amplitude(%) and number of
                                         torque cycles for slip-sick to be valid etc.);

                                     (e) To trigger visible alarms in the mud logging unit and on the drill floor when the
                                         alarm thresholds are exceeded, or slip-stick detected (an audible drill floor alarm
                                         is not recommended). A ''traffic light" type of visible alarm on the drill floor is
                                         suggested;

                                     (f)   To provide an on-line display of the high-speed torque, rotary speed, hookload
                                           and pump pressure data in the mud logging unit and company office, and to
                                           provide on the drill floor an ability to display the high speed data during periods of
                                           vibration. COMPANY office display shall be able to be left running at all times
                                           necessitating a devoted display;

                                     (g) Whenever vibration is detected, to trigger an automatic printout of the four
                                         variables (raw high speed data), together with time/depth, and alarm status.
                                         These shall be used to provide a record of detection efficiency, and explanation
                                         material when vibration is being discussed at the rig. A lag time before and after
                                         the detected period of vibration should also be retained;

                                     (h) Whenever vibration is detected, to store the raw high speed data to file, for later
                                         playback and analysis. A lag time before and after the detected period of
                                         vibration should also be retained, and

                                     (i)   To write values of the standard deviation of each variable to the standard depth
                                           database (i.e., averaged per depth increment), together with a flag indicating slip-
                                           stick status (i.e., Present or absent). Each of these variables shall be made
                                           available to depth-based logs and subsequent ASCII data on cd-rom (if optional
                                           Service 11.0 is requested).

                            10.18.3 Additional Competencies

                                     CONTRACTOR shall be able to provide personnel trained in:

                                     (a) Use of the vibration detection service;

                                     (b) Maintenance of the detection hardware and software;

                                     (c) Calibration of the equipment;

                                     (d) Ability to recognize and be able to calibrate the equipment to recognize the
                                         difference between slip-stick and erratic torque.

                                     CONTRACTOR shall provide monitors and lor ''Traffic Lights" for the Rig Floor and
                                     COMPANY Man Office.




                 Halliburton Energy Services, Inc.              Page 135 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                           B P-HZN-MB 100022343
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 88 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement


                        10.19 ENHANCED HOLE CONDITION MONITORING

                                     Where enhanced hole condition monitoring is requested it is expected that severe
                                     hole problems shall arise due to tectonic stresses, overpressure, faults. The
                                     objective of this service is to provide equipment and procedures for the continuous
                                     monitoring of hole conditions, especially the volume of cuttings and cavings returned
                                     to surface. This latter measurement is used to produce a trend of the returns and
                                     early indication of a deterioration in hole condition.

                                     The design of the monitoring system is at the discretion of CONTRACTOR but shall
                                     be technically acceptable to COMPANY.

                            10.19.1 Measurement of Cavings and Data Storage

                                     The measurement:

                                     (a) System shall be able to provide an automatic, continuous measurement of the
                                         total weight/volume of cuttings/cavings being received at the shakers. This
                                         measurement shall be made not only while drilling, but also while tripping or
                                         reaming to provide the parameters referenced herein;

                                     (b) Shall be recorded on the mud logging time database at the normal sampling
                                         frequency for the base service, and also in depth based format. Drilling
                                         information should be stored on the depth database as per normal requirements.
                                         The storage location of the tripping/reaming information is at the discretion of
                                         CONTRACTOR but it shall be possible to interrogate the system for the
                                         information so that the parameters referenced herein can be computed, and

                                     (c) Device shall be regularly cleaned and calibrated to ensure that the correct weight
                                         of cuttings is being recorded.

                            10.19.2 Data Requ ired

                                     If the service 10.22 - Provision of Digital Data for Post Well Analysis has been
                                     requested the following parameters shall be provided for each lag depth as defined in
                                     Clause 10.22:

                                     (a) Total time reaming: until the section is cased;

                                     (b) Total caving volume per foot: until the section is cased;

                                     (c) Total caving volume per section: until the section is cased;

                                     (d) Total exposure time per foot: from time drilled to time cased;

                                     The parameters are the cumulative value of time or volume derived from drilling,
                                     tripping, and reaming at each lag depth).

                                     Where the Provision of Digital Data for Post Well Analysis service has not been
                                     requested the information shall be extracted from the mud logging databases
                                     separately, and presented in depth based ASCII format on CD-ROM.

                            10.19.3 Tripping Data




                 Halliburton Energy Services, Inc.            Page 136 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                     B P-HZN-MB 100022344
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 89 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement


                                     (a) When saving the cuttings returns rate to the database COMPANY may request
                                         that a trip number index is saved which identifies which trip the rate was
                                         recorded on. This data shall be used to obtain the maximum rate recorded at
                                         each lag depth, and the trip upon which it occurred (including drilling) where
                                         requested. This shall assist in determining the duration over which particular
                                         formations produce cavings.

                                     (b) Where the Provision of Digital Data for Post Well Analysis service has been
                                         requested this information shall not be provided with that data. A separate ASCII
                                         format disc shall be required. If the Post Well Analysis service has not been
                                         requested, this information may be included on the extra cavings analysis disc
                                         mentioned above.

                            10.19.4 Sampli ng Requi rement

                                     The shape and size distribution of the cuttings/cavings (percentage of each type)
                                     returned from a well may give an indication of the problem which is causing the
                                     cavings, e.g., high pressure & fractures and the formation which is producing the
                                     cavings. Accordingly:

                                     (a) The cavings identification (procedure 10.19.5) shall be performed upon request
                                         from COMPANY Representative, and

                                     (b) Three samples from each formation drilled shall be taken for comparison and
                                         stored for post well analysis. Comparison of these samples with real time
                                         cuttings/cavings returned to surface may indicate which formation is producing
                                         the cavings, especially when made at cavings return "peaks".

                            10.19.5 Cavings Identification Procedure

                                     This procedure shall outline a method for determining the percentage size and type
                                     of cavings produced whilst drilling.       This infonmation shall be recorded on
                                     COMPANY's Pore Pressure and Hole Condition Log if requested. The procedure
                                     shall be required only if stipulated by COMPANY Well Site Geologist, or in the Drilling
                                     Program for the well.

                                     The Procedure:

                                     (a) To catch approximately a one kilogram sample at normal sample intervals;

                                     (b) To pass the sample through three sieves whilst washing with water or base oil as
                                         appropriate:

                                           •    5mm sieve - to catch obvious cavings to be sorted by shape.
                                           •    2mm sieve - to ensure only cuttings pass through to the sample
                                                 inspection sieve.
                                           •    68-90 micron sieve - to wash sample for inspection of cuttings whilst
                                                 retaining particles down to a fine sand grade.

                                     (c) To weigh each fraction of the sample (to an accuracy of no less than 10 grams):

                                           •                 =
                                                5mm sieve W1 .
                                           •    2mm sieve W2.=
                                           •    68-90 micron sieve = W3.




                 Halliburton Energy Services, Inc.           Page 137 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                      B P-HZN-MB 100022345
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 90 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement


                                     (d) To prepare 68-90 micron sample for inspection by the geologist;

                                     (e) To sort the contents of the Smm sieve into four categories of caving as defined
                                         by the pictures below; Tectonic (square/blocky), splintery (long and thin pressure
                                         cavings), flat angular plates and eroded cavings (damaged cavings not fitting any
                                         of the previous categories);

                                     (f)   To weigh each of the four samples (to an accuracy of no less than ten grams):

                                             •    Tectonic = Wt            Angular = Wa.
                                             •    Splintery = Wp           Eroded = We.

                                     (g) To record the total percentage of cavings: (W1/(W1 + VV2 + W3» * 100 = total
                                         percentage of cavings;

                                     (h) To record the total percentage of each of the four categories of caving with
                                         respect to the total sample: (Wt/ (W1 + VV2 + W3» * 100 = total percentage of
                                         tectonic cavings (similarly for Wp, Wa and We), and

                                     (i)   To record each of the total percentages on COMPANY Pore Pressure and Hole
                                           Condition Log if these have been requested in the reporting requirements.

                            10.19.6 Parameter Trend Monitoring

                                     The hole condition should be inferred by monitoring trends in the following
                                     parameters:

                                             •    Pump pressure (corrected for flow rate variations);
                                             •    Torque (corrected for rpm, wob);
                                             •    Drag;
                                             •    Reaming time;

                                     Indications of divergence from the expected trend for each parameter may signify
                                     loading of the annulus with cutlingsfcavings or breakouts.

                                     Where this service is requested it is essential that logging personnel provide
                                     continuous monitoring of well-bore stability indicators, and that response to perceived
                                     problems is rapid.

                            10.19.7 Alarms

                                     If requested by COMPANY, an automatic alarm system monitoring one or more well-
                                     bore stability indicators (compensated for changes in the drilling parameters) shall be
                                     required. The system should be able to respond automatically to deviations of the
                                     monitored parameters from trend, and raise an audible alarm to the mud logging
                                     personnel.

                            10.19.8 Additional Competencies

                                     CONTRACTOR shall provide personnel trained in:

                                             •    Use of the database for storage of time and depth based data while
                                                   tripping and reaming;
                                             •    Cavings identification procedure as stated in 10.19.5;




                 Halliburton Energy Services, Inc.             Page 138 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                      B P-HZN-MB 100022346
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 91 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement


                                           •     Recognition, and understanding of hole condition deterioration:
                                           •     Maintenance and calibration of the cuttings measurement device installed
                                                  at the shakers.

                        10.20 CASING WEAR MONITORING

                             This service shall provide an estimate of the amount of casing wear which is occurring in the
                             well and to identify the wear mechanism. Casing wear has three mechanisms:

                                     (a) Abrasive wear: this mechanism is characterized by small particles of metal. It
                                         occurs when solids contained in the mud system are ground against the casing
                                         wall by the drill string, causing a gradual wearing away of the metal.

                                     (b) Adhesive wear: this mechanism is caused when the tool joint is pressed against
                                         the casing under rotation with enough force to form a friction weld with the metal.
                                         As the tool joint continues to rotate a "lump" of metal is pulled away
                                     (c) Cutting wear: this mechanism is caused when the hard banding of the tool joint is
                                         not flush ground. As the tool joint rotates the exposed hard banding cuts long
                                         shavings of metal away from the casing.

                             CONTRACTOR shall, on a daily basis, measure the total weight of metal fragments
                             recovered. The weight of fragments measured should be notified daily to COMPANY
                             Representative on the rig and the ops drilling engineer.

                        10.21 GEOLOGICAL SERVICES

                            10.21.1 Equipment

                                     The unit shall be furnished with the following equipment:

                                           •    Shale factor kit
                                           •    Shale density kit
                                           •    Cuttings gas equipment
                                           •    Calcimetry kit
                                           •    Two high quality binocular zoom microscopes with variable power light
                                                 system, one for the sale use of company geologist
                                           •    Ultra-violet light box
                                           •    Sample drying ovens
                                           •    Chemicals and equipment for geological examination of drilling returns
                                                 for hydrocarbon detection and analysis
                                           •    Equipment for reproducing log copies at the WORKSITE (including plotter
                                                 with geological symbols).

                            10.21.2 Sample Collection

                             CONTRACTOR shall be responsible for the proper collection, washing, and packaging of the
                             cutting samples. The sampling program shall be defined in the well program or amended by
                             COMPANY Well Site Geologist on site. CONTRACTOR shall supply all the WORKSITE
                             consumables i.e .. , wet sample packaging, dry sample envelopes and boxes, and official
                             transport boxes. Color coded boxes to identify recipients may be preferred. If requested,
                             CONTRACTOR shall also supply foil bags for geochemical samples, plastic lined bags for
                             Paleo samples and 1 liter polypropylene containers for mud samples. This does not include
                             coring operations.




                 Halliburton Energy Services, Inc.           Page 139 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                      BP-HZN-MBI00022347
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 92 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement


                            10.21.3 Sample Description

                                     Meticulous cuttings sample descriptions are required and shall include:

                                     (a) Lithologies present, and their percentages, as determined by microscopic
                                         analysis of cuttings. Percentage cavings shall also be noted. Descriptions are to
                                         follow the standard company format. If a procedures manual is provided to the
                                         unit, the document shall be in both English and the local language (if different)
                                         and shall be read, understood and adhered to (where differences of
                                         interpretation exist, the English manual should take precedence). All data and
                                         descriptions shall be recorded in the cuttings register provided by company. The
                                         cuttings register should also be available on the mud logging system in digital
                                         format;

                                     (b) Petroleum content as determined by chromatographic analysis of mud gases,
                                         cuttings gas, and white light/fluoroscopic analysis of the cuttings and associated
                                         mud samples. The effect of solvent extraction shall be recorded. Where a
                                         procedures manual is provided, the effect shall be recorded according to the
                                         method outlined. If a show is present, it shall be recorded in the show report
                                         format, and

                                     (c) Carbonate analysis using calcimetry may be required every 50 ft, or at an interval
                                         specified by COMPANY Well Site Geologist. or in the Drilling Program for the
                                         well.

                            10.21.4 Test for Clay Hydratability

                                     The CEC (MBT) test should be performed in all clay sections drilled with water-based
                                     mud. if requested by the Geologist. Oil-based mud cuttings should be cleaned by
                                     washing in acetone or a similar solvent, and carefully dried.

                            10.21.5 Assistance To COMPANY Geologist

                                     CONTRACTOR shall provide general assistance to COMPANY designated Well Site
                                     Geologist as and when required.

                            10.21.6 Additional Competencies

                                     CONTRACTOR shall provide personnel trained in:-

                                           •     Sample description and conversant with COMPANY format for geological
                                                  symbols and descriptions
                                           •     Analysis of cuttings as described above
                                           •     Correct procedures for storing and logging samples
                                           •     Safe working practices
                                           •     Ability to make formation top picks based on cuttings sample information.

                        10.22 PROVISION OF DIGITAL DATA FOR POST-WELL ANALYSIS

                             Digital data shall be provided to COMPANY, for use in post-well studies of drilling
                             performance and drilling problems. It is imperative that these data are of prime quality, since
                             they shall be used both qualitatively in studies of drilling phenomena and bit response. Any
                             algorithms used to screen data shall be reported to COMPANY.

                            10.22.1 Format of the Data



                 Halliburton Energy Services, Inc.            Page 140 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                      B P-HZN-MB 100022348
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 93 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement



                                     (a) Data shall be provided in ASCII format on CD-ROM at the end of each hole
                                         section and at the end of the well;

                                     (b) Data shall be stored every 1 foot or 0.5 meter. If the depth increment is 1 foot,
                                         integer values of depth only shall be used;

                                     (c) No depths should be repeated and all depths should continuously increase by
                                         the chosen depth increment;

                                     (d) No depths should be missing. If any data is missing for a particular depth the
                                         variable values should be null (-999.25);

                                     (e) All variables should carry either a valid or null value at every depth;

                                     (f)   All variable values should be averages over the chosen depth increment, unless
                                           specified otherwise;

                                     (g) Each variable value should be in the format nnnnnnnn.nn;

                                     (h) Each ASCII file should contain a maximum of 10 variables, meaning that more
                                         than one CD-ROM shall be required to carry the data set from one hole section;

                                     (i)   Each ASCII file should carry the measured depth variable (DMEA);

                                     0) The column for each variable should be separated by 1 space from adjacent
                                         variable columns;
                                     (k) ASCII data shall be backed up weekly

                            10.22.2 Data Set Required

                                     The variables described here are required:

                          Variable                          Units                      Mnemonic
                          Measured depth                    Feet                       DMEA
                          Date                              YY:MM:DD                   DATE
                          Time                              HH:MM:SS                   TIME
                          COMPANY Bit number                                           BITN
                          Time on bottom                    Minutes                    TON
                          Time off bottom                   Minutes                    TOFF
                          Penetration rate                  Ftlhr                      ROPI
                          Weight on bit                     Klbs                       WOBA
                          Hookload                          Klbs                       HKLD
                          Rotary speed (String+bit)         RPM                        RPMA
                          Measured depth                    Feet                       DMEA
                          Corrected D-exponent              -                          DXC




                 Halliburton Energy Services, Inc.              Page 141 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                       B P-HZN-MB 100022349
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 94 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement




                          Variable                         Units                 Mnemonic
                          Average torque                   Kft.lbs               TQA
                          Maximum torque                   Kft.lbs               TQMX
                          Minimum torque                   Kft.lbs               TQMN
                          Sigma torque (st. dev)**         Kft.lbs**             SITQ**
                          Slip-stick flag**                - **                  VIBR**
                          Cumulative bit hours             Hours                 BDTI
                          Estimated pore pressure          PPG                   PORE
                          Flow rate in                     GPM                   MFIA
                          Measured depth                   Feet                  DMEA
                          Standpipe pressure               Psi                   SPPA
                          Mud density in                   PPG                   MDIA
                          Mud density out                  PPG                   MDOA
                          Mud temperature in               Deg.F                 MTIA
                          Mud temperature out              Deg.F                 MTOA
                          Spare 1                          -                     SPR1
                          Spare 2                          -                     SPR2
                          Spare 3                          -                     SPR3
                          Spare 4                          -                     SPR4
                          Measured depth                   Feet                  DMEA
                          Interpreted lithology            -                     LTYP
                          Total gas                        %                     TGAS
                          Chromatograph C1                 PPM                   C1
                          Chromatograph C2                 PPM                   C2
                          Chromatograph C3                 PPM                   C3
                          Chromatograph iC4                PPM                   iC4
                          Chromatograph nC4                PPM                   nC4
                          Chromatograph C5                 PPM                   C5
                          Chromatograph C6                 PPM                   C6
                          Gas Wetness Ratio                %                     (C2+C3+C4+C5)/ *100
                                                                                 (C 1+C2+C3+C4+C5)
                          Light to Heavy Ratio             PPM                   (C1+C2)/
                                                                                 (C3+C4+C5)
                          Gas Wetness Ratio                PPM                   (C4+C5)/ C3
                          Measured depth++                 Feet++                DMEA++




                 Halliburton Energy Services, Inc.             Page 142 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                           B P-HZN-MB 100022350
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 95 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement



                           Variable                           Units                     Mnemonic
                           Total time reaming++               Hours++                   TREA++
                           Total cavings per foot++           Bbls++                    CVFT++
                           Total cavings per section++        Bbls++                    CSEC++
                           Total exposure per foot++          Time++                    TEXP++

                                       **=These parameters shall only be required where the Vibration Detection service
                                       (Section 10.18) has been requested.

                                       ++=These parameters shall only be required where the Enhanced Hole Condition
                                       Monitoring service (Section 10.19) has been requested.

                        10.23 Definitions

                             10.23.1 General

                                       This section defines the meaning of certain terms used in the context of this Scope of
                                       Work:

                                             •    Derived Parameter - The result of combining two or more measurements
                                                  with or without external data.

                                             •    Measurement - The output signal of a sensor after processing by the
                                                  computer.

                                             •    Sensor Calibration - A method of verifying the satisfactory operation of a
                                                  sensor. This is achieved by (a) ensuring a suitable sensor signal
                                                  response to changes in the parameter of interest, and (b) calibrating the
                                                  sensor output signal so that the displayed measurement accurately
                                                  reflects the parameter's current properties.

                                             •    Sensor Signal - The output signal of the sensor prior to filtering,
                                                  processing, or conversion to measurement units.

                             10.23.2 Applicable to the variables listed in Clause 10.2.2:

                                                         Measure weight of the drill string and hoisting equipment
                           Hookload
                                                         while drilling (average per depth increment).
                           Maximum Torque                Highest torque value recorded during the depth increment.
                           Minimum torque                Lowest torque value recorded during the depth increment.
                                                         Standard deviation of high frequency torque data recorded
                           Sigma Torque
                                                         during the depth increment.
                                                         See "Specification for Optional Mud Logging Services",
                           Slip-stick Flag
                                                         "Vibration Detection Service" (Clause 10.18).
                                                         The bit number (not the BHA run number), taken from
                           Bit Number
                                                         COMPANY bit record.
                                                         The time spent on bottom drilling the depth increment (reset
                          Time on Bottom
                                                         every depth increment)
                                                         The time spent off bottom while hole depth is within the depth
                          Time off Bottom
                                                         increment (reset every depth increment).
                           Cum. Bit Time                 Cumulative on-bottom time for the current bit run.




                 Halliburton Energy Services, Inc.              Page 143 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                        B P-HZN-MB 100022351
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 96 of 100




                                                            Section 3 - Scope of Work
                                                       Appendix 5 - Description of the WORK
                                                                C. Well Placement


                                                           Single integer value indicating the lithology present at that
                                                           depth. The tail end of the ASCII file should contain details of
                           Interpreted Lithology           integer values for each rock type. This should be
                                                           standardized on all CONTRACTOR Mud Logging
                                                           Operations.
                                                           Total time spent reaming past each depth interval including
                           Total time reaming
                                                           back.-reaming by the time the section is cased off.
                                                           Total volume of cavings generated from each lag depth by
                           Total cavings per foot
                                                           the time the section is cased off.
                           Total cavings per section       Total volume of cavings generated for the whole section.
                                                           Total exposure time for each foot of the section from time
                           Total exposure per foot
                                                           depth first drilled to time cased.
                                                           To be used to convey other data, e.g., compliance-corrected
                           Spare 1 - 4                     ROP, formation evaluation or drilling mechanics MWD
                                                           measurements etc.

                             10.23.3 Delivery of Data

                                         CONTRACTOR shall, if requested by COMPANY, supply a partial data set during
                                         hole sections on CD-ROM.

                        10.24 Drill Off Test Monitoring

                              COMPANY uses two types of drill-off test. The Mud Logging service is required to collect
                              data during these two types of test, and treat the data to the point where the relationships
                              between penetration rate, and weight on bit and RPM, can be clearly deduced and presented
                              in cross plot form.

                              This section describes the steps involved in these tests, COMPANY's expectations of data
                              processing requirements and instructions for Mud Logging Data Acquisition and Calculations.

                             10.24.1 Drill-Off Test Method 1

                                         (a) COMPANY

                                               •       Choose appropriate drilling parameters for the test i.e., maximum WOS
                                                       to drill-off from; minimum was to drill-off to; the three rotary speeds to
                                                       be used for the test.

                                               •       These parameters should be chosen according to the type of bit in use
                                                       (e.g., from a bit catalogue), and any SHA constraints (e.g., weight below
                                                       the jars). They should explore as wide a range of parameters as
                                                       possible.

                                         (b) Driller

                                               •       Notify the Mud Logging unit that a drill-off test is about to be performed
                                                       then start their time database and chart recorder.
                                               •       At the mid-range RPM, lock the brake at the maximum WOs. Allow the
                                                       WOS to drill-off to the chosen minimum, without touching the brake.
                                               •       Repeat step 3 at the highest RPM.
                                               •       Repeat step 3 at the lowest RPM.
                                               •       Repeat step 3 at the first (mid-range) RPM.
                                               •       Go back to normal drilling (the test is now complete).




                 Halliburton Energy Services, Inc.                 Page 144 of 352
                 SPM-09-00255



CONFIDENTIAL                                                                                                            B P-HZN-MB 100022352
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 97 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement



                                     (c) Mud Logger

                                            •     Get a printout of the time database data for the test interval, and the
                                                  chart record.
                                            •     Perform the calculations as described overleaf.
                                            •     Deliver the ROPIWOB cross plot and chart record to COMPANY Drilling
                                                  Representative.

                                     (d) COMPANY

                                            •     From the chart record, check. for smoothness of torque during each drill-
                                                  off interval.
                                            •     From the ROPIWOB cross plot and chart record, choose the lowest
                                                  WOB/RPM combination that gives best ROP and smoothest torque (thus
                                                  balancing ROP versus bit and drill string life).

                                     (e) Data Acquisition

                                            •     For the drill-off tests, the mud loggers should run a time database for the
                                                  following variables, staring data every 30 seconds: time, block position,
                                                  hookload, instantaneous weight on bit, average weight on bit, rotary
                                                  speed, average torque, sigma torque, flow rate in, pump pressure. Also,
                                                  the mud loggers should run a chart recorder at a minimum speed of 1.5
                                                  meters/minute with the following variables; block position, hook.load,
                                                  weight on bit, rotary speed, torque, sigma torque (if possible), flow rate
                                                  in, and pump pressure.

                                     (f)   Data Processing

                                                  The following data processing is required from the mud loggers, and
                                                  relates to the intervals of drill-off only (Le., when the brake is locked and
                                                  the string is drilling-off)

                                            •     Calculation of drill string compliance (drill pipe only) from,

                                                     C_AIDFd]l Fdft
                                                      - E Ad]l + Adft
                                                     in which:

                                                  C              compliance (m/kn)
                                                  MD      =      length of drill pipe (m)
                                                  E              Young's modulus for steel (gpa)
                                                  Fdp1=          fraction of drill pipe of type 1 (e.g., 1 ")
                                                  Fdp2=          fraction of drill pipe of type 2 (e.g., 6.5/8")
                                                  Adp1=          cross-sectional area of pipe 1 (sq. mm)
                                                  Adp2=          cross-sectional area of pipe 2 (sq. mm)

                                                  Typical values are:

                                                  E              206 gpa for drill pipe
                                                  Adp1=          3403 sq. mm for 5" drill pipe
                                                  Adp2=          4211 sq. mm for 6.5/8" drill pipe



                 Halliburton Energy Services, Inc.               Page 145 of 352
                 BPM-09-002SS



CONFIDENTIAL                                                                                                         B P-HZN-MB 100022353
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 98 of 100




                                                        Section 3 - Scope of Work
                                                   Appendix 5 - Description of the WORK
                                                            C. Well Placement


                                                     Fdp1=    0.6, if 6000 ft of 5" pipe in 10,000 ft of total drill pipe
                                                     Fdp2=    0.4, if the rest of the 10,000 ft is 6.5/8" drill pipe
                                                     MD  =    3048, for the example quoted here (10,000 ft of pipe)

                                                   The value for C is converted to FT/KLS before further use.

                                           •       Calculation of the amount of depth advance per was increment, and
                                                   ROP per depth increment, from the time database data for the drill-off
                                                   intervals only, as follows:

                                                   WOS change (klbs) =      Inst. WOS - Previous Inst. WOS
                                                   Depth advance (ft) =     WOS change (klbs) * Compliance (FT/KLSS)
                                                   Calc. ROP (ft/hr) =      Depth advance (ft) * (60/delta time) (mins)

                                                   These calculations are necessary because with the brake locked, the
                                                   mud logging depth sensor is static, thus the system shall see no depth
                                                   advance and hence calculate no ROP data. ROP is therefore calculated
                                                   by hand from the WOS decay during the drill-off, and the estimated bit
                                                   advance as the string extends.

                                     (g) Plotting of calculated ROP (from step 2), versus average WOS (from the time
                                         database printout), for each RPM.

                                         If, at this stage, the ROP/WOS relationships are not clear, instantaneous WOS
                                         data, and the resultant calculated ROPs should be calculated over longer time
                                         intervals, by grouping the raw time database data (this has the effect of
                                         smoothing out some of the errors in ROP and WOS). Altematively, data can be
                                         grouped by was increment, which shall guarantee a minimum amount of data at
                                         higher WOB, where drill-off may be rapid. The new averages of ROP and WOS
                                         for each RPM should then be re-ploUed.

                                     (h) Deliver the raw data, ROPIWOB cross plot, and chart record to COMPANY
                                         Drilling Representative.

                            10.24.2 Drill-Off test Method 2

                                     (a) COMPANY

                                           •       Choose appropriate drilling parameter "pairs" for the test (three pairs of
                                                   WaS/RPM). These parameters should be selected according to the
                                                   type ottest in use (e.g., from a bit catalogue), and any BHA constraints
                                                   (e.g., weight below the jars). They should explore as wide a range of
                                                   WOS and RPM as possible.

                                     (b) Driller

                                           •       Notify the mud logging unit that a drill-off test shall be performed. They
                                                   should start their time database and chart recorder, recording the data
                                                   as stipulated overleaf.
                                           •       Set the WOB to the mid-range value.
                                           •       Drill a minimum of 5 feet with each of the three chosen RPMs, beginning
                                                   with the mid-range RPM and ending with the low RPM.
                                           •       Set the WOB to the high value.
                                           •       DrillS feet with each of the three RPMs beginning with the same RPM as
                                                   used at the end of the mid-range WOB interval.



                 Halliburton Energy Services, Inc.             Page 146 of 352
                 SPM-09-002S5



CONFIDENTIAL                                                                                                            BP-HZN-MBI00022354
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 99 of 100




                                                       Section 3 - Scope of Work
                                                  Appendix 5 - Description of the WORK
                                                           C. Well Placement


                                             •    Set the WOB to the low value.
                                             •    Drill 5 feet with each of the three RPMs, beginning with the same RPM
                                                  as used at the end of the high WOB interval.
                                             •    Revert to the mid-range WOB and RPM, and drill at least 5 feet.
                                             •    Revert to chosen parameters (the test is now over).

                                     (c) Mud Logger

                                             •    Take the data from the drilling test interval from the time and depth
                                                  databases, and process the data as described overleaf.
                                             •    Deliver the ROPIWOB cross plot and the chart record to COMPANY
                                                  Drilling Representative.

                                     (d) COMPANY

                                             •    From the chart record, check for smoothness of torque during each
                                                  drilling test interval.
                                             •    From the ROPIWOB cross plot and chart record, choose the lowest
                                                  WOB/RPM combination that gives best Rap and smoothest torque (thus
                                                  balancing Rap versus bit and drill string life).

                                     (e) Data Acquisition

                                             •    For the drilling test, the mud loggers should run a time database, storing
                                                  the following variables every 30 seconds: time, depth, block position,
                                                  hookload, instantaneous and average weight on bit, rotary speed,
                                                  average torque, sigma torque, flow rate in, pump pressure, rate of
                                                  penetration. A chart recorder should also be run, at a minimum speed of
                                                  1.5 meters/minute, with the following variables: block position, hookload,
                                                  weight on bit, rotary speed, torque, sigma torque, flow rate in, and rate of
                                                  penetration. These requirements are in addition to the normal storage of
                                                  data on the depth database.

                                     (f)   Data Processing

                                           The following data processing is required from the mud logging system, for the
                                           data collected during the drilling test interval:

                                             •    Averaging of the ROP, WOB and RPM data over each of the intervals of
                                                  constant WOB/RPM during the drilling test (Le., averaging of these three
                                                  variables for each pair of WOB/RPM values). The interval for this
                                                  averaging should be user-selectable, either in terms of depth increments
                                                  (e.g., 1 foot, 5 feet), or time steps. This shall require some automated
                                                  recognition of each WOB/RPM pair.
                                             •    User-defined discrimination of data from the drilling test interval, e.g., to
                                                  exclude bad Rap data from one or more of the WOB/RPM intervals, or
                                                  to exclude WOB and/or RPM data that is not constant during an interval.
                                                  This functionality may best be incorporated into the cross plotting in step
                                                  3.
                                             •    From the time or depth database data, cross plotting of average Rap
                                                  versus average WOB data, with one or more data paints per pair of
                                                  WOB/RPM values, for each of the test rotary speeds. Curve fitting
                                                  should be employed to give an equation for the relationship of ROP to
                                                  WOB and RPM, either separately or combined.



                 Halliburton Energy Services, Inc.            Page 147 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                         B P-HZN-MB 100022355
Business Confidential
                Case 2:10-md-02179-CJB-DPC Document 4767-4 Filed 11/30/11 Page 100 of 100




                                                      Section 3 - Scope of Work
                                                 Appendix 5 - Description of the WORK
                                                          C. Well Placement


                                           •     Deliver the raw data, ROPIWOB cross plot, and chart record to
                                                 COMPANY Drilling Representative.

                                     (g) Additional Competencies

                                         CONTRACTOR shall provide personnel who are:-

                                           •     Fully conversant with COMPANY procedure for drill off test monitoring;
                                           •     Able to understand the meaning of the measured data, and know how to
                                                 perform cross-correlation of the information to deduce the relationship
                                                 between WOB, RPM, and ROP.


                 11.0 ONSHORE FACILITIES

                        11.1 Repair and Maintenance (R & M) Facilities

                            11.1.1 The services to be provided by CONTRACTOR shall include as a minimum:

                                     (a) Coordination of all equipment, logistics and transportation requirements.

                                     (b) Storage and handling of equipment and spare parts.

                                     (c) Equipment preparation.

                                     (d) Equipment inspection and testing.

                                     (e) Repair and Maintenance (R&M).

                            11.1.2 CONTRACTOR is responsible for determining the most cost effective balance
                                   between back-up equipment requirements and the level of R&M and calibration
                                   facilities required in each SPU. As a minimum, CONTRACTOR's R&M facilities must
                                   be capable of perfonning mechanical and all board level servicing for all equipment
                                   likely to be used in the performance of the WORK including but not limited to the
                                   following:

                                     (a) Rotary Steerable

                                           •     Inspection, testing and repair of sub-assemblies.
                                           •     Flow loop and bench testing facilities for command confirmation and
                                                 systems testing prior to shipping.

                                   (b)           Positive Displacement Motors

                                           •     Checking of bearing gap clearance.
                                           •     Checking of rotor/stator fit.
                                           •     Complete assembly and disassembly of motor.
                                           •     Inspection, testing and repair of sub-assemblies, Le., stator, rotor,
                                                 bearing, smaller subs.

                                     (c) Mechanical

                                           •     Assembly and disassembly of outer collars (Le., complete MWD
                                                 subs/assemblies).




                 Halliburton Energy Services, Inc.           Page 148 of 352
                 BPM-09-00255



CONFIDENTIAL                                                                                                         B P-HZN-MB 100022356
Business Confidential
